Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 1 of 174 PageID #: 131




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


TIMOTHY O’HERN, et al., Individually and on
Behalf of All Others Similarly Situated,                  No. 1:21-cv-00402-SRF

                                      Plaintiffs,

       v.

VIDA LONGEVITY FUND, LP, et al.,


                                      Defendants.



                         DECLARATION OF PAUL J. SCARLATO

       Paul J. Scarlato, under penalty of perjury and pursuant to 28 U.S.C. § 1746, declares as

follows:

       1.      I am a member of the law firm and proposed Class Counsel, Rosca Scarlato, LLC,

and prior to that, a shareholder in the law firm Goldman Scarlato & Penny, P.C., counsel for

Plaintiffs and proposed Class Representatives Timothy O’Hern, Seymon Rodkin, and Dominic

Cardinale (together, “Plaintiffs”). I submit this Declaration in support of Plaintiffs’ Unopposed

Motion for Preliminary Approval of Proposed Settlement and Certification of the Class for

Settlement Purposes (the “Motion”). The purpose of this Declaration is to place certain documents

before the Court.

       2.      Attached as Exhibit 1 hereto is a Proposed Schedule of Events, for the Court’s

convenience, based on the timelines agreed to in the Settlement Agreement, and as set forth in the

[Proposed] Order Preliminary Approving Proposed Settlement.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the Stipulation of

Settlement entered into by the parties, along with exhibits to the Stipulation as follows:
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 2 of 174 PageID #: 132




              •          Exhibit A:   [Proposed] Order Preliminarily Approving Proposed
                                      Settlement;

              •          Exhibit B:   [Proposed] Order Approving Class-Action
                                      Settlement;

              •          Exhibit C:   [Proposed] Judgment;

              •          Exhibit D:   Postcard Notice;

              •          Exhibit E:   Notice of (I) Pendency of Class Action and Proposed
                                      Settlement; (II) Settlement Fairness Hearing; and
                                      (III) Motion for Attorneys’ Fees and Litigation
                                      Expenses;

              •          Exhibit F:   Summary Notice of (I) Pendency of Class Action and
                                      Proposed Settlement; (II) Settlement Fairness
                                      Hearing; and (III) Motion for Attorneys’ Fees and
                                      Litigation Expenses;

              •          Exhibit G:   Proof of Claim and Release Form; and

              •          Exhibit H:   Confidentiality Agreement and Order.

       4.     Attached hereto as Exhibit 3 is the Biography of the Rosca Scarlato lawyers who

worked on this matter.

       5.     Attached hereto as Exhibit 4 is the brochure of Strategic Claims Services, the

proposed Claims Administrator in connection with the proposed Settlement.

       I declare under penalty of perjury that the forgoing is true and correct.

Executed this 19th day of October 2022.

                                                             /s/ Paul J. Scarlato
                                                     Paul J. Scarlato

                                                             Counsel for Plaintiffs and the
                                                             Proposed Class




                                                 2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 3 of 174 PageID #: 133




                         EXHIBIT 1
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 4 of 174 PageID #: 134




                                        EXHIBIT 1

                        PROPOSED SCHEDULE OF EVENTS


   Fairness Hearing                                  At the Court’s convenience, but no
                                                     fewer than 110 calendar days after
                                                     entry of the Preliminary Approval
                                                     Order.

   Deadline for filing motions in support of the     No later than 35 days before the
   Settlement, the Plan of Allocation, and           Fairness Hearing
   Plaintiffs’ Counsel’s application for fees and
   expenses

   Deadline for submission of requests for           Received no later than 28 days before
   exclusion, objections to settlement, and          the Fairness Hearing
   oppositions to motion for final approval or for
   attorneys’ fees

   Deadline for filing reply papers in support of    No later than 7 days before the
   the motions                                       Fairness Hearing

   Deadline for sending Postcard Notice              No later than 60 days before the
                                                     deadline to opt-out or object

   Deadline for publication of Summary Notice        No later than 50 days before the
   over national press service                       deadline to opt-out or object

   Deadline for submission of Claim Forms            Postmarked or received no later than
                                                     120 days after Preliminary Approval
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 5 of 174 PageID #: 135




                         EXHIBIT 2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 6 of 174 PageID #: 136



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 TIMOTHY O'HERN,et al., Individually and on
 Behalf of All Others Similarly Situated,                No. 1:21-cv-00402-SRF

                                      Plaintiffs,

        v.


 VIDA LONGEVITY FUND,LP,et al.,


                                      Defendants.



                             STIPULATION OF SETTLEMENT

        WHEREAS capitalized terms in this Stipulation of Settlement have the meanings

ascribed to them in Section I below; and

       WHEREAS,on March 19, 2021, Timothy O'Hern, Semyon Rodkin, and Dominic

Cardinale filed the above-captioned securities class action against Vida Longevity Fund, LP and

the other named Defendants alleging violations of the Texas Securities Act; and

       WHEREAS,pursuant to stipulations approved by the Court, the Action was stayed while

the parties engaged in mediation to try to resolve the Action; and

       WHEREAS,on October 14, 2021,the Settling Parties participated in a full day of

mediation led by Jed D. Melnick, Esq., of JAMS; and

       WHEREAS the Settling Parties did not reach an agreement at the end of the mediation

session, but continued their discussions over the next several months; and

       WHEREAS,on January 5, 2022, the Settling Parties signed an agreement in principle on

the primary terms of a settlement, which was subject to various conditions; and
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 7 of 174 PageID #: 137



        WHEREAS the Settling Parties negotiated the full terms of a settlement, resulting in the

execution of this Stipulation of Settlement and its exhibits; and

        WHEREAS,throughout the pendency ofthe Action and the Settlement negotiations,

Plaintiffs and Defendants have been advised by various consultants and experts, including

individuals with expertise in estimating potential damages in cases involving allegations of

securities-law violations, and by competent counsel with experience in securities lawsuits such

as this Action; and

        WHEREAS, based upon Plaintiffs' Counsel's investigation and evaluation of the facts

and law relating to the claims alleged in this Action, their pre- and post-filing investigations, and

their consultation with experts, Plaintiffs and Plaintiffs' Counsel have agreed to settle the Action

and release the Releasees as to the Released Class Claims pursuant to the terms of this

Settlement Agreement and subject to its terms and conditions (including the completion of Due-

Diligence Discovery) after considering, among other things: (i) the substantial benefits that the

terms of the proposed Settlement would provide to Class Members;(ii) the attendant risks of

litigation, especially in complex actions such as this one;(iii) the defenses available to

Defendants;(iv) the difficulties and delays inherent in such litigation;(v)the desirability of

consummating this Settlement Agreement promptly to provide effective relief to Class Members;

and (vi) Plaintiffs' and Plaintiffs' Counsel's belief, to be verified through the Due-Diligence

Discovery, that the proposed Settlement is fair, reasonable, and adequate and in the best interests

of Class Members; and

        WHEREAS Defendants do not concede any wrongdoing or liability in connection with

 any facts or Claims that have been, could have been, or could be alleged in the Action, but they

 nevertheless prefer that the Action be settled and dismissed because the proposed Settlement


                                                  2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 8 of 174 PageID #: 138



 would, among other things: (i) bring to an end the substantial expense, burdens, and

 uncertainties associated with continued litigation of the asserted Claims;(ii) finally put to rest

 those Claims and the underlying matters; and (iii) confer substantial benefits upon Defendants,

 including avoidance of further disruption of the management and operation of Defendants'

 business due to the pendency and defense of the Action; and

         WHEREAS this Settlement Agreement, the offer of this Settlement Agreement, and

 compliance with this Settlement Agreement shall not constitute or be construed to be an

 admission by Defendants or the other Releasees, or any ofthem individually, of any wrongdoing

 or liability; and

         WHEREAS,except as otherwise provided in this Settlement Agreement, this Settlement

 Agreement shall not be admissible in any judicial, administrative, or other proceeding or cause of

action as an admission of liability or for any purpose other than to enforce the terms of this

Settlement Agreement;

         NOW,THEREFORE,IT IS HEREBY STIPULATED AND AGREED,by and among

the undersigned, including Plaintiffs (individually and in their representative capacity) and

Defendants, by and through their duly authorized counsel, that, subject to the Court's approval

and such approval's becoming Final,(i) the Action and the matters raised in it are hereby settled

and compromised as to Defendants, and (ii) the Action will be dismissed with prejudice as to

Defendants based upon the tetins and conditions in this Settlement Agreement, including, among

other things, that, as set out in the Release, the Released Class Claims will be released as to the

Releasees, and the Released Releasees' Claims will be released as to the Releasors.




                                                  3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 9 of 174 PageID #: 139



I.      DEFINITIONS

        A.      As used in this Settlement Agreement, the following terms have the meanings set

forth herein:

                1.    "Action" means the securities class action now pending in this Court and

captioned 0'Hern v. Vida Longevity Fund, LP,No. 1:21-cv-00402-SRF(D. Del.), including any

other cases that have been or might be consolidated into that action as of the Final Settlement

Date.

                2.     "Affiliate" or "Affiliated" means such persons or entities as are defined in

17 C.F.R. § 210.1-02(b), as well as the ultimate private-equity owners of any Defendant to the

extent the tenn "Affiliate" or "Affiliated" is used in connection with any Defendant.

                3.    "Approval Order" means the order to be entered by the Court finally

approving the Settlement and dismissing the Complaint and all Claims in the Action as

contemplated in Section XIII of this Settlement Agreement, which order the Settling Parties shall

ask the Court to enter substantially in the form set out as Exhibit B.

                4.     "Attorneys' Fees and Expenses Application" means the motion for fees

and expenses to be made by Plaintiffs' Counsel as set out in Section X below.

                5.     "Attorneys' Fees and Expenses Award" means the amount that the Court

awards to Plaintiffs' Counsel to compensate them for fees and expenses in connection with

investigating, prosecuting, and/or settling the Action, as provided for in Section X below.

                6.     "Authorized Claimant" means a Class Member(or the representative of

such Class Member, including, but not limited to, agents, administrators, executors, heirs,

estates, predecessors, successors, Affiliates, or assigns) whose claim for recovery from the Net

Settlement Amount has been allowed pursuant to the terms of this Settlement Agreement.


                                                 4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 10 of 174 PageID #: 140



                7.      "Business Day" means a day other than a Saturday, Sunday, or Legal

 Holiday.

                8.      "CAFA" means the Class Action Fairness Act of 2005, 28 U.S.C.

 §§ 1332(d) and 1715.

                9.      "Claim" or "Claims" means any and all actions, causes of action,

 proceedings, adjustments, executions, offsets, contracts,judgments, obligations, suits, debts,

 dues, sums of money, accounts, reckonings, bonds, bills, specialties, variances, covenants,

 trespasses, damages, demands(whether written or oral), agreements, promises, liabilities,

 controversies, costs, expenses, attorneys' fees, and any losses whatsoever, whether in law, in

 admiralty, or in equity, and whether based on any United States federal, state, or common-law

 right of action or foreign statutory or common-law right of action or otherwise, foreseen or

 unforeseen, matured or unmatured, known or unknown, accrued or not accrued, existing now or

 to be created in the future, including Unknown Claims.

                10.     "Claim Form" means the form, as approved by the Court, that Class

 Members will use to submit claims under the procedures set out in this Settlement Agreement,

 which form the Settling Parties shall ask the Court to approve substantially as set out as

 Exhibit G.

                11.     "Claims Administrator" means, subject to Court approval and appointment

 in the Preliminary Approval Order, Strategic Claims Services.

                12.    "Class" or "Class Members" means, for purposes of this Settlement, all

 persons and entities who, during the Class Period, purchased or otherwise acquired VLF

Interests, either directly, or indirectly through Life Assets Trust S.A. Compartments VII and/or

 VIII, pursuant to an offering of those partnership interests. Excluded from the Class are:


                                                  5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 11 of 174 PageID #: 141



                        a.      such persons or entities who submit valid and timely requests for

 exclusion from the Class;

                        b.      such persons or entities who, while represented by counsel, settled

 an actual or threatened lawsuit or other proceeding against one or more of the Releasees arising

 out of or related to the Released Class Claims; and

                        c.      Defendants; the agents or employees of Defendants; any person,

 firm, trust, corporation, or other entity related to or affiliated with any of the Defendants during

 the Class Period (provided, however, that the term "affiliate" or "affiliated with" shall not

 include Life Assets Trust S.A. Compartments VII and VIII); and any judge or judicial officer

 who may hear any aspect of this case, and his or her law clerks.

                 13.    "Class Period" means the period from January 1, 2017 through March 19,

 2021, inclusive.

                 14.    "Complaint" means the Class Action Complaint filed in the Action on

 March 19, 2021.

                 15.    "Complete Bar Order" means the bar order, the text of which is set forth in

 paragraph 18 of the Approval Order (Exhibit B).

                 16.    "Confidentiality Agreement" means the Confidentiality Agreement in the

 form entered into by Plaintiffs and Defendants, a copy of which is attached as Exhibit H.

                 17.    "Controlling Interest" means an interest in an entity where such interest is

 sufficient to allow the interest holder directly or indirectly to direct or cause the direction of the

 management and policies of the entity, whether through the ownership of voting shares, by

 contract, or otherwise. Any disputes as to whether any Defendant or any other Releasee has a

 Controlling Interest in an entity or whether an entity has a Controlling Interest in a Defendant or


                                                    6
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 12 of 174 PageID #: 142



 any other Releasee shall, solely for purposes of determining whether a Controlling Interest exists

 under this Settlement Agreement, be submitted to the Mediator for final, binding resolution, and

 the party claiming that the interest is a Controlling Interest for purposes of this Settlement

 Agreement shall bear the burden of proof as to that issue.

                 18.    "Court" means the United States District Court for the District of

 Delaware.

                 19.    "Defendants" means VLF; Vida Management I, LLC; Vida Capital

 Management, LLC; Vida Capital, Inc.; Vida Capital, LLC; and Jeffrey R. Serra.

                20.     "Defendants' Counsel" means Richards, Layton & Finger P.A. and

 Proskauer Rose LLP.

                21.     "Derivative Action" means the shareholder derivative action now pending

 and captioned as The Moller Family Trust v. Vida Management I, LLC, C.A. No. 2021-0823-

 MTZ(Del. Ch.).

                22.     "Due-Diligence Discovery" means the information that VLF will provide

 to Plaintiffs as described in Section II below.

                23.     "Escrow Account" means the account described in Section III into which

 the Settlement Amount shall be paid. The Escrow Account shall be at Huntington Bank. The

 Escrow Account shall be treated for tax purposes as a Qualified Settlement Fund, as described

 below.

                24.    "Escrow Agent" means Strategic Claims Services, which shall act as

escrow agent for the Escrow Account.

                25.    "Execution Date" means the date by which this Settlement Agreement has

 been executed by all Settling Parties.


                                                   7
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 13 of 174 PageID #: 143



                26.    "Fairness Hearing" means the hearing at or after which the Court will

 make a final decision, pursuant to Fed. R. Civ. P. 23, as to whether this Settlement Agreement is

 fair, reasonable, and adequate to settle the Class Members' Claims against Defendants and the

 other Releasees and whether the Court should approve the proposed Settlement; provided that

 the Fairness Hearing shall be scheduled for a date that is no fewer than one hundred ten (110)

 days following the Preliminary Approval Date. It is within the Court's discretion to hold the

 Fairness Hearing in person, telephonically, or by videoconference.

                27.    "Family Members" means an individual's father, mother, grandfather,

 grandmother, sister, brother, spouse/partner, son, and/or daughter, and any other person living in,

 or a member of, such an individual's household.

                28.    "Final" means, when used in connection with any court order or judgment,

 that the relevant order or judgment will be final:

                        a.     if no appeal is taken therefrom, on the date on which the time to

 appeal therefrom (including any potential extension oftime) has expired;

                        b.      if any appeal is taken therefrom, on the date on which all appeals

 therefrom — including petitions for rehearing or reargument, petitions for rehearing en banc,

 petitions for certiorari or any other form of review, and any related appeals or petitions,

 including as to any appeal bond — have been finally disposed of, such that the time to appeal

 therefrom (including any potential extension of time) has expired, in a manner resulting in an

 affiuiiiance of the relevant order or judgment.

                29.     "Final Settlement Date" means the date on which the Approval Order and

 the Judgment become Final.

                30.     "Goldman Scarlato & Penny" means Goldman Scarlato & Penny PC.


                                                      8
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 14 of 174 PageID #: 144



                 31.    "Incentive Award" means any amount that the Court awards to Plaintiffs

 to compensate them for their reasonable costs and expenses directly relating to the representation

 ofthe Class.

                 32.    "Incentive Award Application" means the application by which Plaintiffs

 seek an Incentive Award, as provided for in Section XI below.

                 33.    "Investment Decision" means any decision regarding an investment in

 VLF Interests by a Class Member during the Class Period, including a decision to hold or

 sell/redeem such interests during the Class Period.

                34.     "Judgment" means the Judgment entered by the Court as contemplated in

 Section XIII of this Settlement Agreement, which Judgment the Settling Parties shall ask the

 Court to enter substantially in the form set out as Exhibit C.

                35.     "Legal Holiday" means New Year's Day, the observance of the Birthday

 of Martin Luther King, Jr., Presidents' Day, Memorial Day, Juneteenth, Independence Day,

 Labor Day, Columbus Day, Veterans Day, Thanksgiving Day, Christmas Day, and any other day

 designated as a federal observed holiday.

                36.    "Long-Form Notice" means the notice, as approved by the Court and as

 described in Section IV and in the Preliminary Approval Order, that informs potential Class

 Members of the Settlement contemplated by this Settlement Agreement, which notice the

 Settling Parties shall ask the Court to approve substantially in the form set out as Exhibit E. As

 provided in the Preliminary Approval Order, the Long-Form Notice will be sent to those

 potential Class Members who request it.

                37.    "Mediator" means Jed D. Melnick, Esq., or, if he is unavailable, someone

of similar stature upon whom the Settling Parties agree.


                                                  9
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 15 of 174 PageID #: 145



                38.    "Net Settlement Amount" means the Settlement Fund less (i) any Tax

 Expenses paid or owing,(ii) any Notice and Administrative Expenses paid or owing, and (iii) the

 Attorneys' Fees and Expenses Award and the Incentive Award.

                39.     "Nominees" means brokerage firms, banks, and other institutions that hold

 VLF Interests for the benefit of other persons or entities.

                40.     "Notice and Administrative Expenses" means any and all expenses (other

 than Plaintiffs' Counsel's fees and expenses) associated with the administration of the Settlement

 contemplated by this Settlement Agreement, including the Claims Administrator's fees and

 expenses and all other fees and expenses associated with (i) printing and sending the Postcard

 Notice, Long-Form Notice, and Claim Form to potential Class Members,(ii) publishing the

 Summary Notice,(iii) assisting Class Members with filing Claim Forms,(iv) processing Claim

 Forms,(v) setting up and maintaining a toll-free telephone number for potential Class Members

 to call,(vi) operating a settlement website, and (vii) distributing the Net Settlement Amount, as

 well as (viii) any reasonable costs, fees, and expenses incurred in connection with the Escrow

 Account.

                41.     "Notice Program" means the program for informing potential Class

 Members about the proposed Settlement, including the Postcard Notice, the Long-Form Notice,

 the Claim Form,the Summary Notice, and the manner of delivering and publishing such notices

 or forms.




                                                   10
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 16 of 174 PageID #: 146



                42.     "Operative Facts" means those facts and circumstances that provide the

 factual predicate for the claims asserted in the Action and shall include, among other things:

                        a.         The offering and sale of VLF Interests during the Class Period,

 including all documents (including Private Placement Memoranda) used and representations

 made in connection with such offering or sale;

                        b.     Defendants' communications with purchasers or prospective

 purchasers of VLF Interests during the Class Period, including quarterly letters to investors and

 any other reports to investors;

                        c.     The performance of VLF Interests during the Class Period,

 including Defendants' information and explanations about such performance and any financial

 guidance, projections, or expectations concerning such performance;

                        d.     Defendants' statements about VLF's purposes, objectives, goals,

 investment criteria, due-diligence processes, underwriting procedures, and risk management

 during the Class Period;

                       e.      Defendants' valuation of VLF's investments and VLF Interests

 during the Class Period, including internal controls, underwriting procedures, and other

 procedures for evaluating and pricing VLF's investments, and any alleged failure to update

 valuations, procedures, or life-expectancy reports;

                       f.      Defendants' alleged failure during the Class Period to ensure

 adequate separation between VLF's underwriting and origination functions and to maintain

 adequate personnel, including on VLF's portfolio-management and risk teams;

                       g.      Defendants' reliance on third-party life-expectancy providers and

 Defendants' subsequent use of proprietary approaches to value VLF's investments;


                                                    11
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 17 of 174 PageID #: 147



                        h.      Alleged conflicts of interest between or among Defendants and

 their affiliated entities during the Class Period (including any alleged conflicts of interest

 between or among VLF, Jeffrey R. Serra, and Ovation Partners, LP);

                        i.      Any redemptions or liquidations of VLF Interests during the Class

 Period by Defendants, any other Releasee, or any of their affiliated entities during the Class

 Period;

                        J.      Vida Management's management of VLF during the Class Period,

 including Vida Management's researching, selecting, monitoring, and otherwise making

 decisions about VLF's investments;

                        k.      Magna Life Settlement's sale of, facilitation of the sale of, or

 provision of advice about life-settlement assets to VLF during the Class Period, and any alleged

 conflict of interest between Magna Life Settlement and any Defendant;

                        1.      VLF's management fees and performance allocations during the

 Class Period;

                         m.      Any alleged communications(whether internal to Defendants or

 external, and whether oral or written) relating to or evidencing any of the alleged conduct

 described in Section I.A.42.a-1,

                         n.      Any alleged misstatements or omissions during the Class Period

 relating to any of the matters described in Sections I.A.42.a-m;

                         o.      Any alleged inflation or decline in the price or value of VLF

 Interests during the Class Period that is related to or arises out of the alleged conduct and/or

 topics described in Sections I.A.42.a-n; and




                                                   12
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 18 of 174 PageID #: 148



                         P.     Any Claims under the TSA or any other law arising out of the

 alleged conduct and/or topics described in Sections I.A.42.a-o.

                 43.    "Plaintiffs" means Timothy O'Hern, Semyon Rodkin, and Dominic

 Cardinale.

                 44.    "Plaintiffs' Counsel" means Goldman Scarlato & Penny, Rosca Scarlato,

 and Rigrodsky Law,P.A.

                 45.    "Plan of Allocation" means the terms and procedures for allocating the

 Net Settlement Amount among, and distributing it to, Authorized Claimants as the Court shall

 approve. Plaintiffs shall ask the Court to approve a Plan of Allocation substantially in the foiin

 set out in the Long-Form Notice (Exhibit E).

                46.     "Postcard Notice" means the notice, as approved by the Court and as

 described in Section IV and in the Preliminary Approval Order, that Rosca Scarlato will cause

 the Claims Administrator to disseminate to potential Class Members informing them of the

 Settlement contemplated by this Settlement Agreement, which notice the Settling Parties shall

 ask the Court to approve substantially in the form set out as Exhibit D.

                47.     "Preliminary Approval Date" means the date on which the Preliminary

 Approval Order is entered on the Court's docket.

                48.     "Preliminary Approval Order" means the order concerning, among other

 things, preliminary approval of the proposed Settlement, certification of the Class solely for

 settlement purposes, provision of notice of the proposed Settlement, administration of the

 proposed Settlement, and scheduling of the Fairness Hearing, which order the Settling Parties

 shall ask the Court to enter substantially in the form set out as Exhibit A.

                49.     "Proskauer" means Proskauer Rose LLP.


                                                  13
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 19 of 174 PageID #: 149



                50.     "Qualified Settlement Fund" means a fund within the meaning of Treasury

 Regulation § 1.468B-1.

                51.     "Released Class Claims" means each and every Claim that existed as of,

 on, or before the Execution Date and that Plaintiffs or any other Class Member (i) asserted

 against any of the Releasees in the Action (including all Claims alleged in the Complaint) or

(ii) could have asserted or could assert against any of the Releasees arising out of or relating to

 any of the Operative Facts or any alleged statements about, mischaracterizations of, or omissions

 concerning them, whether arising under any federal, state, or other statutory or common-law rule

 or under any foreign law, in any court, tribunal, agency, or other forum, if such Claim also arises

 out of or relates to the purchase or other acquisition of VLF Interests, or to any other Investment

 Decision, during the Class Period; provided, however, that the term "Released Class Claims"

 does not include (i) any Suitability Claim,(ii) any claims asserted in any shareholder derivative

 action on behalf of VLF,including without limitation the derivative claims asserted in the

 Derivative Action, or (iii) any claims to enforce this Settlement Agreement.

                52.     "Released Releasees' Claims" means each and every Claim that has been,

 could have been, or could be asserted in the Action or in any other proceeding by any Releasee

(including Defendants and their successors and assigns), or his, her, or its respective estates,

 heirs, executors, agents, attorneys (including in-house counsel, outside counsel, and Defendants'

 Counsel), beneficiaries, accountants, professional advisors, trusts, trustees, administrators, and

 assigns, against Plaintiffs, any other Class Members, or any of their respective attorneys

(including, without limitation, Plaintiffs' Counsel), and that arises out of or relates in any way to

 the initiation, prosecution, or settlement of the Action or the implementation ofthis Settlement




                                                  14
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 20 of 174 PageID #: 150



 Agreement;provided, however, that Released Releasees' Claim shall not include any Claim to

 enforce the Settlement Agreement.

                 53.     "Releasee" means each and every one of, and "Releasees" means all of,

(i) Defendants,(ii) Defendants' Affiliates,(iii) each of Defendants' current and former officers,

 directors, employees, agents, representatives, any and all in-house counsel and outside counsel

(including Defendants' Counsel), advisors, administrators, accountants, accounting advisors,

 auditors, consultants, assigns, assignees, beneficiaries, representatives, partners, successors-in-

 interest, insurance carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors,

 fiduciaries, service providers, and investment bankers, and any entities (a) in which any

 Defendant or any Defendant's Affiliate has or had a Controlling Interest or(b)that has or had a

 Controlling Interest in any Defendant or any Defendant's Affiliate,(iv) for each of the foregoing

 Releasees,(y)to the extent the Releasee is an entity, each of its current and fouler officers,

 directors, employees, agents, representatives, any and all in-house counsel and outside counsel

(including Defendants' Counsel), advisors, administrators, accountants, accounting advisors,

 auditors, consultants, assigns, assignees, beneficiaries, representatives, partners, successors-in-

 interest, insurance carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors,

 fiduciaries, service providers, and investment bankers, and any entities in which any Releasee

 has or had a Controlling Interest or that has or had a Controlling Interest in the Releasee, and

(z)to the extent the Releasee is an individual, each of his or her Family Members, estates, heirs,

 executors, beneficiaries, trusts, trustees, agents, representatives, attorneys (including Defendants'

 Counsel), advisors, administrators, accountants, consultants, assigns, assignees, representatives,

 partners, successors-in-interest, insurance carriers, and reinsurers, and (v) any person purporting




                                                   15
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 21 of 174 PageID #: 151



 to assert a Released Releasees' Claim on behalf of, for the benefit of, or derivatively for any such

 Releasee.

                54.     "Releasor" means each and every one of, and "Releasors" means all of,

(i) Plaintiffs,(ii) all other Class Members,(iii) for each of the foregoing Releasors,(y)to the

 extent the Releasor is an entity, each of its current and former officers, directors, employees,

 agents, representatives, any and all in-house counsel and outside counsel (including Plaintiffs'

 Counsel), advisors, administrators, accountants, accounting advisors, auditors, consultants,

 assigns, assignees, beneficiaries, representatives, partners, successors-in-interest, insurance

 carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors, fiduciaries, service

 providers, and investment bankers, and any entities in which any Releasor has or had a

 Controlling Interest or that has or had a Controlling Interest in the Releasor, and (z)to the extent

 the Releasor is an individual, each of his or her Family Members, estates, heirs, executors,

 beneficiaries, trusts, trustees, agents, representatives, attorneys (including Plaintiffs' Counsel),

 advisors, administrators, accountants, consultants, assigns, assignees, representatives, partners,

 successors-in-interest, insurance carriers, and reinsurers, and (iv) any person purporting to assert

 a Released Class Claim on behalf of, for the benefit of, or derivatively for any such Releasor.

                 55.     "Rosca Scarlato" means Rosca Scarlato, LLC.

                 56.     "Settlement" means the settlement contemplated by this Settlement

 Agreement.

                 57.     "Settlement Agreement" means this Stipulation of Settlement and any

 accompanying exhibits, including any subsequent amendments thereto and any exhibits to such

 amendments.




                                                    16
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 22 of 174 PageID #: 152



                 58.     "Settlement Amount" means one million four hundred thousand dollars

($1,400,000).

                 59.    "Settlement Fund" means the Settlement Amount plus any interest that has

 accrued on the Settlement Amount on deposit in the Escrow Account.

                 60.    "Settling Parties" means Plaintiffs(on behalf of themselves and the Class

 Members) and Defendants.

                61.     "Suitability Claim" means any claim against a broker, investment advisor,

 or other person or entity alleging that(i) such person or entity told, suggested to, recommended

 to, or advised a Class Member that an investment in VLF Interests would be suitable for such

 Class Member and (ii) the investment was not suitable for such Class Member because VLF

 Interests(a) were not sufficiently liquid,(b) would constitute too large a percentage of such

 Class Member's assets, and/or(c) were not consistent with the Class Member's investment risk

 tolerance or investment objectives and/or time frame;provided, however, that a Suitability Claim

 shall not apply to, or be a basis for or part of, any claim or attempted claim (however or by

 whomever brought) against any Releasee or any other person or entity affiliated with any

 Releasee.

                62.     "Summary Notice" means the notice described in Section IV, which notice

 the Settling Parties shall ask the Court to approve substantially in the form set out as Exhibit F.

                63.     "Supplemental Agreement" means the agreement entered into by the

 Settling Parties through their respective counsel that is referenced in Section XIV.D below. The

 Settling Parties agree to keep the Supplemental Agreement confidential and not to disclose it or

file it with the Court unless (i) the Court otherwise orders or (ii) a dispute arises among the

Settling Parties concerning the Supplemental Agreement's interpretation or application. If the


                                                  17
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 23 of 174 PageID #: 153



 Supplemental Agreement must be provided to the Court, the Settling Parties shall seek leave to

 submit it in camera or to file it under seal.

                64.     "Tax Expenses" means (i) all taxes on the income of the monies in the

 Escrow Account and (ii) any expenses and costs incurred in connection with the taxation of the

 Escrow Account(including expenses of tax attorneys and accountants).

                65.     "Termination Threshold" means the threshold of requests for exclusion (as

 specified in the Supplemental Agreement)that gives rise to Defendants' right to terminate the

 Settlement Agreement pursuant to Section XIV.D.

                66.     "TSA" means the Texas Securities Act.

                67.     "Unknown Claims" means any and all Released Class Claims that any

 Plaintiff or any other Class Member does not know or suspect to exist in his, her, or its favor at

 the time of the release of the Releasees, and any Released Releasees' Claims that any Releasee

 does not know or suspect to exist in his, her, or its favor at the time of the release of the

 Releasors, which, if known by such Plaintiff, Class Member, or Releasee, might have affected

 his, her, or its decision concerning the Settlement. As to any and all Released Class Claims and

 Released Releasees' Claims, the Settling Parties stipulate and agree that, upon the Final

 Settlement Date, Plaintiffs and Defendants shall expressly waive, and each other Class Member,

 Releasor, and Releasee shall be deemed to have waived, and by operation of the Approval Order

 and the Judgment shall have expressly waived, any and all provisions, rights, and benefits

 conferred by any law of any state or territory of the United States or of any other country, or any

 principle of common law, that is similar, comparable, or equivalent to Cal. Civ. Code § 1542,

 which provides:

                 A general release does not extend to claims that the creditor or
                 releasing party does not know or suspect to exist in his or her favor

                                                   18
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 24 of 174 PageID #: 154



                at the time of executing the release and that, if known by him or
                her, would have materially affected his or her settlement with the
                debtor or released party.

 Plaintiffs and Defendants acknowledge, and the other Class Members, Releasors, and Releasees

 by operation of law shall be deemed to have acknowledged, that the inclusion of"Unknown

 Claims" in the definition of Released Class Claims and Released Releasees' Claims was

 specifically considered and bargained for and was a key element of the Settlement.

                68.     "Vida Management" means Vida Capital Management, LLC.

                69.     "VLF" means Vida Longevity Fund, LP.

                70.     "VLF Interests" means limited partnership interests in VLF, whether

 purchased directly, or indirectly through Life Assets Trust S.A. Compartments VII and VIII,

 pursuant to an offering of those limited partnership interests.

        B.      Capitalized Terms

                1.      Capitalized terms used in this Settlement Agreement, but not defined

 above, shall have the meaning ascribed to them in this Settlement Agreement.

 II.    DUE-DILIGENCE DISCOVERY

        A.      Subject to the provisions of the Confidentiality Agreement, VLF will provide

 Plaintiffs' Counsel with reasonable Due-Diligence Discovery regarding the claims in the

 Complaint to allow Plaintiffs and Rosca Scarlato to confirm whether the proposed Settlement is

 fair, reasonable, and adequate.

        B.      Due-Diligence Discovery shall consist of documents relevant to the claims in the

 Complaint. The documents will be provided in an electronic depository under the control of

 Defendants' Counsel.




                                                  19
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 25 of 174 PageID #: 155



        C.      The time period for Due-Diligence Discovery will begin on the Execution Date

 and will last for sixty (60) days following the Execution Date, unless the Settling Parties agree to

 shorten the period.

        D.      Any disputes regarding Due-Diligence Discovery (including any disputes about

 the content of that discovery) shall be submitted to the Mediator for final, binding resolution.

        E.      Due-Diligence Discovery may be used only in accordance with the terms of the

 Confidentiality Agreement and solely for purposes of assessing whether the proposed Settlement

 is fair, reasonable, and adequate, and for no other purpose, including litigation of claims in this

 Action or in any other action or proceeding.

        F.      Subject to Sections XIV and XV below, if the Due-Diligence Discovery

 contemplated by this Section II causes Plaintiffs and Rosca Scarlato reasonably and in good faith

 to conclude that the proposed Settlement Agreement is not fair, reasonable, and adequate,

 Plaintiffs will have the right to terminate this Settlement Agreement within 10 days following the

 conclusion of the Due-Diligence Discovery.

 III.   TERMS AND CONDITIONS OF THE SETTLEMENT

        A.      Payment of Settlement Amount

                1.      At its sole election, VLF will either pay or cause to be paid the Settlement

 Amount on behalf of all Defendants into the Escrow Account within twenty(20)Business Days

 following the Preliminary Approval Date, subject to the consent of Defendants' insurers or

 Defendants' waiver of such consent.

                2.      If the Settlement Amount is not paid into the Escrow Account within

 twenty(20) Business Days following the Preliminary Approval Date, Rosca Scarlato shall notify

 Defendants' Counsel that the payment has not occurred, and VLF shall have five (5) Business


                                                  20
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 26 of 174 PageID #: 156



  Days to comply or obtain compliance with the obligation to pay the Settlement Amount into the

 Escrow Account in accordance with the provisions of the preceding paragraph. If payment still

 has not occurred after the additional period offive (5)Business Days, Plaintiffs may, subject to

 Section XV below, teiininate this Settlement Agreement.

                 3.      If Defendants' insurers do not pay the Settlement Amount as provided in

 this Section III.A, Defendants shall be entitled to terminate the proposed Settlement.

         B.      Escrow Account

                 1.      Within five(5)Business Days following the Execution Date, Rosca

 Scarlato and Proskauer shall establish the Escrow Account.

                 2.     From its inception until the Final Settlement Date, the Escrow Account

 shall be under the joint control of Rosca Scarlato and Proskauer.

                3.      As of the Final Settlement Date, the Escrow Account shall be under the

 sole control of Rosca Scarlato.

                4.      The Escrow Agent shall (i) administer the Escrow Account,(ii) invest the

 Settlement Amount in instruments backed by the full faith and credit of the United States

 Government or fully insured by the United States Government or an agency thereof, or in a bank

 with at least $50 billion in assets, and (iii) reinvest the proceeds of those instruments as they

 mature in similar instruments at their then-current market rates. The Escrow Agent shall bear all

 risks related to the investment of the amounts in the Escrow Account made in accordance with

 the guidelines set forth in this paragraph.

                5.      The Escrow Agent shall disburse proceeds of the Escrow Account only

(i) before the Final Settlement Date, by an order of the Court or upon the written instruction of

 Rosca Scarlato and Proskauer and (ii) as of and after the Final Settlement Date, upon the written


                                                  21
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 27 of 174 PageID #: 157



 instruction of Rosca Scarlato; provided, however, that, before the Final Settlement Date, Rosca

 Scarlato may withdraw up to $25,000.00 for the Claims Administrator's fees and expenses

 without first consulting with or obtaining written instruction from Proskauer.

               6.      If the Settlement Agreement is terminated as provided in this Settlement

 Agreement, the Escrow Agent shall, within ten(10) Business Days following receipt of written

 notice of such termination from Proskauer, return all monies then held in the Escrow Account

(including any interest that has accrued) to VLF or as instructed by Proskauer;provided that,

 before the return of monies pursuant to this Section III.B.6, Rosca Scarlato shall advise

 Proskauer of any outstanding Notice and Administrative Expenses that are in progress or are due

 for payment, and, upon the written consent of Proskauer(which consent shall not be

 unreasonably withheld), the Escrow Agent shall pay such expenses from the Escrow Account.

                7.     Upon the occurrence of the Final Settlement Date, and subject to

 Section XV below, no portion of the Settlement Amount shall revert to VLF,any other

 Defendant, or their insurers, and no Defendant, Releasee, or any other person or entity who or

 that paid any portion of the Settlement Amount shall have any right to the return of the

 settlement money paid into the Escrow Account, or any portion thereof, for any reason

 whatsoever, including, without limitation, the number of Claim Forms submitted, the collective

 amount of recognized claims of Authorized Claimants under the Plan of Allocation, the

 percentage of recovery of losses, or the amounts to be paid to Authorized Claimants from the Net

 Settlement Amount.

                8.      The Escrow Account and the funds it contains shall be deemed and

 considered to be in custodia legis of the Court and shall remain subject to the Court's jurisdiction




                                                 22
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 28 of 174 PageID #: 158



 until the funds are distributed pursuant to this Settlement Agreement and/or further order(s) of

 the Court.

                 9.     Any dispute about payments to be made out of the Escrow Account before

 the Final Settlement Date will be submitted to the Mediator for final, binding resolution.

         C.      Qualified Settlement Fund

                 1.     All necessary steps to enable the Escrow Account to be treated as a

 Qualified Settlement Fund for tax purposes shall be taken, including the timely filing by Rosca

 Scarlato and/or its agents of all elections and statements required for tax purposes pursuant to

 Treas. Reg. §§ 1.468B-0 through 1.468B-5, or any other relevant statutes, regulations, or

 published rulings now or hereafter enacted or promulgated, for all taxable years of the Escrow

 Account, beginning with the date of its establishment. Rosca Scarlato shall be the

"administrator" of the Qualified Settlement Fund for tax purposes under Treas. Reg. §§ 1.468B-0

 through 1.468B-5, shall file or cause to be filed on a timely basis any required federal, state, and

 local tax returns, and shall cause any taxes due on the income of the Qualified Settlement Fund

 and any other Tax Expenses to be paid from the Escrow Account. The Settling Parties agree that

 the Escrow Account shall be treated as a Qualified Settlement Fund, as provided in Treas. Reg.

 §§ 1.468B-0 through 1.468B-5, from the earliest date possible, and hereby agree to any relation-

 back election required to treat the Escrow Account as a Qualified Settlement Fund from the

 earliest date possible. In no event shall Defendants have any responsibility whatsoever for filing

 elections, other required statements, or tax returns, or for paying the costs associated therewith,

 any taxes due, or the expenses of notice or administration of the Escrow Account. Rosca

 Scarlato and Proskauer shall cooperate to the extent necessary to comply with this Section III.




                                                  23
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 29 of 174 PageID #: 159



 Upon request by Rosca Scarlato, VLF shall promptly provide the statement described in

 Treasury Regulation § 1.468B-3(e).

                2.      Upon request by Proskauer, the Claims Administrator shall promptly

 provide to Defendants' Counsel all information requested in connection with (i) any tax returns

 that VLF or any other Releasee must file or (ii) any other report or filing that VLF or any other

 Releasee must make concerning the Settlement Amount or any portion of it.

        D.      Distribution of the Net Settlement Amount

                1.     If the proposed Settlement becomes Final, the Net Settlement Amount

 shall be distributed pursuant to such Plan of Allocation as the Court approves.

                2.      No person or entity shall have any Claim against Plaintiffs, Plaintiffs'

 Counsel, the Claims Administrator, the Escrow Agent, or any of their agents, or against

 Defendants or any other Releasee (including Defendants' Counsel), relating to or arising out of

 any distributions or lack thereof made under any Court-approved Plan of Allocation, this

 Settlement Agreement, or orders of the Court.

                3.      The Settling Parties understand and agree that, notwithstanding any other

 provision of this Settlement Agreement, a court-ordered or court-approved change to the Plan of

 Allocation shall not operate to modify, terminate, or cancel this Settlement Agreement or affect

 the finality of the Approval Order and the Judgment or any other orders entered by the Court

 giving effect or pursuant to this Settlement Agreement.

                4.      Development of the Plan of Allocation shall be exclusively the

 responsibility of Plaintiffs and Rosca Scarlato,provided that the Plan of Allocation shall not

 provide any Class Member (including Plaintiffs) with an amount in excess of his, her, or its

 recognized loss under the Plan of Allocation.


                                                 24
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 30 of 174 PageID #: 160



                 5.     Defendants, the other Releasees, and their respective counsel, including

 Defendants' Counsel, shall have no role in, responsibility for, or liability as to or in connection

 with, and shall take no position on,(i) the Plan of Allocation,(ii) the form, substance, method, or

 manner of allocation, administration, or distribution ofthe Net Settlement Amount,(iii) any tax

 liability that a Class Member might incur as a result ofthis Settlement Agreement, or (iv) the

 result of any action taken pursuant to this Settlement Agreement, the administration or

 processing of claims (including determinations as to the validity of Claim Forms), the amounts

 of claims or distribution of the Net Settlement Amount, or (except as set out above)the

 maintenance of the Escrow Account as a Qualified Settlement Fund.

                6.      Class Members shall look solely to the Net Settlement Amount for

 settlement and satisfaction of all Released Class Claims and only to the extent expressly

 provided by this Settlement Agreement, the Court-approved Plan of Allocation, or an order of

 the Court. Under no circumstances will any of the Settling Parties or any Releasee be

 responsible for the payment of any fees, costs, expenses, or other funds associated with or arising

 out of the Settlement contemplated by this Settlement Agreement other than as provided herein.

                7.      Any portion of the Net Settlement Amount that cannot be distributed

 pursuant to the Plan of Allocation shall be distributed pursuant to the cy pres doctrine, with a

 beneficiary or beneficiaries to be agreed upon by the Settling Parties and approved by the Court.

        E.      Implementation of the Plan of Allocation

                1.      All cash distributions to Authorized Claimants shall be paid from the Net

 Settlement Amount pursuant to a Plan of Allocation approved by the Court.




                                                 25
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 31 of 174 PageID #: 161



                2.     The Plan of Allocation is not a necessary term of this Settlement

 Agreement, and this Settlement Agreement is not conditioned on the approval of any particular

 plan of allocation.

                3.     To receive a cash distribution from the Net Settlement Amount pursuant to

 any approved Plan of Allocation, a Class Member must be an Authorized Claimant pursuant to

 the procedures set out in this Settlement Agreement or by order of the Court.

                4.     Unless otherwise authorized by the Court, each Class Member who wishes

 to receive a distribution from the Net Settlement Amount must complete and submit a Claim

 Form, as directed in the Postcard Notice, Long-Form Notice, Summary Notice, and Claim Form.

 The Claim Form must be postmarked or received no later than the date stated in the Claim Form

(unless otherwise allowed by Rosca Scarlato or the Court), must be sent to the address stated in

 the Claim Form, and must be accompanied by adequate supporting documentation as described

 in the Claim Form.

                5.     The Claim Form must be executed subject to the penalties of perjury

 pursuant to 28 U.S.C. § 1746.

                6.     The validity of each submitted Claim Form will initially be determined by

 the Claims Administrator in accordance with the Plan of Allocation approved by the Court. The

 Claims Administrator shall advise the Class Member in writing if it determines to reject the

 claim. Rosca Scarlato shall have the right, but not the obligation, to advise the Claims

 Administrator to waive, in the interests of achieving substantial justice, what Rosca Scarlato

 deems to be formal or technical defects in any Claim Forms submitted. Rosca Scarlato, its

 designees or agents, Plaintiffs, Defendants' Counsel, Defendants, the other Releasees, and their

 counsel shall not have any liability arising out of any such determinations. Persons who timely


                                                 26
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 32 of 174 PageID #: 162



 submit a Claim Form that is deficient or otherwise rejected shall be afforded a reasonable time

(at least twenty(20) days)to cure such deficiency if it appears to be potentially curable.

                 7.      If any Class Member whose claim has been rejected in whole or in part

 desires to contest such rejection, the Class Member must, within twenty(20)days after the date

 of such rejection, submit to the Claims Administrator a notice and statement of reasons

 explaining the Class Member's grounds for contesting the rejection, along with any supporting

 documentation. If a dispute concerning a claim cannot be otherwise resolved, Rosca Scarlato

 shall thereafter present the request for review to the Court.

                8.      Each Class Member or other claimant shall be deemed to have submitted

 to the jurisdiction of the Court with respect to his, her, or its claim, and the claim will be subject

 to investigation and discovery under the Federal Rules of Civil Procedure;provided, however,

 that such investigation and discovery shall be limited to that claimant's status as a Class Member

 and the validity and amount of the claimant's claim. No discovery shall be allowed on the merits

 of this Action or of the Settlement in connection with the processing of claims.

                9.      Rosca Scarlato will apply to the Court, on notice to Defendants' Counsel,

 for a Class Distribution Order(a) approving the Claims Administrator's administrative

 determinations concerning the acceptance and rejection of the claims submitted;(b) approving

 payment of any administration fees and expenses associated with the administration of the

 Settlement from the Escrow Account; and (c)if the Final Settlement Date has occurred, directing

 payment of the Net Settlement Amount to Authorized Claimants from the Escrow Account.

                10.     Payment pursuant to the Class Distribution Order shall be final and

 conclusive against all claimants. All Class Members whose claims are not approved by the

 Court for payment shall be barred from participating in distributions from the Net Settlement


                                                   27
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 33 of 174 PageID #: 163



 Amount, but otherwise shall be bound by all ofthe terms of this Settlement Agreement and the

 Settlement, including the terms of the Approval Order and Judgment, to be entered in this Action

 and the Releases provided for herein and therein.

                1 1.    The administration of the Escrow Account and the Net Settlement

 Amount, and decisions on all disputed questions of law and fact concerning the validity of any

 Claim Form or regarding the rejection or amount of any claim, shall remain under the

 jurisdiction of the Court. All Class Members and Settling Parties expressly waive trial by court

 or jury (to the extent any such right might exist) and any right of appeal or review as to the

 Court's determinations concerning Claims Forms or claims for Settlement relief Any Class

 Member pursuing such a dispute shall be responsible for his, her, or its own costs, including

 attorneys' fees, incurred in pursuing the dispute.

                12.     The Net Settlement Amount shall not be distributed to Authorized

 Claimants until the Final Settlement Date has occurred.

                13.     Unless otherwise ordered by the Court or otherwise provided for herein,

 any Class Member who fails to submit a valid and timely Claim Form shall be barred from

 receiving a distribution from the Net Settlement Amount, but shall nevertheless be bound by the

 Release and all proceedings, orders, and judgments in the Action even if he, she, or it has

 pending, or subsequently initiates, any litigation, arbitration, or other proceeding, or has any

 Claim, against any or all of the Releasees that is a Released Class Claim.

 IV.     NOTICE TO THE CLASS

         A.     Individual Notice

                 1.     Subject to the requirements of the Preliminary Approval Order, and in

 accordance with all applicable laws, at least sixty (60)days before the deadline for objecting to


                                                  28
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 34 of 174 PageID #: 164



 or opting out of the Settlement, Rosca Scarlato shall cause the Claims Administrator to mail by

 first-class mail a copy of the Postcard Notice to all potential Class Members who can be

 identified through reasonable efforts, including by review of depositary institutions' records and

 any other inquiries conducted by the Claims Administrator.

                 2.     The Claims Administrator will also post the Postcard Notice, Long-Form

 Notice, and Claim Form on its website by no later than the date on which the first Postcard

 Notices are mailed to potential Class Members.

                 3.     VLF shall make reasonable efforts to provide or cause its administrator to

 provide to the Claims Administrator, by no later than five (5) Business Days following entry of

 the Preliminary Approval Order, lists of all persons and entities that purchased VLF Interests

 during the Class Period, so that the Claims Administrator can provide notice to such potential

 Class Members. To the extent practicable, the lists of potential Class Members shall be in

 electronic form (such as Excel) and shall contain the names and addresses(and, if available,

 email addresses) of all such persons and entities who can be identified through reasonable efforts

 from VLF's and/or its administrator's records.

            B.   Summary Notice

                 1.     Subject to the requirements of the Preliminary Approval Order, and in

 accordance with all applicable laws, at least fifty(50)days before the deadline for objecting to or

 opting out of the Settlement, the Claims Administrator shall cause a copy of the Summary Notice

 to be published one time through a national press service to be agreed upon by the Settling

 Parties.




                                                  29
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 35 of 174 PageID #: 165



        C.      CAFA Notice

                1.      No later than ten (10)calendar days following the filing of this Settlement

 Agreement with the Court, Defendants shall cause notice to be provided to United States federal

 and state officials if and to the extent required by CAFA. VLF is solely responsible for the costs

 ofthe CAFA notice and administering the CAFA notice. At least seven (7) calendar days before

 the Fairness Hearing, Defendants shall cause to be served on Rosca Scarlato and filed with the

 Court proof, by affidavit or declaration, regarding compliance with the notice requirements of

 CAFA.

                2.      The Settling Parties shall request a schedule for the Fairness Hearing that

 is consistent with the notice periods prescribed in CAFA, with such hearing to be at least

 1 10 days after entry of the Preliminary Approval Order.

        D.      Notice Costs

                1.      All expenses incurred in connection with the provision of the Postcard

 Notice and Long-Form Notice and the publication of the Summary Notice will be paid from the

 Settlement Amount.

                2.      VLF shall be solely responsible for the costs associated with providing

 CAFA notice, if any.

 V.      CLAIMS ADMINISTRATOR

         A.     As provided in the Preliminary Approval Order, the Claims Administrator shall

 assist Plaintiffs and Rosca Scarlato in administering and implementing the Settlement

 contemplated by this Settlement Agreement. VLF shall cooperate in the administration of the

 Settlement Agreement to the extent reasonably necessary to effectuate its tern's (but not




                                                  30
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 36 of 174 PageID #: 166



  including any acts that the Claims Administrator, Plaintiffs, and/or Plaintiffs' Counsel are

  required to undertake pursuant to this Settlement Agreement).

         B.       The Claims Administrator shall perform various tasks as directed by Rosca

 Scarlato, including: (i) printing the Postcard Notice, Long-Form Notice, and Claim Faun and

  mailing them to potential Class Members,(ii) arranging for publication of the Summary Notice,

(iii) posting the Postcard Notice, Long-Form Notice, Claim Form, and other documents relevant

 to the Settlement and the Action on a website for the Settlement,(iv) answering written inquiries

 from potential Class Members and/or forwarding such inquiries to Rosca Scarlato,(v) providing

 additional copies of the Postcard Notice, Long-Form Notice, and Claim Form, upon request, to

 Nominees or potential Class Members,(vi) receiving and maintaining any requests for exclusion

 from the Settlement from potential Class Members,(vii) receiving and processing Claim Fomis

 from Class Members,(viii) mailing or causing to be mailed to Authorized Claimants their

 distributions under the Plan of Allocation,(ix) operating a toll-free telephone number with access

 to operators to answer inquiries from potential Class Members and/or to forward such inquiries

 to Rosca Scarlato, and training staff members and operators about the proposed Settlement and

 the Plan of Allocation, and (x) otherwise administering and implementing this Settlement

 Agreement.

        C.        As ordered by the Court in the Preliminary Approval Order, the Claims

 Administrator shall establish, and shall staff with representatives knowledgeable about this

 Settlement Agreement and the Plan of Allocation, a toll-free telephone number for responding to

 inquiries from potential Class Members about this Settlement Agreement and any issues relating

 to the Action.




                                                 31
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 37 of 174 PageID #: 167



        D.      Except as otherwise set out in this Settlement Agreement, all administration

 expenses associated with implementing the Settlement, including the Claims Administrator's

 fees and expenses, will be paid from the Settlement Amount in the Escrow Account.

        E.      Plaintiffs and Rosca Scarlato have selected the Claims Administrator subject to

 the Court's approval and after obtaining Defendants' consent.

        F.      If a settlement of the Derivative Action is achieved, Plaintiffs and Plaintiffs'

 Counsel will not object to having the Claims Administrator also administer any such derivative

 settlement; provided, however, that any administrator and administrative costs attributable solely

 to any derivative settlement will not come out of the Settlement Amount in the Escrow Account.

 VI.    COMMUNICATIONS REGARDING THE SETTLEMENT

        A.      Subject to Sections VI.B and VI.E below, and except to the extent any disclosures

 have already been made, no further disclosure of the Settlement or its terms will be made by the

 Settling Parties, Plaintiffs' Counsel, or Defendants' Counsel before the Settlement Agreement is

 submitted to the Court for preliminary approval unless the Court requires such disclosure before

 such submission.

        B.      Notwithstanding Section VI.A above, nothing shall prevent Defendants, in their

 sole discretion, from making whatever earlier disclosure they believe might be required or

 appropriate, including to regulators, attorneys, accountants, investors, and insurers, or in filings

 with the SEC or any other federal or state regulatory authority; provided, however, that

 Defendants shall inform Rosca Scarlato in advance of any public disclosure (other than any

 disclosure pursuant to Section VI.E below) made before the Settlement Agreement is filed with

 the Court.




                                                   32
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 38 of 174 PageID #: 168



         C.      Each Settling Party shall have the opportunity to review any other Settling Party's

  press release(s)(if any), and any press releases or public statements (other than court filings)

  issued by Plaintiffs or Plaintiffs' Counsel concerning the proposed Settlement or Defendants

  must be approved by Defendants, whose approval shall not be unreasonably withheld.

         D.      The Settling Parties shall cooperate in good faith to ensure that any press releases,

 media statements, and other public statements regarding the Settlement will be balanced, fair,

 accurate, and nondisparaging.

         E.      VLF and Vida Management retain the right, in their sole discretion and without

 prior notice to or consent from Plaintiffs or Plaintiffs' Counsel, to communicate (orally or in

 writing) with their current and prospective investors in VLF and any other funds or accounts

 managed by Vida Management or an affiliate thereof, including to update them about the terms

 and expected timing of the proposed Settlement.

         F.     The Settling Parties, Plaintiffs' Counsel, and Defendants' Counsel agree that they

 will refrain from asserting that the Action was brought or defended in bad faith.

         G.     Except as provided in the Postcard Notice, Long-Form Notice, and Summary

 Notice or in court filings in support of Court approval of this Settlement, and except as otherwise

 provided in this Section VI, the Settling Parties, Plaintiffs' Counsel, and Defendants' Counsel

 agree that none ofthem will comment publicly on the merits of the Claims or defenses asserted

 in the Action except in the most general terms in the context of supporting or commending the

 Settlement terms; provided, however, that nothing in this Section VI shall preclude Releasees

from denying liability. Nothing in this Settlement Agreement shall prevent Defendants (or other

 Releasees)from announcing the existence of the Settlement and its potential impact (if any)on

 VLF's financial performance, as Defendants may deem appropriate for securities-law or other


                                                  33
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 39 of 174 PageID #: 169



 purposes (including by way of regulatory filings or press releases). Nor shall this Settlement

 Agreement prevent Defendants (or other Releasees)from publicly stating, including but not

 limited to in response to questions from investors, analysts, customers, or others, that they deny

 Plaintiffs' allegations, have asserted or would assert defenses in the Action, and have entered

 into the Settlement to avoid the further expense and distraction of continued litigation.

        H.      Defendants retain the right to communicate with their investors in the normal

 course of business.

 VII.   REQUESTS FOR EXCLUSION

        A.      Any potential Class Member who wishes to be excluded from the Class must mail

 by first-class mail, or otherwise deliver, a written request for exclusion to the Claims

 Administrator at the address provided in the Postcard Notice, Long-Form Notice, or Summary

 Notice, which exclusion request must be received no later than twenty-eight(28) days before the

 Fairness Hearing, or as the Court may otherwise direct. A list of the persons and entities who

 have validly and timely requested exclusion from the Class shall be provided by the Settling

 Parties to the Court at or before the Fairness Hearing.

         B.     A potential Class Member's request for exclusion must include the following

 information: (i) name,(ii) address,(iii) telephone number,(iv) email address, if available,(v)a

 statement that the potential Class Member wishes to request exclusion from the Class in 0'Hern

 v. Vida Longevity Fund, LP, No. 1:21-cv-00402-SRF(D. Del.),(vi) the dollars subscribed to

 VLF Interests held as of the beginning of the day on January 1, 2017,(vii) the dollars subscribed

 to VLF Interests purchased or otherwise acquired between January 1, 2017 through the end of

 the day on March 19, 2021,(viii) the dollar value of VLF Interests sold or redeemed between

 January 1, 2017 and                     (the end of the quarter preceding the initially scheduled


                                                  34
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 40 of 174 PageID #: 170



 date for the Fairness Hearing),(ix) the date of each such transaction involving each such VLF

 Interest,(x) account statements verifying all such transactions, and (xi) the signature of the

 person or entity requesting exclusion or of an authorized representative.

         C.     The Settling Parties agree that a request for exclusion shall not be valid or

 effective unless it provides all the required infoirnation as described above and is received within

 the time stated above, or is otherwise accepted by the Court.

         D.     Unless otherwise ordered by the Court, any Class Member who does not submit a

 timely written request for exclusion as provided by this Section VII shall be bound by the

 Release and by all proceedings, orders, and judgments in the Action, even if he, she, or it has

 pending or subsequently initiates any litigation, arbitration, or other proceeding, or has any other

 Claim, against any or all of the Releasees relating to any of the Released Class Claims.

        E.      Plaintiffs agree that they and their Affiliates will not request exclusion from the

 Class or the Settlement.

 VIII. OBJECTIONS TO SETTLEMENT

        A.      Any Class Member who wishes to object to the fairness, reasonableness, or

 adequacy of this Settlement Agreement, to any term(s) of this Settlement Agreement, to the Plan

 of Allocation, to the Attorneys' Fees and Expenses Application, or to the Incentive Award

 Application must both serve on Rosca Scarlato and Defendants' Counsel and file with the Court

 a statement of his, her, or its objection(s); provided, however, that a potential Class Member who

 requests exclusion from the Class shall not be entitled to submit an objection. Any such

 objection must be received by Rosca Scarlato, Defendants' Counsel, and the Court by no later

 than twenty-eight(28) days before the Fairness Hearing, or as the Court may otherwise direct.




                                                 35
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 41 of 174 PageID #: 171




        B.      The Class Member's statement of objection shall state the specific reason(s), if

 any, for each objection, including any legal support the Class Member wishes to bring to the

 Court's attention and any evidence the Class Member wishes to introduce in support of such

 objection, and shall state whether the objection applies only to the objector, to a specific subset

 ofthe Class, or to the entire Class. In addition to the reason(s) for the objection, an objection

 must also include the following information about the Class Member: (i) name,(ii) address,

(iii) telephone number,(iv) email address, if available,(v)the dollars subscribed to VLF Interests

 held as of the beginning of the day on January 1, 2017,(vi) the dollars subscribed to VLF

 Interests purchased or otherwise acquired between January 1, 2017 through the end of the day on

 March 19, 2021,(vii) the dollar value of VLF Interests sold or redeemed between January 1,

 2017 and                    (the end of the quarter preceding the initially scheduled date for the

 Fairness Hearing),(viii) the date of each such transaction involving each such VLF Interest, and

(ix) account statements verifying all such transactions.

         C.     Any Class Member may file an objection on his, her, or its own, or through an

 attorney hired at his, her, or its own expense. If a Class Member hires an attorney to represent

 him, her, or it in connection with filing an objection, the attorney must both serve on Rosca

 Scarlato and Defendants' Counsel and file with the Court a notice of appearance. Subject to the

 requirements of the Preliminary Approval Order, any such notice of appearance must be received

 by Rosca Scarlato, Defendants' Counsel, and the Court by no later than twenty-eight(28) days

 before the Fairness Hearing, or as the Court may otherwise direct.

         D.      Any Class Member who files and serves a written objection pursuant to this

 Section — and, unless otherwise ordered by the Court, only such Class Members — may appear at

 the Fairness Hearing, either directly or through counsel hired at the Class Member's expense, to


                                                   36
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 42 of 174 PageID #: 172



  object to the fairness, reasonableness, or adequacy of this Settlement Agreement, to any term(s)

 of this Settlement Agreement, to the Plan of Allocation, to the Attorneys' Fees and Expenses

 Application, or to the Incentive Award Application. Class Members or their attorneys intending

 to make an appearance at the Fairness Hearing must both serve on Rosca Scarlato and

 Defendants' Counsel and file with the Court a notice of intention to appear. Any such notice

 must be received by Rosca Scarlato, Defendants' Counsel, and the Court by no later than twenty-

 eight(28) days before the Fairness Hearing, or as the Court may otherwise direct. The Court has

 discretion to allow appearances at the Fairness Hearing in person, by telephone, or by

 videoconference.

        E.      Any Class Member who fails to comply with any ofthe provisions of this

 Section VIII shall waive and forfeit any and all rights he, she, or it might otherwise have to

 appear separately at the Fairness Hearing and/or to object to this Settlement Agreement, the Plan

 of Allocation, the Attorneys' Fees and Expenses Application, or the Incentive Award

 Application, and shall be bound by all the terms of this Settlement Agreement and by all

 proceedings, orders, and judgments in the Action.

 IX.    RELEASE AND WAIVER

        A.      Pursuant to the Approval Order and the Judgment, without further action by

 anyone, and subject to Section IX.D below, on and after the Final Settlement Date, Plaintiffs and

 all other Class Members(whether or not a Claim Faun has been executed and/or delivered by or

 on behalf of any such Class Member), on behalf of themselves and the other Releasors, for good

and sufficient consideration, the receipt and adequacy of which are hereby acknowledged, shall

 be deemed to have, and by operation of law and of the Approval Order and the Judgment shall

have, fully, finally, and forever released, relinquished, settled, and discharged:


                                                 37
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 43 of 174 PageID #: 173



                I.      all Released Class Claims against each and every one of the Releasees;

                2.      all Claims, damages, and liabilities as to each and every one of the

 Releasees to the extent that any such Claims, damages, or liabilities relate in any way to any or

 all acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written

 statements or representations in connection with, or directly or indirectly relating to,(i) the

 prosecution, defense, or settlement of the Action,(ii) this Settlement Agreement or its

 implementation,(iii) the Settlement terms and their implementation,(iv) the provision of notice

 in connection with the proposed Settlement, and/or(v)the resolution of any Claim Forms

 submitted in connection with the Settlement; and

                3.      all Claims against any of the Releasees for attorneys' fees, costs, or

 disbursements incurred by Plaintiffs' Counsel or any other counsel representing Plaintiffs

(including, without limitation, Labaton Sucharow LLP)or any other Class Member in connection

 with or related in any manner to the Action, the settlement of the Action, or the administration of

 the Action and/or its Settlement, except to the extent otherwise specified in this Settlement

 Agreement.

        B.      Pursuant to the Approval Order and the Judgment, without further action by

 anyone, and subject to Section IX.D below, on and after the Final Settlement Date, each and

 every Releasee, including Defendants' Counsel, for good and sufficient consideration, the receipt

 and adequacy of which are hereby acknowledged, shall be deemed to have, and by operation of

 law and ofthe Approval Order and the Judgment shall have, fully, finally, and forever released,

 relinquished, settled, and discharged Plaintiffs, Plaintiffs' Counsel, and each and all other

 Releasors from any and all Released Releasees' Claims, except to the extent otherwise specified

 in this Settlement Agreement.


                                                  38
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 44 of 174 PageID #: 174



         C.     Pursuant to the Approval Order and the Judgment, without further action by

 anyone, and subject to Section IX.D below, on and after the Final Settlement Date, Plaintiffs'

 Counsel and any other counsel representing Plaintiffs (including, without limitation, Labaton

 Sucharow LLP)or any other Class Member in connection with or related in any manner to the

 Action, on behalf of themselves, their heirs, executors, administrators, predecessors, successors,

 Affiliates, and assigns, and any person or entity claiming by, through, or on behalf of any of

 them,for good and sufficient consideration, the receipt and adequacy of which are hereby

 acknowledged, shall be deemed to have, and by operation oflaw and of the Approval Order and

 the Judgment shall have, fully, finally, and forever released, relinquished, settled, and discharged

 Defendants, Defendants' Counsel, and all other Releasees from any and all Claims that relate in

 any way to any or all acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or

 oral or written statements or representations in connection with, or directly or indirectly relating

 to,(i) the prosecution, defense, or settlement of the Action,(ii) this Settlement Agreement or its

 implementation,(iii) the Settlement terms and their implementation, except to the extent

 otherwise specified in this Settlement Agreement, and (iv) except as provided in Section X

 below, any claims for attorneys' fees and expenses in connection with the foregoing matters.

 Plaintiffs' Counsel represent that they have authority to release Defendants, Defendants'

 Counsel, and all other Releasees from any and all Claims for attorneys' fees or expenses that

 Labaton Sucharow LLP might claim to have.

        D.      Notwithstanding Sections IX.A, IX.B, and IX.0 above, nothing in the Approval

 Order or the Judgment shall bar any action or Claim by the Settling Parties or their counsel to

 enforce the terms of this Settlement Agreement, the Approval Order, or the Judgment.




                                                  39
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 45 of 174 PageID #: 175



        E.      The releases and waivers contained in this Section were specifically considered

 and bargained for and are essential elements of this Settlement Agreement.

 X.     ATTORNEYS'FEES AND EXPENSES

        A.      Plaintiffs' Counsel will submit to the Court for approval an Attorneys' Fees and

 Expenses Application in which Plaintiffs' Counsel will apply for a collective award of attorneys'

 fees to Plaintiffs' Counsel and for payment or reimbursement of litigation expenses incurred in

 the Action by Plaintiffs' Counsel and any other attorneys who represent or represented Plaintiffs

(including Labaton Sucharow LLP, if applicable). Plaintiffs' Counsel's Attorneys' Fees and

 Expenses Application is not the subject of any agreement between Defendants and Plaintiffs

 other than as set forth in this Settlement Agreement.

        B.      The Attorneys' Fees and Expenses Award will be paid to Plaintiffs' Counsel as

 set out in this Section X.

        C.      Any Attorneys' Fees and Expenses Award shall be paid to Plaintiffs' Counsel

 solely from the Settlement Amount immediately after the Court enters both the Approval Order

 and the Attorneys' Fees and Expenses Award, notwithstanding the existence of any timely filed

 objections thereto, or potential for appeal therefrom, or collateral attack on the Settlement or any

 part thereof;provided, however, that Plaintiffs' Counsel must return the amount of the

 Attorneys' Fees and Expense Award (or the relevant portion of that award if the award is later

 reduced) plus interest to the Escrow Account(or to VLF or its insurers if the Escrow Account

 has been closed) within twenty (20) Business Days if(i) the Settlement is terminated after

 payment has been made or (ii) as a result of any objection, appeal, or further proceedings on

 remand, or successful collateral attack, the Attorneys' Fees and Expenses Award is reduced or

 reversed and such order reducing or reversing the award has become Final. No Releasee shall


                                                  40
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 46 of 174 PageID #: 176



 have any responsibility for, or any liability relating to, any obligation of Plaintiffs' Counsel to

 make appropriate refunds or repayments to the Escrow Account or to VLF or its insurers

(including any interest that must be refunded).

         D.     An Attorneys' Fees and Expenses Award is not a necessary term of this

 Settlement Agreement and is not a condition of the Settlement embodied herein. Neither

 Plaintiffs nor Plaintiffs' Counsel may cancel or terminate the Settlement based on this Court's or

 any appellate court's ruling as to the Attorneys' Fees and Expenses Application. Any objection

 to or appeal from the Attorneys' Fees and Expenses Award shall not affect the finality of the

 Approval Order or the Judgment if the Court has entered them.

        E.      No Releasee shall be liable or obligated to pay any fees, expenses, costs, or

 disbursements to, or incur any expense on behalf of, any person or entity (including Plaintiffs

 and Plaintiffs' Counsel), directly or indirectly, in connection with the Action or this Settlement

 Agreement, except as expressly provided for in this Settlement Agreement. No Releasee shall

 have any responsibility or liability for any payment of any such fees or expenses beyond the

 obligation to cause the Settlement Amount to be paid.

        F.      Plaintiffs' Counsel shall allocate in good faith the attorneys' fees portion of the

 Attorneys' Fees and Expenses Award among Plaintiffs' Counsel and any other attorneys who

 represent or represented Plaintiffs (including Labaton Sucharow LLP,if applicable). No

 Releasee shall have any responsibility whatsoever in connection with, or any liability for, the

 allocation of the Attorneys' Fees and Expenses Award between or among Plaintiffs' Counsel or

 any other counsel asserting a right to receive a portion of the Attorneys' Fees and Expenses

 Award or any other amount of attorneys' fees or expenses in connection with this Action.




                                                  41
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 47 of 174 PageID #: 177



 XI.    INCENTIVE AWARD

        A.      Plaintiffs may submit an Incentive Award Application to the Court for approval,

 which Application will take into account the time spent by Plaintiffs in pursuing the Action

(including, without limitation, the time spent consulting with Plaintiffs' Counsel and reviewing

 documents, filings, and factual materials in the Action) as well as any other expenses incurred by

Plaintiffs directly related to their representation of the Class.

        B.      Any Incentive Award made to Plaintiffs shall be paid to them from the Settlement

 Amount immediately after the Court enters both the Approval Order and the Incentive Award,

 notwithstanding the existence of any timely filed objections thereto, or potential for appeal

 therefrom, or collateral attack on the Settlement or any part thereof;provided, however, that

 Plaintiffs must return the amount of the Incentive Award (or the relevant portion of that award if

 the award is later reduced) plus interest to the Escrow Account(or to VLF or its insurers if the

 Escrow Account has been closed) within twenty(20) Business Days if(i) the Settlement is

 terminated after payment has been made or (ii) as a result of any appeal or further proceedings

 on remand, or successful collateral attack, the Incentive Award is reduced or reversed, and such

 order reducing or reversing the award has become Final.

        C.      An Incentive Award is not a necessary term of this Settlement Agreement and is

 not a condition of the Settlement embodied herein. Neither Plaintiffs nor Plaintiffs' Counsel

 may cancel or terminate the Settlement based on this Court's or any appellate court's ruling as to

 the Incentive Award Application. Any objection to or appeal from the Incentive Award shall not

 affect the finality of the Approval Order or the Judgment if the Court has entered them.




                                                   42
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 48 of 174 PageID #: 178



 XII.    PRELIMINARY APPROVAL

         A.      Within twenty(20) days following the conclusion of Due-Diligence Discovery,

 Plaintiffs shall move the Court for entry of the Preliminary Approval Order, which motion shall

 be unopposed by Defendants.

         B.     Plaintiffs and Defendants stipulate to the certification of the Class and to the

 certification of Plaintiffs as representatives of the Class and Rosca Scarlato as class counsel for

 the Class solely for the purpose of this proposed Settlement. If the proposed Settlement is not

 approved by the Court or is not consummated for any other reason, Defendants reserve the right

 to oppose certification of the Class, or any other class, and to oppose certification or appointment

 of Plaintiffs as representatives of, and Rosca Scarlato as counsel for, the Class, or any other

 class, in the Action.

 XIII. FINAL APPROVAL AND FINAL JUDGMENT

        A.      Plaintiffs and Defendants shall jointly request that the Court enter the Approval

 Order and the Judgment upon the Court's approval of the Settlement contemplated by this

 Settlement Agreement.

 XIV. MODIFICATION OR TERMINATION OF THIS SETTLEMENT AGREEMENT

        A.      The terms and provisions of this Settlement Agreement may be amended or

 expanded by written agreement of the Settling Parties; provided, however, that, after entry of the

 Approval Order and the Judgment, Rosca Scarlato, on behalf of Plaintiffs and the Class, and

 Defendants' Counsel, on behalf of Defendants, may by written agreement effect any

 amendments, modifications, or expansions of this Settlement Agreement and its implementing

 documents (including all exhibits to this Settlement Agreement) without notice to or approval by

 the Court only if such changes are not materially inconsistent with the Approval Order and


                                                  43
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 49 of 174 PageID #: 179



 Judgment and do not materially limit the rights of Class Members under this Settlement

 Agreement.

        B.       Mutual Termination Rights

                 1.      Subject to Section XIV.B.2 below, this Settlement Agreement will

 terminate at the sole option and discretion of Defendants and/or Plaintiffs(on behalf of

 themselves and the Class) if(i) the Court, or any appellate court(s), rejects, modifies, or denies

 approval of any portion of this Settlement Agreement or the proposed Settlement that the

 terminating Settling Party reasonably and in good faith determines is material, including the

 temis of relief, the findings of the Court, the provisions relating to notice, the definition of the

 Class, the Complete Bar Order, the pemianent injunction, and/or the teiiiis of the Release, or

(ii) the Court, or any appellate court(s), does not enter or completely affirm, or alters or expands,

 any portion of the Preliminary Approval Order, the Approval Order, or the Judgment that the

 terminating Settling Party reasonably and in good faith believes is material. If the Settling

 Parties disagree about whether a change is material, they will submit the dispute to the Mediator

 for a final, binding decision. In any of the above circumstances, the terminating Settling Party

 must exercise the option to withdraw from and terminate this Settlement Agreement, as provided

 in this Section, no later than thirty (30)days after receiving actual notice of the event prompting

 the termination.

                 2.      Notwithstanding the preceding Section XIV.B.1, neither Plaintiffs nor

 Plaintiffs' Counsel may terminate this Settlement Agreement on the basis of the Court's order(s)

 addressing the Attorneys' Fees and Expenses Application, the Incentive Award Application,

 and/or the Plan of Allocation, or on the basis of any modification of the Attorneys' Fees and

 Expenses Award, the Incentive Award, and/or the Plan of Allocation by any appellate court(s).


                                                   44
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 50 of 174 PageID #: 180



             C.   Plaintiffs' Termination Rights

                  1.    In addition to the other termination rights described in Section XIV.B,

 Plaintiffs have the termination rights specified in Section II.F (concerning Due-Diligence

 Discovery) and Section III.A (concerning nonpayment ofthe Settlement Amount)above.

         D.       Defendants' Termination Rights

                  1.    In addition to having the right to terminate this Settlement Agreement as

 provided in Section XIV.B above, and without limiting any other rights under this Settlement

 Agreement, Defendants may unilaterally withdraw from and terminate this Settlement

 Agreement if timely, valid requests for exclusion are received from potential Class Members in

 an amount that meets or exceeds the Termination Threshold as set out in the Supplemental

 Agreement. Defendants must exercise any such right by no later than five (5)calendar days

 before the Fairness Hearing.

                  2.    The Claims Administrator shall promptly notify Rosca Scarlato and

 Defendants' Counsel of all requests for exclusion submitted by potential Class Members and

 shall also provide Rosca Scarlato and Defendants' Counsel with copies of any such requests for

 exclusion and the supporting information and documentation submitted by such persons or

 entities.

                  3.    Rosca Scarlato shall have the right to communicate with any persons or

 entities that submit requests for exclusion. If any of those persons or entities withdraws his, her,

 or its request for exclusion such that the Termination Threshold is no longer met, Rosca Scarlato

 will immediately inform Defendants' Counsel, and the election termination (if made) will

 automatically become null and void and of no further effect.




                                                  45
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 51 of 174 PageID #: 181




        E.      Effect of Termination

                1.      If this Settlement Agreement is terminated in accordance with any

 provision of this Section XIV,the Settlement Agreement shall be withdrawn from, terminated,

 and deemed to be null and void, and the provisions of Section XV of this Settlement Agreement

 shall apply.

 XV.    GENERAL MATTERS AND RESERVATIONS

        A.      If an option to withdraw from and terminate this Settlement Agreement arises

 under this Settlement Agreement,(i) neither Defendants nor Plaintiffs will be required for any

 reason or under any circumstance to exercise that option, and (ii) if any Settling Party exercises

 the option to withdraw from or terminate the Settlement, the terminating Settling Party shall do

 so in good faith.

        B.      If(i) this Settlement Agreement does not become Final or is otherwise terminated

 pursuant to its terms,(ii) the Releases set out in Section IX do not become effective, or (iii) the

 Settlement does not become Final by operation of law, then:

                1.      This Settlement Agreement shall be null and void and shall have no force

 or effect, and no party to this Settlement Agreement shall be bound by any of its terms, except

 for the terms set out in this Section XV.B;

                2.      This Settlement Agreement, all of its provisions, and all negotiations,

 statements, and proceedings relating to it (including the agreement in principle reached on

 January 5, 2022) shall be without prejudice to the rights of Defendants, any other Releasee,

 Plaintiffs, or any other Class Member, all of whom shall be restored to their respective positions

 existing immediately before the execution of this Settlement Agreement, except with respect to




                                                  46
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 52 of 174 PageID #: 182



 the payment of such Tax Expenses and Notice and Administrative Expenses that have been

 actually expended or incurred as described in Sections III, IV, and V above;

                 3.      Releasees expressly and affirmatively reserve all defenses, motions, and

 arguments as to all Claims that have been or might later be asserted in the Action, including any

 argument that the Action may not be litigated as a class action;

                 4.     Plaintiffs and all other Class Members expressly and affirmatively reserve

 all motions as to, and arguments in support of, all Claims that have been or might later be

 asserted in the Action, including any argument concerning class certification;

                5.      Neither this Settlement Agreement nor the fact of its having been made

 shall be admissible or entered into evidence for any purpose whatsoever, with the exception of

 enforcement of this Section XV.B;

                6.      The terms and provisions ofthe Confidentiality Agreement as set out in

 Exhibit H shall continue in full force and effect, and the use of information obtained in Due-

 Diligence Discovery shall continue to be governed by such Confidentiality Agreement;

                7.      All monies in the Escrow Account shall be returned to VLF or its insurers

 as set out in Section III above;

                8.      Plaintiffs' Counsel and Plaintiffs must return any payments of the

 Attorneys' Fees and Expenses Award and the Incentive Award in accordance with the terms of

Sections X.0 and XI.B above; and

                9.      Except as specifically provided herein, nothing in this Settlement

Agreement shall create any obligation on the part of any Settling Party to pay any other Settling

Party's fees or expenses.




                                                 47
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 53 of 174 PageID #: 183



        C.      All of the exhibits attached to the Settlement Agreement are incorporated by

 reference as though fully set forth herein.

        D.      The Settling Parties intend that the Settlement Agreement shall be a final and

 complete resolution of all disputes that were, could have been, or could be asserted as to the

 Released Class Claims and the Released Releasees' Claims. Accordingly, the Settling Parties

 agree not to assert in any forum that any conduct of Plaintiffs and/or Defendants, or any ofthem,

 in connection with this Action, the Settlement of this Action, or any of the Released Class

 Claims or Released Releasees' Claims was in bad faith or was unreasonable. No Settling Party

 shall assert any Claim that any other Settling Party violated Rule 11 of the Federal Rules of Civil

 Procedure relating to the prosecution, defense, or settlement of the Action, and the proposed

 Approval Order shall contain a statement reflecting the Settling Parties' compliance with

 Rule 11.

        E.      The Settling Parties agree that the amount paid and the other terms of the

 Settlement Agreement were negotiated at arm's length and in good faith by the Settling Parties

 and reflect an agreement that was reached voluntarily, after consultation with experienced legal

 counsel, and under the auspices of the experienced Mediator.

        F.      Each Settling Party's counsel signing this Settlement Agreement represents that

 he or she is authorized to enter into this Settlement Agreement on behalf of his or her clients.

 Rosca Scarlato represents that it is authorized to enter into this Settlement Agreement on behalf

 of Goldman Scarlato & Penny.

        G.      Plaintiffs, through their duly authorized representatives, represent that they

(i) have agreed to serve as representatives of the Class proposed to be certified herein,(ii) have

 consulted with Plaintiffs' Counsel about the Action, this Settlement Agreement, and the


                                                 48
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 54 of 174 PageID #: 184



 obligations of a representative of the Class,(iii) support the Settlement, and (iv) will remain in

 and not request exclusion from the Class and will serve as representatives of the Class until the

 terms of this Settlement Agreement are effectuated, this Settlement Agreement is terminated in

 accordance with its terms, or the Court at any time determines that Plaintiffs cannot represent the

 Class.

          H.     This Settlement Agreement and the Supplemental Agreement set forth the entire

 agreement among the Settling Parties as to their subject matter and may not be altered or

 modified except by a written instrument executed by all Settling Parties' counsel. Plaintiffs and

 Defendants expressly acknowledge that there are no agreements, arrangements, or

 understandings among or between them concerning the subject matter of this Settlement

 Agreement other than those expressed or referred to in this Settlement Agreement and the

 Supplemental Agreement, and no Settling Party has relied upon any representation or warranty

 not set forth expressly herein or in the Supplemental Agreement;providedfurther that the terms

 ofthe Settlement Agreement supersede the agreement in principle reached on January 5, 2022.

          I.    This Settlement Agreement shall be governed by and interpreted according to the

 laws of the State of Delaware, excluding its conflict-of-laws provisions, except to the extent that

 federal law requires that federal law govern.

          J.    Any action arising under or to enforce this Settlement Agreement or the

 Supplemental Agreement shall be commenced and maintained only in the Court, which shall

 retain continuing, exclusive jurisdiction over all matters relating to the Settlement other than

 those specifically reserved for resolution by the Mediator. The Settling Parties and the Class

 Members expressly submit to the Court's jurisdiction for those purposes.




                                                  49
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 55 of 174 PageID #: 185



        K.      Whenever this Settlement Agreement requires or contemplates that a Settling

 Party shall or may give notice to the other, notice shall be provided by email and/or next-day

(excluding Saturday, Sunday, and Legal Holidays) express-delivery service as follows and shall

 be deemed effective upon such email transmission or delivery to the email address or street

 address, as the case may be, below:

                1.     If to Defendants, then to:

                               Jonathan E. Richman
                               Joshua M.Newville
                               Proskauer Rose LLP
                               Eleven Times Square
                               New York, New York 10036-8299
                               Telephone: (212)969-3000
                               jerichman@proskauer.com
                               jnewville@proskauer.com

                2.     If to Plaintiffs, then to:

                               Alan L. Rosca
                               Rosca Scarlato, LLC
                               23250 Chagrin Blvd., Suite 100
                               Beachwood, Ohio 44122
                               Telephone: (216)946-7070
                               arosca rscounsel.law

                               Paul Scarlato
                               Rosca Scarlato, LLC
                               161 Washington Street, Suite 1025
                               Conshohocken, Pennsylvania 19428
                               Telephone: (216)946-7070
                               pscarlato@rscounsel.law

        L.      All time periods set forth herein shall be computed in calendar days unless

 otherwise expressly provided. In computing any period of time prescribed or allowed by this

 Settlement Agreement or by order of the Court, the day of the act, event, or default from which

 the designated period of time begins to run shall not be included. The last day of the period so

 computed shall be included, unless it is a Saturday, a Sunday, or a Legal Holiday, or, when the

                                                    50
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 56 of 174 PageID #: 186



 act to be done is the filing of a paper in Court, a day on which weather conditions or other

 conditions have made the office of the Clerk of Court inaccessible, in which event the period

 shall run until the end of the next day that is not one of the aforementioned days.

         M.      The Settling Parties reserve the right, subject to the Court's approval, to make any

 reasonable extensions of time that might be necessary to carry out any of the provisions of this

 Settlement Agreement.

         N.     All Setting Parties agree that this Settlement Agreement and the Supplemental

 Agreement were drafted by counsel for the Settling Parties at arm's length and that no parol or

 other evidence may be offered to explain, construe, contradict, or clarify their terms, the intent of

 the Settling Parties or their counsel, or the circumstances under which the Settlement Agreement

 and the Supplemental Agreement were made or executed. Nor shall there be any presumption

 for or against any Settling Party that drafted all or any portion of this Settlement Agreement or

 the Supplemental Agreement.

        0.      This Settlement Agreement, the offer of this Settlement Agreement, and

 compliance with this Settlement Agreement shall not constitute or be construed as an admission

 by any of the Releasees of any wrongdoing or liability, which Releasees expressly deny. This

 Settlement Agreement is to be construed solely as a reflection of the Settling Parties' desire to

 facilitate a resolution of the Claims in the Complaint and of the Released Class Claims. In no

 event shall this Settlement Agreement, any of its provisions, or any negotiations, statements, or

 court proceedings relating to its provisions in any way be construed as, offered as, received as,

 used as, or deemed to be evidence of any kind in the Action, any other action, or any other

judicial, administrative, regulatory, or other proceeding, except a proceeding to enforce this

 Settlement Agreement. Without limiting the foregoing, neither this Settlement Agreement nor


                                                 51
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 57 of 174 PageID #: 187



 any related negotiations, statements, or court proceedings shall be construed as, offered as,

 received as, used as, or deemed to be evidence or an admission or concession of any liability or

 wrongdoing whatsoever on the part of any person or entity, including Defendants, or as a waiver

 by Defendants of any applicable defense.

        P.      No opinion or advice concerning the tax consequences of the proposed Settlement

 to individual Class Members or to any of the Settling Parties is being given or will be given by

 Defendants' Counsel and/or Plaintiffs' Counsel; nor is any representation or warranty in this

 regard made by virtue of this Settlement Agreement. Class Members will be directed to consult

 their own tax advisors regarding the tax consequences of the proposed Settlement and any tax

 reporting obligations they might have with respect to it. Each Class Member's tax obligations,

 and the determination thereof, are the sole responsibility of the Class Member, and it is

 understood that the tax consequences may vary depending on the particular circumstances of

 each individual Class Member.

        Q.      The Settling Parties, their successors and assigns, and their attorneys undertake to

 implement the terms of this Settlement Agreement in good faith and to use good faith in

 resolving any disputes that might arise in the implementation of the terms of this Settlement

 Agreement.

         R.     The Settling Parties, their successors and assigns, and their attorneys agree to

 cooperate fully with one another in seeking Court approval of this Settlement Agreement and to

 use all reasonable efforts to effect the prompt consummation of this Settlement Agreement and

 the proposed Settlement.




                                                  52
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 58 of 174 PageID #: 188



        S.      This Settlement Agreement may be signed in counterparts, each of which shall

 constitute a duplicate original. Execution by email in electronic format(including .pdfformat)

 shall be fully and legally binding on a Settling Party.

        T.      All Releasees who are not Settling Parties are intended third-party beneficiaries

 who are entitled as of the Final Settlement Date to enforce the terms of the Releases set forth in

 this Settlement Agreement.

 Agreed to as of this 8th day of July, 2022.




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 Counselfor Plaintiffs and the Proposed
 Settlement Class




                                                 53
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 59 of 174 PageID #: 189




                                     EXHIBITS

 A      Preliminary Approval Order

 B      Approval Order

 C      Judgment

 D      Postcard Notice

 E      Long-Form Notice

 F      Summary Notice

 G      Claim Form

 H      Confidentiality Order




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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 60 of 174 PageID #: 190




                         EXHIBIT A
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 61 of 174 PageID #: 191

                                                                                      EXHIBIT A


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 TIMOTHY O’HERN, et al., Individually and on
 Behalf of All Others Similarly Situated,                 No. 1:21-cv-00402-SRF

                                       Plaintiffs,

        v.

 VIDA LONGEVITY FUND, LP, et al.,


                                       Defendants.



                          [PROPOSED] ORDER PRELIMINARILY
                          APPROVING PROPOSED SETTLEMENT

        WHEREAS Plaintiffs Timothy O’Hern, Semyon Rodkin, and Dominic Cardinale, on

 behalf of themselves and the Class (as defined below), and Defendants Vida Longevity Fund,

 LP, Vida Management I, LLC, Vida Capital Management, LLC, Vida Capital, Inc., Vida Capital,

 LLC, and Jeffrey R. Serra have entered into a Settlement Agreement that, if approved by the

 Court, would settle all Claims1 that have been, could have been, or could be asserted in this

 Action; and

        WHEREAS Plaintiffs filed a motion pursuant to Fed. R. Civ. P. 23(e)(1) asking the Court

 to approve the proposed Settlement preliminarily, direct that notice of the proposed Settlement

 be provided to Class Members, and schedule a hearing for final approval of the proposed

 Settlement; and

        WHEREAS Plaintiffs attached to the motion the Settlement Agreement, including its

 annexed exhibits; and



 1
        To the extent capitalized terms are not defined in this Order, this Court adopts and
        incorporates the definitions set out in the Settlement Agreement.
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 62 of 174 PageID #: 192




        WHEREAS the Court has read and considered the Settlement Agreement and the Settling

 Parties’ submissions; and

        WHEREAS the proposed Settlement is subject to the Court’s final approval at the

 Fairness Hearing to be held as discussed below;

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as

 follows:

        1.      Preliminary Findings on Proposed Settlement. The Court hereby finds,

 pursuant to Rule 23(e)(1)(B)(i) of the Federal Rules of Civil Procedure, that it will likely be able

 to finally approve the proposed Settlement evidenced by the Settlement Agreement as fair,

 reasonable, and adequate to the Class under Rule 23(e)(2), and thus the proposed Settlement is

 sufficiently fair, reasonable, and adequate to warrant sending notice of it to the Class and

 scheduling a Fairness Hearing for further review of the proposed Settlement. In making these

 findings for preliminary approval, the Court has considered a number of factors, including those

 specified in Federal Rule of Civil Procedure 23(e)(2) and in In re National Football League

 Players Concussion Injury Litigation, 821 F.3d 410, 437 (3d Cir. 2016), including the adequacy

 of Plaintiffs’ and their counsel’s representation of the Class, the arm’s-length nature of the

 negotiations of the proposed Settlement, the adequacy of the relief to be provided to the Class,

 the equitable treatment of Class Members relative to each other, the nature of the Settling

 Parties’ respective claims and defenses, the information available to the Settling Parties, and the

 allocation of the proposed settlement relief. Based on those considerations, the Court

 preliminarily concludes that (i) the proposed Settlement appears to have resulted from serious,

 informed, non-collusive negotiations conducted at arm’s length by the Settling Parties and their

 counsel, under the auspices of an experienced mediator, and appears likely to be approved, and


                                                   2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 63 of 174 PageID #: 193




 (ii) the terms and conditions of the Settlement Agreement do not have any obvious deficiencies

 and do not improperly grant preferential treatment to any individual Class Members.

        2.      Proposed Certification of Class Solely for Settlement Purposes. Solely for

 purposes of the proposed Settlement, the Settling Parties have stipulated to the certification of

 the following Class pursuant to Fed. R. Civ. P. 23(b)(3): all persons and entities who, during the

 period from January 1, 2017 through March 19, 2021, inclusive, purchased or otherwise acquired

 VLF Interests, either directly, or indirectly through Life Assets Trust S.A. Compartments VII

 and/or VIII, pursuant to an offering of those partnership interests. Excluded from the Class are:

                a.      such persons or entities who submit valid and timely requests for

 exclusion from the Class;

                b.      such persons or entities who, while represented by counsel, settled an

 actual or threatened lawsuit or other proceeding against one or more of the Releasees arising out

 of or related to the Released Class Claims; and

                c.      Defendants; the agents or employees of Defendants; any person, firm,

 trust, corporation, or other entity related to or affiliated with any of the Defendants during the

 Class Period (provided, however, that the term “affiliate” or “affiliated with” shall not include

 Life Assets Trust S.A. Compartments VII and VIII); and any judge or judicial officer who may

 hear any aspect of this case, and his or her law clerks.

        3.      Class Findings. The Court finds, pursuant to Rule 23(e)(1)(B)(ii) of the Federal

 Rules of Civil Procedure, that it will likely be able to certify the Class solely for purposes of the

 proposed Settlement. Specifically, the Court finds that, for settlement purposes, each element

 required for certification of the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure

 and any other applicable laws has been met or will likely be met:


                                                   3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 64 of 174 PageID #: 194




                 a.      The Class appears to be ascertainable from business records and/or from

 objective criteria;

                 b.      The Class appears to be so numerous that joinder of all members would be

 impractical;

                 c.      Plaintiffs have alleged one or more questions of fact and/or law that

 appear to be common to all Class Members;

                 d.      Based on Plaintiffs’ allegations that Defendants engaged in uniform

 conduct affecting all Class Members, Plaintiffs’ claims appear to be typical of those of the other

 members of the Class;

                 e.      Plaintiffs appear to be capable of fairly and adequately protecting the

 interests of the members of the Class, in that (i) Plaintiffs’ interests appear to be consistent with

 those of the other Class Members, (ii) Rosca Scarlato, LLC (“Class Counsel”) appears to be able

 and qualified to represent the Class, and (iii) Plaintiffs and Class Counsel appear to have fairly

 and adequately represented the Class Members in prosecuting this Action and in negotiating and

 entering into the proposed Settlement; and

                 f.      For settlement purposes, questions of law and/or fact common to members

 of the Class appear to predominate over any such questions affecting only individual Class

 Members, and a class action appears to be superior to all other available methods for the fair and

 efficient resolution of the Action. In making these preliminary findings for settlement purposes,

 the Court has considered, among other things, (i) the questions of law and fact pled in the

 Complaint, (ii) the Class Members’ interest in the fairness, reasonableness, and adequacy of the

 proposed Settlement, (iii) the Class Members’ interests in individually controlling the

 prosecution of separate actions, (iv) the impracticability or inefficiency of prosecuting separate


                                                   4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 65 of 174 PageID #: 195




 actions, (v) the extent and nature of any litigation concerning the claims already commenced, and

 (vi) the desirability of concentrating the litigation of the claims in a particular forum.

        4.      Preliminary Certification of Class for Settlement Purposes. Based on the

 above findings, the Court preliminarily certifies the Class solely for purposes of the proposed

 Settlement pursuant to Fed. R. Civ. P. 23(b)(3). This preliminary certification is made for the

 sole purpose of the potential consummation of the proposed settlement of the Action in

 accordance with the Settlement Agreement. If the Court does not grant final approval of the

 proposed Settlement, or if the Court’s approval of the Settlement does not become Final for any

 reason whatsoever or is modified in any material respect that is unacceptable to a Settling Party,

 this preliminary class certification shall be deemed void ab initio, shall be of no force or effect

 whatsoever, and shall not be referred to or used for any purpose whatsoever, including in any

 later attempt by or on behalf of Plaintiffs or anyone else to seek class certification in this or any

 other matter arising out of the facts and circumstances that gave rise to the Action.

        5.      Preliminary Certification of Plaintiffs as Class Representatives and

 Appointment of Class Counsel for Settlement Purposes. The Court also finds, pursuant to

 Rule 23(e)(1)(B)(ii) of the Federal Rules of Civil Procedure, that, solely for purposes of the

 proposed Settlement, it will likely be able to certify Timothy O’Hern, Semyon Rodkin, and

 Dominic Cardinale as the class representatives for the Class and to appoint Class Counsel as

 counsel for the Class pursuant to Fed. R. Civ. P. 23(g). The Court therefore preliminarily

 appoints Timothy O’Hern, Semyon Rodkin, and Dominic Cardinale as the class representatives

 for the Class and Class Counsel as counsel for the Class

        6.      Class Counsel has the authority to enter into the proposed Settlement on behalf of

 the Class and is authorized to act on behalf of the Class Members as to all acts or consents that


                                                    5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 66 of 174 PageID #: 196




 are required by or may be given pursuant to the Settlement Agreement or such other acts as are

 reasonably necessary to consummate the Settlement.

        7.      Fairness Hearing. Pursuant to Fed. R. Civ. P. 23(e), the Court will hold a

 Fairness Hearing on ____________, 2022, at ___ _.m. ET (a date no fewer than 110 days

 following the Preliminary Approval Date), before the Honorable Sherry R. Fallon, United States

 Magistrate Judge for the District of Delaware, at the J. Caleb Boggs Federal Building, 844 North

 King Street, Wilmington, Delaware 19801-3555. The Court may approve the proposed

 Settlement at or after the Fairness Hearing with such modifications as may be consented to by

 the Settling Parties and without further notice to the Class.

        8.      At the Fairness Hearing, the Court will consider, among other things:

                a.      whether the Court should grant final certification of the Action as a class

 action for settlement purposes and grant final appointment of Plaintiffs as Class representatives

 and Class Counsel as counsel for the Class;

                b.      whether the Court should approve the proposed Settlement as fair,

 reasonable, and adequate;

                c.      whether the Court should approve the proposed Plan of Allocation as fair

 and reasonable;

                d.      whether an Approval Order and a Judgment, substantially in the forms

 attached to the Stipulation of Settlement as Exhibits B and C, respectively, should be entered

 dismissing the Action on the merits and with prejudice, and whether the Releases in the

 Settlement Agreement should be provided to the Releasees and Releasors;




                                                   6
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 67 of 174 PageID #: 197




                e.     whether the Court should enter a permanent injunction and bar order as

 requested in the Settlement Agreement in the forms set out in the Approval Order, which is

 attached as Exhibit B to the Stipulation of Settlement;

                f.     whether the Court should approve Plaintiffs’ Counsel’s application for an

 Attorneys’ Fees and Expenses Award;

                g.     whether the Court should approve Plaintiffs’ application for an Incentive

 Award; and

                h.     any other matters relating to the approval and implementation of the

 Settlement Agreement that the Court may deem appropriate.

        9.      Retention of Claims Administrator. The Court approves Plaintiffs’ selection of

 Strategic Claims Services to serve as Claims Administrator. The Claims Administrator shall

 perform various tasks as directed by Class Counsel, including: (i) printing the Postcard Notice,

 Long-Form Notice, and Claim Form and mailing them to potential Class Members, (ii) arranging

 for publication of the Summary Notice, (iii) posting the Postcard Notice, Long-Form Notice,

 Claim Form, Summary Notice, and other documents relevant to the Settlement and the Action on

 a website for the Settlement, (iv) answering written inquiries from potential Class Members

 and/or forwarding such inquiries to Class Counsel, (v) providing additional copies of the

 Postcard Notice, Long-Form Notice, and Claim Form, upon request, to Nominees or potential

 Class Members, (vi) operating a toll-free telephone number with access to operators to answer

 inquiries from potential Class Members and/or to forward such inquiries to Class Counsel, and

 training staff members and operators about the proposed Settlement and the Plan of Allocation,

 (vii) receiving and maintaining any requests for exclusion from the Settlement from potential

 Class Members, (viii) receiving and processing Claim Forms from Class Members, (ix) mailing


                                                  7
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 68 of 174 PageID #: 198




 or causing to be mailed to Authorized Claimants their distributions under the Plan of Allocation,

 and (x) otherwise administering and implementing the Settlement Agreement. The costs

 incurred by or attributed to the Claims Administrator shall be paid out of the Settlement Amount

 in the Escrow Account, subject to the terms of the Settlement Agreement.

        10.     Notice to Class Members. The Court hereby approves, as to form and content,

 the Postcard Notice, Long-Form Notice, Claim Form, and Summary Notice annexed to the

 Stipulation of Settlement as Exhibits D, E, G, and F, respectively. The Court finds that the

 Postcard Notice, Long-Form Notice, Claim Form, and Summary Notice will sufficiently inform

 potential Class Members of all material elements of the proposed Settlement, of their right to be

 excluded from the Class, and of each Class Member’s right and opportunity to object to the

 proposed Settlement. The Court further finds that the mailing and distribution of the Postcard

 Notice, Long-Form Notice, and Claim Form and the publication of the Summary Notice

 substantially in the manner and form set forth in this Order will meet the requirements of due

 process, Fed. R. Civ. P. 23, and any other applicable law, constitute the best notice practicable

 under the circumstances, and constitute due and sufficient notice to all persons entitled to such

 notice. The Court expressly concludes that use of the Postcard Notice satisfies the requirements

 of due process, Fed. R. Civ. P. 23, and any other applicable law because, in the particular

 circumstances of this proposed Settlement, the cost of mailing a longer notice (such as the Long-

 Form Notice) to each potential Class Member would unduly erode the $1.4 million Settlement

 Amount. The Court is aware from the Settling Parties’ submissions that numerous other courts

 have approved the use of postcard notices such as the one proposed here.




                                                  8
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 69 of 174 PageID #: 199




        11.     Class Counsel is authorized to pay from the Settlement Amount the Notice and

 Administrative Expenses incurred before the Final Settlement Date, subject to the terms of the

 Settlement Agreement.

        12.     VLF shall make reasonable efforts to provide or cause its administrator to provide

 to the Claims Administrator, by no later than five (5) Business Days following the entry of this

 Order, lists of all persons and entities that purchased VLF Interests during the Class Period, so

 that the Claims Administrator can provide notice to such potential Class Members. To the extent

 practicable, the lists of potential Class Members shall be in electronic form (such as Excel) and

 shall contain the names and addresses (and email addresses, if available) of all such persons and

 entities who can be identified through reasonable efforts from VLF’s and/or its administrator’s

 records.

        13.     By no later than the Notice Date, which date shall be sixty (60) calendar days

 before the deadline for objecting to or opting out of the proposed Settlement as set forth in this

 Order, the Claims Administrator shall mail or cause to be mailed the Postcard Notice,

 substantially in the form annexed to the Stipulation of Settlement as Exhibit D, by first-class

 mail, postage prepaid, or by email, to all potential Class Members at the addresses set forth in the

 records that VLF provided or caused to be provided or at the last-known address of each such

 person or entity, or who are identified through further reasonable efforts.

        14.     By no later than ten (10) calendar days after the Notice Date, the Claims

 Administrator shall cause the Summary Notice (substantially in the form annexed to the

 Stipulation of Settlement as Exhibit F) to be published one time through a national press service

 to be agreed upon by the Settling Parties.




                                                  9
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 70 of 174 PageID #: 200




        15.     The Claims Administrator shall also cause copies of the Long-Form Notice and

 Claim Form (collectively, the “Notice Packet”) to be mailed as soon as practicable to potential

 Class Members who request copies of the Notice Packet.

        16.     If any Postcard Notices or Notice Packets are returned to the Claims

 Administrator with updated addresses, or if updated addresses are otherwise reasonably

 available, the Claims Administrator shall remail such Postcard Notices or Notice Packets to the

 updated addresses.

        17.     The Claims Administrator shall cause a website link (strategicclaims.net/VLF) to

 be established so that potential Class Members can find information relating to the Action and

 the proposed Settlement. The website shall contain, among other things, copies of (i) the

 Postcard Notice and the Long-Form Notice, including the Plan of Allocation, (ii) the Claim

 Form, (iii) the Summary Notice, (iv) the Settlement Agreement (including the exhibits),

 (v) motions for approval of the proposed Settlement, and any responsive papers, (vi) Plaintiffs’

 Counsel’s motion for an Attorneys’ Fees and Expenses Award, and any responsive papers,

 (vii) Plaintiffs’ motion for an Incentive Award, and any responsive papers, (viii) the Complaint,

 (ix) this Order and any subsequent Orders concerning the proposed Settlement and the Fairness

 Hearing, and (x) such other materials as Class Counsel determines should be posted.

        18.     To the extent that any Nominees purchased or otherwise acquired VLF Interests

 during the Class Period for the benefit of other persons or entities, those Nominees are directed,

 within fourteen (14) days after receipt of the Postcard Notice or the Long-Form Notice

 (whichever is earlier), to send a list of the names and addresses (and email addresses, if

 available) of such beneficial owners to the Claims Administrator, which will then send Postcard

 Notices to those beneficial owners. Upon full compliance with this Order, such Nominees may


                                                 10
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 71 of 174 PageID #: 201




 seek reimbursement of their reasonable expenses actually incurred in complying with this Order,

 up to $0.05 per name and address (and email address, if available) provided to the Claims

 Administrator, by providing the Claims Administrator with proper documentation supporting the

 reasonable expenses for which reimbursement is sought and reflecting compliance with these

 instructions, including timely mailing of the Postcard Notice. Such properly documented

 reasonable expenses incurred by Nominees in compliance with the terms of this Order shall be

 treated as Notice and Administrative Expenses and paid consistent with paragraph 11 above and

 paragraph 22 below.

        19.     CAFA Notice. As provided in the Settlement Agreement, Defendants shall serve

 the notice required under the Class Action Fairness Act, 28 U.S.C. §§ 1715 et seq. (“CAFA”), no

 later than ten (10) calendar days after the Settlement Agreement has been filed with the Court.

 VLF shall be solely responsible for the costs of the CAFA notice and administering the CAFA

 notice. No later than seven (7) calendar days before the Fairness Hearing, Defendants shall

 cause to be served on Class Counsel and filed with the Court proof, by affidavit or declaration,

 regarding compliance with 28 U.S.C. § 1715(b).

        20.     The Settling Parties and their counsel may by agreement effect any amendments

 to or modifications of the proposed Postcard Notice, Long-Form Notice, Summary Notice, Claim

 Form, and Plan of Allocation without notice to or approval by the Court if such changes are not

 materially inconsistent with this Order and do not materially limit the rights of potential Class

 Members.

        21.     At least seven (7) days before the Fairness Hearing, Class Counsel and/or the

 Claims Administrator shall serve and file with the Court proof by affidavit or declaration of the




                                                  11
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 72 of 174 PageID #: 202




 mailing of the Postcard Notice, the publication of the Summary Notice, and the posting of the

 various materials on the Claims Administrator’s website, all as required by this Order.

        22.     Notice and Administrative Costs and Taxes. Without further order of the

 Court, (i) as set out above, Notice and Administrative Expenses (other than the CAFA notice

 expenses) will be paid, consistent with the terms of the Settlement Agreement, out of the Escrow

 Account, and (ii) Class Counsel or its agents are authorized and directed to prepare any tax

 returns required to be filed on behalf of or concerning the Settlement Amount and other monies

 in the Escrow Account, to cause any Tax Expenses due and owing to be paid from the funds in

 the Escrow Account, and to otherwise perform all obligations as to Tax Expenses and any

 reporting or filings relating to them as contemplated by the Settlement Agreement.

        23.     Filing of Claims. To be entitled to participate in recovery from the Net

 Settlement Amount, each Class Member shall take the following actions and be subject to the

 following conditions:

                a.       A properly completed and executed Claim Form must be submitted to the

 Claims Administrator, at the address identified in the Claim Form, postmarked or received no

 later than the date stated in the Claim Form (which date shall be one hundred twenty (120) days

 after the date of this Order). Such deadline may be further extended by Order of the Court. Each

 Claim Form shall be deemed to have been submitted when legibly postmarked (if properly

 addressed and mailed by first-class mail), if such Claim is actually received before the filing of a

 motion for an Order of the Court approving distribution of the Net Settlement Amount. Any

 Claim Form submitted in any other manner shall be deemed to have been submitted on the date

 that the Claims Administrator actually receives it at the address designated in the Claim Form.




                                                  12
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 73 of 174 PageID #: 203




                b.      The Claim Form submitted by each Class Member must satisfy the

 following conditions: (i) it must be properly filled out, signed, and submitted in a timely manner

 in accordance with the provisions of the preceding subparagraph; (ii) it must be accompanied by

 adequate supporting documentation for the reported transactions, in the form of broker

 confirmation slips, broker account statements, an authorized statement from the broker

 containing the transactional information found in a broker confirmation slip, purchase and (if

 applicable) sale agreements, or such other documentation that the Claims Administrator or Class

 Counsel deems adequate; (iii) if the person executing the Claim Form is acting in a

 representative capacity, such person must provide with the Claim Form a certification of his, her,

 or its current authority to act on behalf of the Class Member; and (iv) the Claim Form must be

 complete, contain no material deletions or modifications of any of the matter printed in the form,

 and be signed under penalty of perjury.

                c.      Upon receipt of a timely submitted Claim Form, the Claims Administrator

 shall determine whether such claim is valid, deficient, or rejected. For each claim determined to

 be either deficient or rejected, the Claims Administrator shall send a deficiency or rejection

 letter, as appropriate, describing the basis for the determination and giving the claimant an

 opportunity to remedy any potentially curable deficiencies. Claimants who timely submit Claim

 Forms that are deficient or otherwise rejected shall be afforded a reasonable time to cure any

 deficiency that appears to be potentially curable.

                d.      All claimants shall submit to the jurisdiction of the Court for all matters

 concerning the filing of and determinations concerning their Claim Forms.

        24.     Exclusion from Class. All potential Class Members who wish to exclude

 themselves from the Class must submit timely, written requests for exclusion to the Claims


                                                  13
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 74 of 174 PageID #: 204




 Administrator at the address set out in the Postcard Notice and Long-Form Notice. The

 exclusion request must include the following information: (i) name, (ii) address, (iii) telephone

 number, (iv) e-mail address, if available, (v) a statement that the potential Class Member wishes

 to request exclusion from the Class in O’Hern v. Vida Longevity Fund, LP, No. 1:21-cv-00402-

 SRF (D. Del.), (vi) the dollars subscribed to VLF Interests held as of the beginning of the day on

 January 1, 2017, (vii) the dollars subscribed to VLF Interests purchased or otherwise acquired

 between January 1, 2017 through the end of the day on March 19, 2021, (viii) the dollar value of

 VLF Interests sold or redeemed between January 1, 2017 and _____________ (the end of the

 quarter preceding the initially scheduled date for the Fairness Hearing), (ix) the date of each such

 transaction involving each such VLF Interest, (x) account statements verifying all such

 transactions, and (xi) the signature of the person or entity requesting exclusion or of an

 authorized representative.

        25.     To be valid, any request for exclusion must be in writing, must contain all the

 information required by this Order, and must be received by the Claims Administrator no later

 than twenty-eight (28) days before the date of the Fairness Hearing as initially set by the Court in

 this Order.

        26.     If the proposed Settlement is approved, any potential Class Member who has not

 filed a timely and valid written request for exclusion from the Class (and all Releasors related to

 each such Class Member) shall be bound by the Releases in the Settlement Agreement and by all

 proceedings, orders, and judgments in the Action, whether favorable or unfavorable, even if he,

 she, or it has pending or subsequently initiates any litigation, arbitration, or other proceeding, or

 has any other Claim, against any or all of the Releasees relating to any of the Released Class

 Claims.


                                                  14
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 75 of 174 PageID #: 205




        27.     At or before the Fairness Hearing, the Settling Parties shall provide to the Court a

 list of the persons and entities, if any, who have requested exclusion from the Class, as well as

 any objections to the timeliness or validity of those exclusion requests. Persons requesting

 exclusion from the Class shall not be entitled to receive any payment in connection with the

 proposed Settlement.

        28.     Objections. Any Class Member who has not filed a request for exclusion from

 the Class and who wishes to object to the fairness, reasonableness, or adequacy of the proposed

 Settlement, including to any terms of the Settlement Agreement, to the Plan of Allocation, and/or

 to the applications for an Attorneys’ Fees and Expenses Award and/or an Incentive Award, must

 serve on Class Counsel and Defendants’ Counsel and file with the Court a statement of his, her,

 or its objection(s), as well as the specific reason(s), if any, for each such objection, including any

 legal support the Class Member wishes to bring to the Court’s attention and any evidence the

 Class Member wishes to introduce in support of such objection, and shall state whether the

 objection applies only to the objector, to a specific subset of the Class, or to the entire Class.

        29.     Each objection must include the name and docket number of this case (as set out

 at the top of this Order) and, in addition to the reason(s) for the objection, must also include the

 following information about the Class Member: (i) name, (ii) address, (iii) telephone number,

 (iv) e-mail address, if available, (v) the dollars subscribed to VLF Interests held as of the

 beginning of the day on January 1, 2017, (vi) the dollars subscribed to VLF Interests purchased

 or otherwise acquired between January 1, 2017 through the end of the day on March 19, 2021,

 (vii) the dollar value of VLF Interests sold or redeemed between January 1, 2017 and

 ___________ (the end of the quarter preceding the initially scheduled date for the Fairness




                                                   15
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 76 of 174 PageID #: 206




 Hearing), (viii) the date of each such transaction involving each such VLF Interest, and

 (ix) account statements verifying all such transactions.

        30.     All such objections must be received by the Court and by Class Counsel and

 Defendants’ Counsel by no later than twenty-eight (28) days before the date of the Fairness

 Hearing as initially set out by the Court in this Order. Objections must be (i) sent or delivered to

 the following addresses:

                a.      The Court:

                        Clerk of Court
                        United States District Court for the District of Delaware
                        J. Caleb Boggs Federal Building
                        844 North King Street
                        Wilmington, Delaware 19801-3555

                b.      Class Counsel:

                        Alan L. Rosca, Esq.
                        Rosca Scarlato, LLC
                        23250 Chagrin Blvd., Suite 100
                        Beachwood, Ohio 44122

                c.      Defendants’ Counsel:

                        Joshua M. Newville, Esq.
                        Proskauer Rose LLP
                        11 Times Square
                        New York, New York 10036-8299

 and (ii) emailed to arosca@rscounsel.law and jnewville@proskauer.com.

        31.     If a Class Member (at his, her, or its own expense) hires an attorney to represent

 him, her, or it for purposes of objecting, such attorney must serve a notice of appearance on

 Class Counsel and Defendants’ Counsel and file it with the Court (at the addresses set out above)

 so that it is received by no later than twenty-eight (28) days before the date of the Fairness

 Hearing as initially set by the Court in this Order.



                                                  16
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 77 of 174 PageID #: 207




        32.     Any Class Member who does not make an objection in the time and manner

 provided in the Postcard Notice and Long-Form Notice and this Order shall be deemed to have

 waived such objection, shall be bound by the terms of the Settlement Agreement and the

 Approval Order and Judgment, and shall be foreclosed forever from making any objection to the

 fairness, reasonableness, or adequacy of the proposed Settlement, unless otherwise allowed by

 the Court.

        33.     Potential Class Members who exclude themselves from the proposed Settlement

 and the Class are not entitled to object to the proposed Settlement.

        34.     Appearance at the Fairness Hearing. Any Class Member may appear at the

 Fairness Hearing either directly or through counsel retained at the Class Member’s expense to

 address the fairness, reasonableness, or adequacy of any aspect of the proposed Settlement.

 Class Members or their attorneys intending to appear at the Fairness Hearing must serve a notice

 of intention to appear, setting forth, among other things, the name, address, telephone number,

 and e-mail address (if available) of the Class Member (and, if applicable, of the Class Member’s

 attorney). Such notice of intention to appear must be served on Class Counsel and Defendants’

 Counsel and filed with the Court (at the addresses set out in paragraph 30 above) so that it is

 received by no later than twenty-eight (28) days before the date of the Fairness Hearing as

 initially set by the Court in this Order. Any Class Member (or attorney) who does not timely file

 and serve a notice of intention to appear in accordance with this paragraph shall not be permitted

 to appear at the Fairness Hearing, except for good cause shown. It is within the Court’s

 discretion to allow appearances at the Fairness Hearing in person, by telephone, or by

 videoconference.




                                                 17
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 78 of 174 PageID #: 208




         35.    Any Class Member who wishes to appear at the Fairness Hearing to object to the

 proposed Settlement, proposed Plan of Allocation, Attorneys’ Fees and Expenses Application,

 and/or Incentive Application must also comply with the provisions of paragraphs 28 through 33

 above

         36.    Preliminary Injunction. Pending final determination of whether the proposed

 Settlement should be approved, the Court orders as follows:

                a.      Plaintiffs and all other Class Members (and their attorneys, accountants,

 agents, advisors, heirs, executors, administrators, trustees, predecessors, successors, Affiliates,

 representatives, and assigns) who have not validly and timely requested exclusion from the Class

 – and anyone else purporting to act on behalf of, for the benefit of, or derivatively for any of

 such persons or entities – are preliminarily enjoined from filing, commencing, prosecuting,

 intervening in, participating in (as class members or otherwise), or receiving any benefit or other

 relief from any other lawsuit, arbitration, or administrative, regulatory, or other proceeding (as

 well as a motion or complaint in intervention in the Action if the person or entity filing such

 motion or complaint in intervention purports to be acting as, on behalf of, for the benefit of, or

 derivatively for any of the above persons or entities) or order, in any jurisdiction or forum, as to

 the Releasees based on or relating to the Released Class Claims;

                b.      All persons and entities are preliminarily enjoined from filing,

 commencing, or prosecuting any other lawsuit as a class action (including by seeking to amend a

 pending complaint to include class allegations or by seeking class certification in a pending

 action in any jurisdiction) or other proceeding on behalf of any Class Members as to the

 Releasees, if such other lawsuit is based on or related to the Released Class Claims; and




                                                  18
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 79 of 174 PageID #: 209




                 c.      All Releasees, and anyone purporting to act on behalf of, for the benefit

 of, or derivatively for any of such persons or entities, are preliminarily enjoined from

 commencing, prosecuting, intervening in, or participating in any claims or causes of action

 relating to the Released Releasees’ Claims.

         37.     Communications with Class Members. Releasees shall maintain the right to

 communicate orally and in writing with investors or prospective investors (including potential

 Class Members) in the normal course of business and as provided in Section VI of the Settlement

 Agreement.

         38.     Filing of Papers. All papers in support of the proposed Settlement shall be filed

 and served as set forth below:

                 a.      Any motions for final approval of the proposed Settlement and Plan of

 Allocation and/or any motions for an Attorneys’ Fees and Expenses Award and/or an Incentive

 Award must be filed by no later than thirty-five (35) days before the date of the Fairness Hearing

 as initially set by the Court in this Order.

                 b.      Any oppositions to any motions for final approval of the proposed

 Settlement or the Plan of Allocation, and/or for an Attorneys’ Fees and Expenses Award and/or

 an Incentive Award, must be filed with the Court and received by Class Counsel and Defendants’

 Counsel, at the addresses and email addresses set out in paragraph 30, by no later than twenty-

 eight (28) days before the date of the Fairness Hearing as initially set by the Court in this Order.

                 c.      Any reply papers in support of final approval of the proposed Settlement,

 the Plan of Allocation, and/or an Attorneys’ Fees and Expenses Award and/or Incentive Award,

 and any responses to objections submitted pursuant to paragraph 28 or to oppositions submitted




                                                  19
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 80 of 174 PageID #: 210




 pursuant to paragraph 38.b, must be filed and served by no later than seven (7) days before the

 date of the Fairness Hearing as initially set by the Court in this Order.

        39.     Qualified Settlement Fund. The Escrow Account, held by Strategic Claims

 Services (which the Court approves as the Escrow Agent), into which the Settlement Amount

 will be paid shall be considered a Qualified Settlement Fund in custodia legis of the Court, in

 accordance with Treas. Reg. §§ 1.468B-0 through 1.468B-5.

        40.     Confidentiality Agreement. The Confidentiality Agreement annexed as

 Exhibit H to the Stipulation of Settlement is hereby incorporated into this Order, and any breach

 of the Confidentiality Agreement shall be deemed a breach of a court order. Pursuant to Fed. R.

 Evid. 502(d), the Court hereby orders that any disclosures made pursuant to the Confidentiality

 Agreement shall not constitute a waiver of privilege or other protection in any federal or state

 proceeding.

        41.     Termination of Settlement. This Order shall become null and void, and shall be

 without prejudice to the rights of the Settling Parties, all of whom shall be restored to their

 respective positions existing immediately before this Court entered this Order, if (i) the proposed

 Settlement is not finally approved by the Court, or does not become Final, pursuant to the terms

 of the Settlement Agreement or (ii) the proposed Settlement is terminated in accordance with the

 terms of the Settlement Agreement or does not become effective as required by its terms for any

 other reason; provided, however, that paragraph 40 of this Order (concerning the Confidentiality

 Agreement) shall remain in effect even if the rest of this Order becomes null and void pursuant

 to this paragraph 41. In such event, the Settlement Agreement shall become null and void and of

 no further force and effect in accordance with its terms, and it shall not be used or referred to for

 any purpose whatsoever except as set out in Section XV of the Settlement Agreement.


                                                  20
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 81 of 174 PageID #: 211




        42.     Use of Order. Except as to paragraph 40, this Order shall be of no force or effect

 if the proposed Settlement does not become Final. This Order shall not be construed or used as

 an admission, concession, or declaration by or against the Releasees of any fault, wrongdoing,

 breach, or liability. Nor shall this Order be construed or used as an admission, concession, or

 declaration by or against Plaintiffs or any other Class Member that his, her, its, or their claims

 lack merit or that the relief requested in the Complaint is inappropriate, improper, or unavailable,

 or as a waiver by any party of any defenses or claims that he, she, or it might have.

        43.     Sharing of Papers. Class Counsel and Defendants’ Counsel shall promptly

 furnish each other with copies of any and all objections or written requests for exclusion that

 come into their possession.

        44.     Potential Continuance of Fairness Hearing. The Court reserves the right to

 adjourn the date of the Fairness Hearing, and any adjournment thereof, without further notice to

 potential Class Members. The Court may decide to hold the Fairness Hearing telephonically or

 by videoconference without further notice to the Class. Any Class Member (or his, her, or its

 counsel) who wishes to appear at the Fairness Hearing should consult the Court’s calendar and/or

 the Claims Administrator’s website for any change in date, time, or format of the hearing.

        45.     Retention of Jurisdiction. The Court retains jurisdiction to consider all further

 applications arising out of or connected with the proposed Settlement.

        SO ORDERED this ____ day of _______, 2022.



                                                       ________________________________
                                                       United States Magistrate Judge




                                                  21

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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 82 of 174 PageID #: 212




                         EXHIBIT B
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 83 of 174 PageID #: 213

                                                                                     EXHIBIT B


                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE


 TIMOTHY O’HERN, et al., Individually and on
 Behalf of All Others Similarly Situated,                No. 1:21-cv-00402-SRF

                                      Plaintiffs,

        v.

 VIDA LONGEVITY FUND, LP, et al.,


                                      Defendants.



                                [PROPOSED] ORDER APPROVING
                                  CLASS-ACTION SETTLEMENT

        WHEREAS Plaintiffs Timothy O’Hern, Semyon Rodkin, and Dominic Cardinale, on

 behalf of themselves and the Class (as defined below), and Defendants Vida Longevity

 Fund, LP, Vida Management I, LLC, Vida Capital Management, LLC, Vida Capital, Inc., Vida

 Capital, LLC, and Jeffrey R. Serra have entered into a Settlement Agreement to settle the claims

 asserted in this Action; and

        WHEREAS Plaintiffs and Defendants have applied to the Court pursuant to Fed. R. Civ.

 P. 23(e) for an Order granting final approval of the proposed settlement in accordance with the

 Settlement Agreement, which sets forth the terms and conditions of the proposed settlement (the

 “Settlement”); and

        WHEREAS, on _______________, 2022, the Court entered the Preliminary Approval

 Order preliminarily approving the proposed Settlement, preliminarily certifying the Class for

 settlement purposes, directing notice to be sent and published to potential Class Members, and

 scheduling a hearing (the “Fairness Hearing”) to consider whether to approve the proposed
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 84 of 174 PageID #: 214




 Settlement, the proposed Plan of Allocation, Plaintiffs’ Counsel’s application for an Attorneys’

 Fees and Expenses Award, and Plaintiffs’ application for an Incentive Award; and

        WHEREAS the Court held the Fairness Hearing on ______________, 2022 to determine,

 among other things, (i) whether the terms and conditions of the proposed Settlement are fair,

 reasonable, and adequate and should therefore be approved; (ii) whether the Class should be

 finally certified for settlement purposes; (iii) whether notice to the Class was implemented

 pursuant to the Preliminary Approval Order and constituted due and adequate notice to potential

 Class Members in accordance with the Federal Rules of Civil Procedure, the United States

 Constitution (including the Due Process Clause), the Rules of the Court, and any other applicable

 law; (iv) whether to approve the proposed Plan of Allocation; (v) whether to enter an order and

 judgment dismissing the Action on the merits and with prejudice as to Defendants and against all

 Class Members, and releasing all the Released Class Claims and Released Releasees’ Claims as

 provided in the Settlement Agreement; (vi) whether to enter the requested permanent injunction

 and bar order as provided in the Settlement Agreement; (vii) whether and in what amount to

 grant an Attorneys’ Fees and Expenses Award to Plaintiffs’ Counsel; and (viii) whether and in

 what amount to grant an Incentive Award to Plaintiffs; and

        WHEREAS the Court received submissions before and heard argument at the Fairness

 Hearing;

        NOW, THEREFORE, based on the written submissions received before the Fairness

 Hearing, the arguments at the Fairness Hearing, and the other materials of record in this action, it

 is hereby ORDERED, ADJUDGED, AND DECREED as follows:

                Incorporation of Settlement Documents. This Order incorporates and makes a

 part hereof the Settlement Agreement dated as of July 8, 2022, including its defined terms. To



                                                  2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 85 of 174 PageID #: 215




 the extent capitalized terms are not defined in this Order, this Court adopts and incorporates the

 definitions set out in the Settlement Agreement.1

                Jurisdiction. The Court has jurisdiction over the subject matter of the Action, the

 Plaintiffs, and all other Class Members (as defined below) and has jurisdiction to enter this Order

 and the Judgment.

                Final Class Certification. The Court grants certification of the Class solely for

 purposes of the Settlement pursuant to Fed. R. Civ. P. 23(b)(3). The Class is defined to consist

 of all persons and entities who, during the period from January 1, 2017 through March 19, 2021,

 inclusive, purchased or otherwise acquired VLF Interests, either directly, or indirectly through

 Life Assets Trust S.A. Compartments VII and/or VIII, pursuant to an offering of those

 partnership interests. Excluded from the Class are:

                a.      such persons or entities who submitted valid and timely requests for

 exclusion from the Class;

                b.      such persons or entities who, while represented by counsel, settled an

 actual or threatened lawsuit or other proceeding against one or more of the Releasees arising out

 of or related to the Released Class Claims; and

                c.      Defendants; the agents or employees of Defendants; any person, firm,

 trust, corporation, or other entity related to or affiliated with any of the Defendants during the

 Class Period (provided, however, that the term “affiliate” or “affiliated with” shall not include

 Life Assets Trust S.A. Compartments VII and VIII); and any judge or judicial officer who may

 hear any aspect of this case, and his or her law clerks.



 1
        Selected definitions from the Settlement Agreement are set out in the Appendix to this
        Order.

                                                   3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 86 of 174 PageID #: 216




                 This certification of the Class is made for the sole purpose of consummating the

 Settlement of the Action in accordance with the Settlement Agreement. If the Court’s approval

 of the Settlement does not become Final for any reason whatsoever, or if it is modified in any

 material respect deemed unacceptable by a Settling Party, this class certification shall be deemed

 void ab initio, shall be of no force or effect whatsoever, and shall not be referred to or used for

 any purpose whatsoever, including in any later attempt by or on behalf of Plaintiffs or anyone

 else to seek class certification in this or any other matter.

                 For purposes of the settlement of the Action, and only for those purposes, the

 Court finds that the requirements of Fed. R. Civ. P. 23(a) and 23(b)(3) and any other applicable

 laws have been satisfied, in that:

                 a.      The Class is ascertainable from business records and/or from objective

 criteria;

                 b.      The Class is so numerous that joinder of all members would be

 impractical;

                 c.      One or more questions of fact and/or law are common to all Class

 Members;

                 d.      Plaintiffs’ claims are typical of those of the other members of the Class;

                 e.      Plaintiffs have been and are capable of fairly and adequately protecting the

 interests of the members of the Class, in that (i) Plaintiffs’ interests have been and are consistent

 with those of the other Class Members, (ii) Rosca Scarlato, LLC (“Class Counsel”) has been and

 is able and qualified to represent the Class, and (iii) Plaintiffs and Class Counsel have fairly and

 adequately represented the Class Members in prosecuting this Action and in negotiating and

 entering into the proposed Settlement; and



                                                    4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 87 of 174 PageID #: 217




                f.      For settlement purposes, questions of law and/or fact common to members

 of the Class predominate over any such questions affecting only individual Class Members, and

 a class action is superior to all other available methods for the fair and efficient resolution of the

 Action. In making these findings for settlement purposes, the Court has considered, among other

 things, (i) the questions of law and fact pled in the Complaint, (ii) the Class Members’ interest in

 the fairness, reasonableness, and adequacy of the proposed Settlement, (iii) the Class Members’

 interests in individually controlling the prosecution of separate actions, (iv) the impracticability

 or inefficiency of prosecuting separate actions, (v) the extent and nature of any litigation

 concerning these claims already commenced, and (vi) the desirability of concentrating the

 litigation of the claims in a particular forum.

                Final Certification of Plaintiffs and Appointment of Class Counsel for

 Settlement Purposes. Solely for purposes of the proposed Settlement, the Court hereby

 confirms its (i) certification of Plaintiffs as representatives of the Class and (ii) appointment of

 Class Counsel as counsel for the Class pursuant to Fed. R. Civ. P. 23(g).

                Notice. The Court finds that the distribution of the Postcard Notice, Long-Form

 Notice, and Claim Form, the publication of the Summary Notice, and the notice methodology as

 set forth in the Preliminary Approval Order all were implemented in accordance with the terms

 of that Order. The Court further finds that the Postcard Notice, Long-Form Notice, Claim Form,

 Summary Notice, and notice methodology (i) constituted the best practicable notice to potential

 Class Members, (ii) constituted notice that was reasonably calculated, under the circumstances,

 to apprise potential Class Members of the pendency of the Action, the nature and terms of the

 proposed Settlement, the effect of the Settlement Agreement (including the release of claims),

 their right to object to the proposed Settlement, their right to exclude themselves from the Class,



                                                    5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 88 of 174 PageID #: 218




 and their right to appear at the Fairness Hearing, (iii) were reasonable and constituted due,

 adequate, and sufficient notice to all persons or entities entitled to receive notice (including any

 State and/or federal authorities entitled to receive notice under the Class Action Fairness Act of

 2005), and (iv) met all applicable requirements of the Federal Rules of Civil Procedure, the

 United States Constitution (including the Due Process Clause), the Rules of the Court, and any

 other applicable law. The Court confirms its prior ruling that, in the circumstances of the Action

 and this Settlement, the use of the Postcard Notice as part of the Notice Program was reasonable

 and appropriate.

                Final Settlement Approval. The Court finds that the proposed Settlement

 resulted from serious, informed, non-collusive negotiations conducted at arm’s length by the

 Settling Parties and their experienced counsel – under the auspices of Jed Melnick, Esq., of

 JAMS, serving as mediator – and was entered into in good faith. The terms of the Settlement

 Agreement do not have any material deficiencies, do not improperly grant preferential treatment

 to any individual Class Member, and treat Class Members equitably relative to each other.

 Accordingly, the proposed Settlement as set forth in the Settlement Agreement is hereby fully

 and finally approved as fair, reasonable, and adequate, consistent and in full compliance with all

 applicable requirements of the Federal Rules of Civil Procedure, the United States Constitution

 (including the Due Process Clause), and the Rules of the Court, and in the best interests of the

 Class Members.

                The Court hereby finds that the proposed Plan of Allocation is a fair and

 reasonable method to allocate the Net Settlement Amount among eligible Class Members.

                In making these findings and in concluding that the relief provided to the Class is

 fair, reasonable, and adequate, the Court considered, among other factors, the considerations



                                                   6
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 89 of 174 PageID #: 219




 outlined in Federal Rule of Civil Procedure 23(e)(2) and in In re National Football League

 Players Concussion Injury Litigation, 821 F.3d 410, 437 (3d Cir. 2016), including (i) the

 complexity, expense, and likely duration of the litigation if it were to continue, including the

 costs, risks, and delay of trial and appeal; (ii) the reaction of the potential Class Members to the

 proposed Settlement, including the number of exclusion requests and the number of objections;

 (iii) the stage of the proceedings and the amount of discovery and other materials available to

 Class Counsel, including the Due-Diligence Discovery provided to Class Counsel; (iv) the risks

 of establishing liability and damages, including the nature of the claims asserted and the strength

 of Plaintiffs’ claims and Defendants’ defenses as to liability and damages; (v) Plaintiffs’ risks of

 obtaining certification of a litigation class and of maintaining certification through trial; (vi) the

 ability of Defendants to withstand a greater judgment; (vii) the range of reasonableness of the

 Settlement Amount in light of the best possible recovery; (viii) the range of reasonableness of the

 Settlement Amount to a possible recovery in light of all the attendant risks of litigation; (ix) the

 availability of opt-out rights for potential Class Members who do not wish to participate in the

 Settlement; (x) the effectiveness of the procedures for processing Class Members’ claims for

 relief from the Settlement Fund and distributing such relief to eligible Class Members; (xi) the

 terms of the proposed award of attorneys’ fees, including the timing of the payment; (xii) the

 terms of the Supplemental Agreement; (xiii) the treatment of Class Members relative to each

 other; (xiv) the adequacy of Plaintiffs’ and Class Counsel’s representation of the Class; (xv) the

 arm’s-length nature of the negotiation of the proposed Settlement; (xvi) the involvement of a

 respected and experienced mediator (Mr. Melnick); (xvii) the experience and views of the

 Settling Parties’ counsel; (xviii) the submissions and arguments made throughout the proceedings




                                                    7
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 90 of 174 PageID #: 220




 by the Settling Parties; and (xix) the submissions and arguments made at and in connection with

 the Fairness Hearing.

                The Settling Parties are directed to implement and consummate the Settlement

 Agreement in accordance with its terms and provisions. The Court approves the documents

 submitted to the Court in connection with the implementation of the Settlement Agreement.

                Releases. Pursuant to this Approval Order and the Judgment, without further

 action by anyone, and subject to paragraph 15 below, on and after the Final Settlement Date,

 Plaintiffs and all other Class Members (whether or not a Claim Form has been executed and/or

 delivered by or on behalf of any such Class Member), on behalf of themselves and the other

 Releasors, for good and sufficient consideration, the receipt and adequacy of which are hereby

 acknowledged, shall be deemed to have, and by operation of law and of this Order and the

 Judgment shall have, fully, finally, and forever released, relinquished, settled, and discharged:

                a.       all Released Class Claims against each and every one of the Releasees;

                b.       all Claims, damages, and liabilities as to each and every one of the

 Releasees to the extent that any such Claims, damages, or liabilities relate in any way to any or

 all acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written

 statements or representations in connection with, or directly or indirectly relating to, (i) the

 prosecution, defense, or settlement of the Action, (ii) the Settlement Agreement or its

 implementation, (iii) the Settlement terms and their implementation, (iv) the provision of notice

 in connection with the proposed Settlement, and/or (v) the resolution of any Claim Forms

 submitted in connection with the Settlement; and

                c.       all Claims against any of the Releasees for attorneys’ fees, costs, or

 disbursements incurred by Plaintiffs’ Counsel or any other counsel representing Plaintiffs



                                                   8
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 91 of 174 PageID #: 221




 (including, without limitation, Labaton Sucharow LLP) or any other Class Member in connection

 with or related in any manner to the Action, the settlement of the Action, or the administration of

 the Action and/or its Settlement, except to the extent otherwise specified in the Settlement

 Agreement.

                Pursuant to this Order and the Judgment, without further action by anyone, and

 subject to paragraph 15 below, on and after the Final Settlement Date, each and every Releasee,

 including Defendants’ Counsel, for good and sufficient consideration, the receipt and adequacy

 of which are hereby acknowledged, shall be deemed to have, and by operation of law and of this

 Order and the Judgment shall have, fully, finally, and forever released, relinquished, settled, and

 discharged Plaintiffs, Plaintiffs’ Counsel, and each and all other Releasors from any and all

 Released Releasees’ Claims, except to the extent otherwise specified in the Settlement

 Agreement.

                Pursuant to this Order and the Judgment, without further action by anyone, and

 subject to paragraph 15 below, on and after the Final Settlement Date, Plaintiffs’ Counsel and

 any other counsel representing Plaintiffs (including, without limitation, Labaton Sucharow LLP)

 or any other Class Member in connection with or related in any manner to the Action, on behalf

 of themselves, their heirs, executors, administrators, predecessors, successors, Affiliates, and

 assigns, and any person or entity claiming by, through, or on behalf of any of them, for good and

 sufficient consideration, the receipt and adequacy of which are hereby acknowledged, shall be

 deemed to have, and by operation of law and of this Order and the Judgment shall have, fully,

 finally, and forever released, relinquished, settled, and discharged Defendants, Defendants’

 Counsel, and all other Releasees from any and all Claims that relate in any way to any or all acts,

 omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written statements



                                                  9
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 92 of 174 PageID #: 222




 or representations in connection with, or directly or indirectly relating to, (i) the prosecution,

 defense, or settlement of the Action, (ii) the Settlement Agreement or its implementation, (iii) the

 Settlement terms and their implementation, except to the extent otherwise specified in the

 Settlement Agreement, and (iv) except as provided in paragraph 21 below, any claims for

 attorneys’ fees and expenses in connection with the foregoing matters.

                Notwithstanding paragraphs 12 through 14 above, nothing in this Order or in the

 Judgment shall bar any action or Claim by the Settling Parties or their counsel to enforce the

 terms of the Settlement Agreement, this Order, or the Judgment.

                Permanent Injunction. The Court orders as follows:

                a.      Plaintiffs and all other Class Members (and their attorneys, accountants,

 agents, advisors, heirs, executors, administrators, trustees, predecessors, successors, Affiliates,

 representatives, and assigns) who have not validly and timely requested exclusion from the Class

 – and anyone else purporting to act on behalf of, for the benefit of, or derivatively for any of

 such persons or entities – are permanently enjoined from filing, commencing, prosecuting,

 intervening in, participating in (as class members or otherwise), or receiving any benefit or other

 relief from any other lawsuit, arbitration, or administrative, regulatory, or other proceeding (as

 well as a motion or complaint in intervention in the Action if the person or entity filing such

 motion or complaint in intervention purports to be acting as, on behalf of, for the benefit of, or

 derivatively for any of the above persons or entities) or order, in any jurisdiction or forum, as to

 the Releasees based on or relating to the Released Class Claims;

                b.      All persons and entities are permanently enjoined from filing,

 commencing, or prosecuting any other lawsuit as a class action (including by seeking to amend a

 pending complaint to include class allegations or by seeking class certification in a pending



                                                   10
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 93 of 174 PageID #: 223




 action in any jurisdiction) or other proceeding on behalf of any Class Members as to the

 Releasees, if such other lawsuit is based on or related to the Released Class Claims; and

                c.      All Releasees, and anyone purporting to act on behalf of, for the benefit

 of, or derivatively for any such persons or entities, are permanently enjoined from commencing,

 prosecuting, intervening in, or participating in any claims or causes of action relating to Released

 Releasees’ Claims.

                Notwithstanding paragraph 16 above, nothing in this Order or in the Judgment

 shall bar any action or Claim by the Settling Parties or their counsel to enforce the terms of the

 Settlement Agreement, this Order, or the Judgment.

                Complete Bar Order. To effectuate the Settlement, the Court hereby enters the

 following Complete Bar Order:

                a.      Any and all persons and entities are permanently barred, enjoined, and

 restrained from commencing, prosecuting, or asserting any Claim against any Releasee arising

 under any federal, state, or foreign statutory or common-law rule, however styled, whether for

 indemnification or contribution or otherwise denominated, including Claims for breach of

 contract or for misrepresentation, where the Claim is or arises from or is based upon a Released

 Class Claim or Suitability Claim and the alleged injury to such person or entity arises from or is

 based upon that person’s or entity’s alleged liability to the Class or any Class Member, including

 any Claim in which a person or entity seeks to recover from any of the Releasees (i) any amounts

 that such person or entity has or might become liable to pay to the Class or any Class Member

 and/or (ii) any costs, expenses, or attorneys’ fees from defending any Claim by the Class or any

 Class Member. All such Claims are hereby extinguished, discharged, satisfied, and

 unenforceable, subject to a hearing to be held by the Court, if necessary. The provisions of this



                                                  11
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 94 of 174 PageID #: 224




 subparagraph are intended to preclude any liability of any of the Releasees to any person or

 entity for indemnification, contribution, or otherwise on any Claim that is or arises from or is

 based upon a Released Class Claim or Suitability Claim and where the alleged injury to such

 person or entity arises from or is based upon that person’s or entity’s alleged liability to the Class

 or any Class Member; provided, however, that, if the Class or any Class Member obtains any

 judgment against any such person or entity based upon, arising out of, or relating to any Released

 Class Claim or Suitability Claim for which such person or entity and any of the Releasees are

 found to be jointly liable, that person or entity shall be entitled to a judgment credit equal to an

 amount that is the greater of (i) an amount that corresponds to such Releasee’s or Releasees’

 percentage of responsibility for the loss to the Class or Class Member and (ii) the amount paid by

 or on behalf of Defendants to the Class or Class Member for common damages, unless the court

 entering such judgment orders otherwise.

                b.      Each and every Releasee is permanently barred, enjoined, and restrained

 from commencing, prosecuting, or asserting any Claim against any other person or entity

 (including any other Releasee) arising under any federal, state, or foreign statutory or common-

 law rule, however styled, whether for indemnification or contribution or otherwise denominated,

 including Claims for breach of contract and for misrepresentation, where the Claim is or arises

 from or is based upon a Released Class Claim or Suitability Claim and the alleged injury to such

 Releasee arises from that Releasee’s alleged liability to the Class or any Class Member,

 including any Claim in which any Releasee seeks to recover from any person or entity (including

 another Releasee) (i) any amounts that any such Releasee has or might become liable to pay to

 the Class or any Class Member and/or (ii) any costs, expenses, or attorneys’ fees from defending




                                                   12
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 95 of 174 PageID #: 225




 any Claim by the Class or any Class Member. All such Claims are hereby extinguished,

 discharged, satisfied, and unenforceable.

                c.      Notwithstanding anything stated in the Complete Bar Order, if any person

 or entity (for purposes of this subparagraph, a “petitioner”) commences against any of the

 Releasees any action either (i) asserting a Claim that is or arises from or is based upon a

 Released Class Claim or Suitability Claim and where the alleged injury to such petitioner arises

 from that petitioner’s alleged liability to the Class or any Class Member or (ii) seeking

 contribution or indemnity for any liability or expenses incurred in connection with any such

 Claim, and if such action or Claim is not barred by a court pursuant to this paragraph 18 or

 otherwise, neither the Complete Bar Order nor the Settlement Agreement shall bar Claims by

 that Releasee against (i) such petitioner, (ii) any person or entity who is or was controlled by,

 controlling, or under common control with the petitioner, whose assets or estate are or were

 controlled, represented, or administered by the petitioner, or as to whose Claims the petitioner

 has succeeded, and (iii) any person or entity that participated with any of the preceding persons

 or entities described in items (i) and/or (ii) of this subparagraph in connection with the assertion

 of the Claim brought against the Releasee(s).

                d.      If any term of the Complete Bar Order entered by the Court is held to be

 unenforceable after the date of entry, such provision shall be substituted with such other

 provision as may be necessary to afford all of the Releasees the fullest protection permitted by

 law from any Claim that is based upon, arises out of, or relates to any Released Class Claim.

                e.      Notwithstanding the Complete Bar Order or anything else in the

 Settlement Agreement, (i) nothing shall prevent the Settling Parties from taking such steps as are

 necessary to enforce the terms of the Settlement Agreement, and (ii) nothing shall release,



                                                  13
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 96 of 174 PageID #: 226




 interfere with, limit, or bar the assertion by any Releasee of any Claim for insurance coverage

 under any insurance, reinsurance, or indemnity policy that provides coverage respecting the

 conduct and Claims at issue in the Action.

                No Admissions. This Order and the Judgment, the Settlement Agreement, the

 offer of the Settlement Agreement, and compliance with the Judgment or the Settlement

 Agreement shall not constitute or be construed as an admission by any of the Releasees of any

 wrongdoing or liability, or by any of the Releasors of any infirmity in Plaintiffs’ Claims. This

 Order, the Judgment, and the Settlement Agreement are to be construed solely as a reflection of

 the Settling Parties’ desire to facilitate a resolution of the Claims in the Complaint and of the

 Released Class Claims. In no event shall this Order, the Judgment, the Settlement Agreement,

 any of their provisions, or any negotiations, statements, or court proceedings relating to their

 provisions in any way be construed as, offered as, received as, used as, or deemed to be evidence

 of any kind in the Action, any other action, or any judicial, administrative, regulatory, or other

 proceeding, except a proceeding to enforce the Settlement Agreement. Without limiting the

 foregoing, this Order, the Judgment, the Settlement Agreement, and any related negotiations,

 statements, or court proceedings shall not be construed as, offered as, received as, used as, or

 deemed to be evidence or an admission or concession (i) of any kind against the Settling Parties

 or the other Releasees and Releasors in the Action, any other action, or any judicial,

 administrative, regulatory, or other proceeding, (ii) of any liability or wrongdoing whatsoever on

 the part of any person or entity, including Defendants, or as a waiver by Defendants of any

 applicable defense, or (iii) by Plaintiffs or the Class of the infirmities of any claims, causes of

 action, or remedies.




                                                   14
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 97 of 174 PageID #: 227




                Notwithstanding anything in paragraph 19 above, this Order, the Judgment,

 and/or the Settlement Agreement may be filed in any action against or by any Releasee to

 support a defense of res judicata, collateral estoppel, release, waiver, good-faith settlement,

 judgment bar or reduction, injunction, full faith and credit, or any other theory of claim

 preclusion, issue preclusion, or similar defense or counterclaim.

                Attorneys’ Fees and Expenses Award. Plaintiffs’ Counsel are hereby awarded

 attorneys’ fees in the amount of ___% of the Settlement Amount and expenses in the amount of

 $_____________. Those amounts shall be paid out of the Settlement Fund (as that term is

 defined in the Settlement Agreement) pursuant to the terms set out in Section X of the Settlement

 Agreement. The Court finds that the Attorneys’ Fees and Expenses Award is fair, reasonable,

 and appropriate.

                In making this award of attorneys’ fees and reimbursement of expenses, the Court

 has considered and found that: (a) the Settlement has created a fund of $1.4 million that has

 been paid into escrow pursuant to the terms of the Settlement and that numerous Class Members

 who submit acceptable Claim Forms will benefit from the Settlement; (b) the fees sought by

 Plaintiffs’ Counsel have been reviewed and approved as fair and reasonable by Plaintiffs;

 (c) both the Postcard Notice (which was mailed to all potential Class Members who could be

 identified with reasonable effort) and the Long-Form Notice (which was available to any

 potential Class Member by request or on the Settlement website) stated that Plaintiffs’ Counsel

 would apply for attorneys’ fees in an amount not to exceed 30% of the Settlement Amount and

 reimbursement of litigation expenses in an amount not to exceed $50,000; (d) Plaintiffs’ Counsel

 conducted the litigation and achieved the Settlement with skill and perseverance; (e) the Action

 raised complex issues; (f) the Action presented significant risks to establishing liability and



                                                  15
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 98 of 174 PageID #: 228




 damages; and (g) the amount of attorneys’ fees and expenses is fair and reasonable and

 consistent with awards in similar cases.

                Incentive Award. The Court finds that the requested Incentive Award of

 $_________ to Plaintiffs is reasonable in the circumstances. This amount shall be paid out of the

 Settlement Fund pursuant to the terms set out in Section XI of the Settlement Agreement.

                Modification of Settlement Agreement. Without further approval from the

 Court, the Settling Parties are hereby authorized to agree to and adopt such amendments,

 modifications, and expansions of the Settlement Agreement (including its exhibits) that (i) are

 not materially inconsistent with this Order and the Judgment and (ii) do not materially limit the

 rights of Class Members under the Settlement Agreement.

                Dismissal of Action. The Action, including all Claims that have been asserted, is

 hereby dismissed on the merits and with prejudice, without fees or costs to any Settling Party

 except as otherwise provided in the Settlement Agreement.

                Retention of Jurisdiction. Without in any way affecting the finality of this

 Order and the Judgment, and subject to the Mediator’s ability to make final, binding, and

 nonappealable rulings as prescribed in the Settlement Agreement, the Court expressly retains

 continuing and exclusive jurisdiction over the Settlement and all Settling Parties, the Class

 Members, and anyone else who appeared before this Court for all matters relating to the Action,

 including the administration, consummation, interpretation, implementation, or enforcement of

 the Settlement Agreement or of this Order and the Judgment, and for any other reasonably

 necessary purposes, including:

                a.      enforcing the terms and conditions of the Settlement Agreement, this

 Order, and the Judgment (including the Complete Bar Order and the permanent injunction);



                                                 16
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 99 of 174 PageID #: 229




                b.      resolving any disputes, claims, or causes of action that, in whole or in part,

 are related to or arise out of the Settlement Agreement, this Order, or the Judgment (including

 whether a person or entity is or is not a Class Member and whether Claims or causes of action

 allegedly related to the Released Class Claims are or are not barred by this Order and the

 Judgment or the Release);

                c.      entering such additional orders as may be necessary or appropriate to

 protect or effectuate this Order and the Judgment, including whether to impose a bond on any

 parties who appeal from this Order or the Judgment; and

                d.      entering any other necessary or appropriate orders to protect and effectuate

 this Court’s retention of continuing jurisdiction.

                Rule 11 Findings. The Court finds that the Complaint filed in the Action was

 filed on a good-faith basis in accordance with Rule 11 of the Federal Rules of Civil Procedure

 based upon all publicly available information. The Court finds that all Settling Parties and their

 counsel have complied with each requirement of Rule 11 of the Federal Rules of Civil Procedure

 as to all proceedings herein.

                Termination. If the Settlement does not become Final in accordance with the

 terms of the Settlement Agreement, or is terminated pursuant to the Settlement Agreement

 (including pursuant to Section XIV), this Order and the Judgment shall be rendered null and void

 to the extent provided by and in accordance with the Settlement Agreement; provided, however,

 that paragraph 40 of the Preliminary Approval Order (concerning the Confidentiality Agreement)

 shall remain in effect even if this Order and the Judgment are rendered null and void.

                Entry of Judgment. There is no just reason to delay the entry of this Order and

 the Judgment, and immediate entry by the Clerk of Court is expressly directed pursuant to



                                                  17
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 100 of 174 PageID #: 230




 Rule 58 of the Federal Rules of Civil Procedure. Any appeal from this Order or other proceeding

 seeking subsequent judicial review of this Order pertaining solely to (i) the attorneys’ fees or

 expenses awarded to Plaintiffs’ Counsel, (ii) the Incentive Award to Plaintiffs, and/or (iii) the

 Plan of Allocation shall not in any way delay or preclude this Order from becoming Final under

 the terms of the Settlement Agreement.

        SO ORDERED this ____ day of ___________, 2022.



                                                       ________________________________
                                                       United States Magistrate Judge




                                                  18
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 101 of 174 PageID #: 231


                                                                       EXHIBIT B – Appendix A

                 APPENDIX OF SELECTED SETTLEMENT DEFINITIONS

        “Action” means the securities class action now pending in this Court and captioned

 O’Hern v. Vida Longevity Fund, LP, No. 1:21-cv-00402-SRF (D. Del.), including any other

 cases that have been or might be consolidated into that action as of the Final Settlement Date.

        “Operative Facts” means those facts and circumstances that provide the factual

 predicate for the claims asserted in the Action and shall include, among other things:

                a.       The offering and sale of VLF Interests during the Class Period, including

 all documents (including Private Placement Memoranda) used and representations made in

 connection with such offering or sale;

                b.       Defendants’ communications with purchasers or prospective purchasers of

 VLF Interests during the Class Period, including quarterly letters to investors and any other

 reports to investors;

                c.       The performance of VLF Interests during the Class Period, including

 Defendants’ information and explanations about such performance and any financial guidance,

 projections, or expectations concerning such performance;

                d.       Defendants’ statements about VLF’s purposes, objectives, goals,

 investment criteria, due-diligence processes, underwriting procedures, and risk management

 during the Class Period;

                e.       Defendants’ valuation of VLF’s investments and VLF Interests during the

 Class Period, including internal controls, underwriting procedures, and other procedures for

 evaluating and pricing VLF’s investments, and any alleged failure to update valuations,

 procedures, or life-expectancy reports;




                                               APP-1
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 102 of 174 PageID #: 232




                f.      Defendants’ alleged failure during the Class Period to ensure adequate

 separation between VLF’s underwriting and origination functions and to maintain adequate

 personnel, including on VLF’s portfolio-management and risk teams;

                g.      Defendants’ reliance on third-party life-expectancy providers and

 Defendants’ subsequent use of proprietary approaches to value VLF’s investments;

                h.      Alleged conflicts of interest between or among Defendants and their

 affiliated entities during the Class Period (including any alleged conflicts of interest between or

 among VLF, Jeffrey R. Serra, and Ovation Partners, LP);

                i.      Any redemptions or liquidations of VLF Interests during the Class Period

 by Defendants, any other Releasee, or any of their affiliated entities during the Class Period;

                j.      Vida Management’s management of VLF during the Class Period,

 including Vida Management’s researching, selecting, monitoring, and otherwise making

 decisions about VLF’s investments;

                k.      Magna Life Settlement’s sale of, facilitation of the sale of, or provision of

 advice about life-settlement assets to VLF during the Class Period, and any alleged conflict of

 interest between Magna Life Settlement and any Defendant;

                l.      VLF’s management fees and performance allocations during the Class

 Period;

                m.      Any alleged communications (whether internal to Defendants or external,

 and whether oral or written) relating to or evidencing any of the alleged conduct described in

 Section I.A.42.a-l;

                n.      Any alleged misstatements or omissions during the Class Period relating

 to any of the matters described in Sections I.A.42.a-m;



                                                APP-2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 103 of 174 PageID #: 233




                o.      Any alleged inflation or decline in the price or value of VLF Interests

 during the Class Period that is related to or arises out of the alleged conduct and/or topics

 described in Sections I.A.42.a-n; and

                p.      Any Claims under the TSA or any other law arising out of the alleged

 conduct and/or topics described in Sections I.A.42.a-o.

        “Released Class Claims” means each and every Claim that existed as of, on, or before

 the Execution Date and that Plaintiffs or any other Class Member (i) asserted against any of the

 Releasees in the Action (including all Claims alleged in the Complaint) or (ii) could have

 asserted or could assert against any of the Releasees arising out of or relating to any of the

 Operative Facts or any alleged statements about, mischaracterizations of, or omissions

 concerning them, whether arising under any federal, state, or other statutory or common-law rule

 or under any foreign law, in any court, tribunal, agency, or other forum, if such Claim also arises

 out of or relates to the purchase or other acquisition of VLF Interests, or to any other Investment

 Decision, during the Class Period; provided, however, that the term “Released Class Claims”

 does not include (i) any Suitability Claim, (ii) any claims asserted in any shareholder derivative

 action on behalf of VLF, including without limitation the derivative claims asserted in the

 Derivative Action, or (iii) any claims to enforce this Settlement Agreement.

        “Released Releasees’ Claims” means each and every Claim that has been, could have

 been, or could be asserted in the Action or in any other proceeding by any Releasee (including

 Defendants and their successors and assigns), or his, her, or its respective estates, heirs,

 executors, agents, attorneys (including in-house counsel, outside counsel, and Defendants’

 Counsel), beneficiaries, accountants, professional advisors, trusts, trustees, administrators, and

 assigns, against Plaintiffs, any other Class Members, or any of their respective attorneys



                                                APP-3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 104 of 174 PageID #: 234




 (including, without limitation, Plaintiffs’ Counsel), and that arises out of or relates in any way to

 the initiation, prosecution, or settlement of the Action or the implementation of this Settlement

 Agreement; provided, however, that Released Releasees’ Claim shall not include any Claim to

 enforce the Settlement Agreement.

         “Releasee” means each and every one of, and “Releasees” means all of, (i) Defendants,

 (ii) Defendants’ Affiliates, (iii) each of Defendants’ current and former officers, directors,

 employees, agents, representatives, any and all in-house counsel and outside counsel (including

 Defendants’ Counsel), advisors, administrators, accountants, accounting advisors, auditors,

 consultants, assigns, assignees, beneficiaries, representatives, partners, successors-in-interest,

 insurance carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors,

 fiduciaries, service providers, and investment bankers, and any entities (a) in which any

 Defendant or any Defendant’s Affiliate has or had a Controlling Interest or (b) that has or had a

 Controlling Interest in any Defendant or any Defendant’s Affiliate, (iv) for each of the foregoing

 Releasees, (y) to the extent the Releasee is an entity, each of its current and former officers,

 directors, employees, agents, representatives, any and all in-house counsel and outside counsel

 (including Defendants’ Counsel), advisors, administrators, accountants, accounting advisors,

 auditors, consultants, assigns, assignees, beneficiaries, representatives, partners, successors-in-

 interest, insurance carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors,

 fiduciaries, service providers, and investment bankers, and any entities in which any Releasee

 has or had a Controlling Interest or that has or had a Controlling Interest in the Releasee, and

 (z) to the extent the Releasee is an individual, each of his or her Family Members, estates, heirs,

 executors, beneficiaries, trusts, trustees, agents, representatives, attorneys (including Defendants’

 Counsel), advisors, administrators, accountants, consultants, assigns, assignees, representatives,



                                                 APP-4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 105 of 174 PageID #: 235




 partners, successors-in-interest, insurance carriers, and reinsurers, and (v) any person purporting

 to assert a Released Releasees’ Claim on behalf of, for the benefit of, or derivatively for any such

 Releasee.

        “Releasor” means each and every one of, and “Releasors” means all of, (i) Plaintiffs,

 (ii) all other Class Members, (iii) for each of the foregoing Releasors, (y) to the extent the

 Releasor is an entity, each of its current and former officers, directors, employees, agents,

 representatives, any and all in-house counsel and outside counsel (including Plaintiffs’ Counsel),

 advisors, administrators, accountants, accounting advisors, auditors, consultants, assigns,

 assignees, beneficiaries, representatives, partners, successors-in-interest, insurance carriers,

 reinsurers, parents, affiliates, subsidiaries, successors, predecessors, fiduciaries, service

 providers, and investment bankers, and any entities in which any Releasor has or had a

 Controlling Interest or that has or had a Controlling Interest in the Releasor, and (z) to the extent

 the Releasor is an individual, each of his or her Family Members, estates, heirs, executors,

 beneficiaries, trusts, trustees, agents, representatives, attorneys (including Plaintiffs’ Counsel),

 advisors, administrators, accountants, consultants, assigns, assignees, representatives, partners,

 successors-in-interest, insurance carriers, and reinsurers, and (iv) any person purporting to assert

 a Released Class Claim on behalf of, for the benefit of, or derivatively for any such Releasor.

        “Suitability Claim” means any claim against a broker, investment advisor, or other

 person or entity alleging that (i) such person or entity told, suggested to, recommended to, or

 advised a Class Member that an investment in VLF Interests would be suitable for such Class

 Member and (ii) the investment was not suitable for such Class Member because VLF Interests

 (a) were not sufficiently liquid, (b) would constitute too large a percentage of such Class

 Member’s assets, and/or (c) were not consistent with the Class Member’s investment risk



                                                 APP-5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 106 of 174 PageID #: 236




 tolerance or investment objectives and/or time frame; provided, however, that a Suitability Claim

 shall not apply to, or be a basis for or part of, any claim or attempted claim (however or by

 whomever brought) against any Releasee or any other person or entity affiliated with any

 Releasee.

         “VLF Interests” means limited partnership interests in VLF, whether purchased directly,

 or indirectly through Life Assets Trust S.A. Compartments VII and VIII, pursuant to an offering

 of those limited partnership interests.




                                               APP-6

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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 107 of 174 PageID #: 237




                         EXHIBIT C
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 108 of 174 PageID #: 238

                                                                                         EXHIBIT C


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 TIMOTHY O’HERN, et al., Individually and on
 Behalf of All Others Similarly Situated,                  No. 1:21-cv-00402-SRF

                                        Plaintiffs,

        v.

 VIDA LONGEVITY FUND, LP, et al.,


                                        Defendants.



                                    [PROPOSED] JUDGMENT

        Consistent with the terms of the Order Approving Class-Action Settlement entered on

 _________ __, 2022 (the “Approval Order), the settlement of this class action on the terms set

 forth in the parties’ Stipulation of Settlement dated as of July 8, 2022, including all exhibits

 (collectively, the “Settlement Agreement”), is approved as fair, reasonable, and adequate, and

 consistent with and in compliance with all applicable requirements of the Federal Rules of Civil

 Procedure, the United States Constitution (including the Due Process Clause), the Rules of this

 Court, and any other applicable law, and in the best interests of the Class Members. Unless

 otherwise defined in this Judgment, the capitalized terms in the Judgment have the same

 meaning as in the Settlement Agreement.

                The Court finally certifies the following Class for settlement purposes pursuant to

 Fed. R. Civ. P. 23(b)(3): all persons and entities who, during the period from January 1, 2017

 through March 19, 2021, inclusive, purchased or otherwise acquired VLF Interests, either

 directly, or indirectly through Life Assets Trust S.A. Compartments VII and/or VIII, pursuant to

 an offering of those partnership interests. Excluded from the Class are:
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 109 of 174 PageID #: 239




                a.      such persons or entities who submitted valid and timely requests for

 exclusion from the Class;

                b.      such persons or entities who, while represented by counsel, settled an

 actual or threatened lawsuit or other proceeding against one or more of the Releasees arising out

 of or related to the Released Class Claims; and

                c.      Defendants; the agents or employees of Defendants; any person, firm,

 trust, corporation, or other entity related to or affiliated with any of the Defendants during the

 Class Period (provided, however, that the term “affiliate” or “affiliated with” shall not include

 Life Assets Trust S.A. Compartments VII and VIII); and any judge or judicial officer who may

 hear any aspect of this case, and his or her law clerks.

                The Postcard Notice, Long-Form Notice, Claim Form, Summary Notice, and

 notice methodology implemented pursuant to the Court’s Preliminary Approval Order entered

 ______________, 2022 (i) constituted the best practicable notice to potential Class Members,

 (ii) constituted notice that was reasonably calculated, under the circumstances, to apprise

 potential Class Members of the pendency of the Action, the effect of the Settlement Agreement

 (including the Releases), their right to object to the proposed Settlement, and their right to

 exclude themselves from the Class, and Class Members’ right to appear at the Fairness Hearing,

 (iii) were reasonable and constituted due, adequate, and sufficient notice to all persons or entities

 entitled to receive notice, and (iv) met all applicable requirements of the Federal Rules of Civil

 Procedure, the United States Constitution (including the Due Process Clause), the Rules of the

 Court, and any other applicable law.




                                                   2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 110 of 174 PageID #: 240




                The claims in the Action are dismissed on the merits and with prejudice according

 to the terms of the Settlement Agreement and the Approval Order, without costs to any party

 except as provided therein.

                The release, permanent injunction, and Complete Bar Order as set out in the

 Approval Order shall be effective as to all persons and entities identified in them.

                Neither the Approval Order nor this Judgment applies to the persons or entities

 who submitted timely and valid exclusion requests and are named on the list annexed as

 Exhibit 1.

                Without affecting the extent to which this Judgment and the Approval Order are

 final for purposes of any appeals, and subject to the Mediator’s ability to make final, binding,

 and nonappealable rulings as prescribed in the Settlement Agreement, this Court retains

 continuing and exclusive jurisdiction over the Action as to all matters relating to the

 administration, consummation, enforcement, and interpretation of the Settlement Agreement, the

 Judgment, and the Approval Order, and for any other reasonably necessary purposes.

                JUDGMENT in this Action is hereby entered in accordance with Federal Rule of

 Civil Procedure 58 this ___ day of ______________, 2022. The Clerk of Court is respectfully

 directed to mark this case closed.

         IT IS SO ORDERED.

                                                       ________________________________
                                                       United States Magistrate Judge




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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 111 of 174 PageID #: 241




                         EXHIBIT D
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 112 of 174 PageID #: 242




                                                                                    Please read it carefully.    PRESORTED
                                                                                                                 FIRST‐CLASS
                                                                                                                  MAIL U.S.
                                                                           VLF Securities Litigation            POSTAGE PAID
                                                                           c/o Strategic Claims Services
                                                                           P.O. Box 230
                                                                           600 N. Jackson Street, Ste. 205
                                       Court‐Ordered Legal Notice;         Media, PA 19063
                                      Forwarding Service Requested

                                    Important Notice about a Securities
                                         Class‐Action Settlement           [NAME 1]
                                                                           [NAME 2]
                                         You might be entitled to a        [NAME 3]
                                                 payment.                  [ADDRESS 1]
                                     This Notice might affect your legal   [ADDRESS 2]
                                                   rights.
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 113 of 174 PageID #: 243




                                                              Vida Longevity Fund Securities Litigation, Case No. 1:21-cv-00402-SRF (D. Del.)
                                                             THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                                                          VISIT STRATEGICCLAIMS.NET/VLF OR CALL 1-866-274-4004 FOR MORE INFORMATION.
                                    The U.S. District Court for the District of Delaware (the “Court”) has preliminarily approved a proposed Settlement of claims
                                    against Vida Longevity Fund, LP (“VLF”) and various affiliated entities and persons (collectively, “Defendants”). The proposed
                                    Settlement would resolve a class-action lawsuit alleging that Defendants made false or misleading misstatements or omissions about
                                    VLF’s valuation, valuation processes, and relations with affiliated parties. Defendants deny the allegations.
                                    You received this notice because you might have purchased or acquired direct or indirect VLF limited-partnership interests between
                                    January 1, 2017 and March 19, 2021, inclusive, and you might be a Settlement Class Member. The Settlement provides that, in
                                    exchange for dismissal and release of claims against Defendants, Defendants will pay $1,400,000. That amount, plus any interest
                                    earned, less attorneys’ fees and expenses and any Incentive Award, will be divided among Settlement Class Members who timely
                                    submit valid Claim Forms. The proposed Settlement amounts to approximately 5.4% of total estimated net out-of-pocket losses
                                    before deduction of any fees and expenses. The average estimated recovery per $1,000 dollars of damaged VLF Interests could be
                                    approximately $54 before deduction of any fees and expenses. The actual amount paid to eligible Class Members who participate
                                    in the Settlement could be more or less than that figure, depending on the number of persons who submit valid Claim Forms.
                                    Plaintiffs and Defendants disagree about how much would be recoverable if Plaintiffs prevailed on their claims. Plaintiffs believe
                                    that the proposed Settlement is fair, reasonable, and in the best interests of the Class considering the strengths and weaknesses of
                                    the claims, the uncertainties of complex litigation, and the concrete benefits provided by the Settlement. Defendants have agreed
                                    to settle to avoid the continuing burden and expense of this Action. For a full description of your rights and to make a claim, please
                                    review the Stipulation of Settlement and obtain a copy of the Notice of Pendency and Proposed Settlement of Securities Class
                                    Action (“Notice”) and Claim Form by visiting the website: www.strategicclaims.net/VLF (the “Website”). You may submit your
                                    claim online at the Website or request copies of the Notice and Claim Form by: (1) mail: VLF Securities Litigation, c/o Strategic
                                    Claims Services, P.O. Box 230, 600 N. Jackson Street, Ste. 205, Media, PA 19063; (2) toll-free call: (866) 274-4004; or (3) email:
                                    info@strategicclaims.net.
                                    To qualify for payment, you must submit a Claim Form, which can be found on the Website. Claim Forms are due by ______,
                                    2022, and should be mailed to the address above or submitted electronically through the Website. If you do not want to be legally
                                    bound by the Settlement, you must exclude yourself by _____, 2022. If you exclude yourself, you cannot get money from this
                                    Settlement. If you stay in the Settlement, you may object to it by _____, 2022. The Notice explains how to exclude yourself or to
                                    object.
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 114 of 174 PageID #: 244




                                                             Vida Longevity Fund Securities Litigation, Case No. 1:21-cv-00402-SRF (D. Del.)
                                                            THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                                                         VISIT STRATEGICCLAIMS.NET/VLF OR CALL 1-866-274-4004 FOR MORE INFORMATION.
                                    The Court will hold a hearing on _____, 2022, at __:00 _.m. (ET), at the United States District Court for the District of Delaware,
                                    844 North King Street, Wilmington, DE 19801-3555, Courtroom __, to consider whether to approve the Settlement, the Plan of
                                    Allocation, and a request by Lead Counsel for no more than 30% of the Settlement Amount for their attorneys’ fees, plus up
                                    to $50,000 in expenses, and an Incentive Award to Plaintiffs of no more than $30,000 ($10,000 per Plaintiff) for their time and
                                    expenses in pursuing the Action. The proposed attorneys’ fees and expenses represent approximately $19 per every $1,000 of
                                    damaged VLF Interests. Plaintiffs’ counsel is Alan L. Rosca, Rosca Scarlato, LLC, 23250 Chagrin Boulevard, Suite 100,
                                    Beachwood, Ohio 44122, (216) 946-7070. You may, but do not have to, attend the hearing and ask to be heard by the Court.
                                    The Court reserves the right to hold the Settlement Hearing telephonically or by other virtual means.




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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 115 of 174 PageID #: 245




                          EXHIBIT E
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 116 of 174 PageID #: 246

                                                                                     EXHIBIT E


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 TIMOTHY O’HERN, et al., Individually and on
 Behalf of All Others Similarly Situated,                No. 1:21-cv-00402-SRF

                                      Plaintiffs,

        v.

 VIDA LONGEVITY FUND, LP, et al.,

                                      Defendants.


            NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED
              SETTLEMENT; (II) SETTLEMENT FAIRNESS HEARING; AND
         (III) MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES

         A federal court authorized this Notice. This is not a solicitation from a lawyer.

 This notice is about the proposed settlement of a securities class action against Vida
 Longevity Fund and affiliated defendants. You might be a member of the class in that
 lawsuit, and you might be eligible to receive money under the proposed settlement.

 NOTICE OF PENDENCY OF CLASS ACTION: Your rights might be affected by the above-
 captioned securities class action (the “Action”) pending in the United States District Court for
 the District of Delaware (the “Court”) if you purchased or otherwise acquired limited partnership
 interests of Vida Longevity Fund, LP (“VLF”) during the period from January 1, 2017 through
 March 19, 2021, inclusive (the “Class Period”).1
 NOTICE OF SETTLEMENT: The Court-appointed class representatives, Timothy O’Hern, Semyon
 Rodkin, and Dominic Cardinale (“Plaintiffs”), on behalf of themselves and the Class (as defined
 in ¶ 18 below), have reached a proposed settlement of the Action for $1,400,000 in cash.
 PLEASE READ THIS NOTICE CAREFULLY. It explains important rights you might
 have, including the possible receipt of a payment from the Settlement. If you are a member
 of the Class, your legal rights will be affected whether or not you act.
 If you have any questions about this Notice, the proposed Settlement, or your eligibility to
 participate in it, please contact Class Counsel or the Claims Administrator (see ¶ 78 below). DO
 NOT contact the Court, VLF, the other Defendants, or their counsel.


 1
        All capitalized terms not defined in this Notice have the meanings given to them in the
 Settlement Agreement dated July 8, 2022. The Settlement Agreement is available at
 www.strategicclaims.net/VLF.
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 117 of 174 PageID #: 247




           1.    Description of the Action and the Class: This Notice relates to a proposed
 settlement of claims in a class action brought by investors alleging that VLF and certain
 affiliated entities and persons (collectively, “Defendants”) violated the Texas Securities Act by
 making false or misleading statements about VLF’s valuations, valuation methodology, and
 dealings with affiliated parties. A more detailed description of the Action is in ¶¶ 11-17 below.
 The proposed Settlement, if approved by the Court, will settle claims of the Class, as defined in
 ¶ 18 below.
          2.    Statement of the Class’s Recovery: Subject to Court approval, Plaintiffs, on
 behalf of themselves and the Class, have agreed to settle the Action in exchange for $1,400,000
 in cash (the “Settlement Amount”), to be deposited into an escrow account. The Net Settlement
 Amount (i.e., the Settlement Amount plus any interest earned (the “Settlement Fund”) less
 (i) any Tax Expenses; (ii) any Notice and Administrative Expenses; and (iii) any attorneys’ fees
 and expenses awarded by the Court, including any Incentive Award to Plaintiffs directly related
 to their representation of the Class) will be distributed to eligible Class Members in accordance
 with a Plan of Allocation that the Court approves. The proposed Plan of Allocation is in ¶¶ 45-
 61 below.
          3.    Estimate of Amount of Recovery: Plaintiffs’ damages expert calculated the
 estimated total out-of-pocket losses suffered by Class Members as $26 million. The proposed
 Settlement amounts to approximately 5.4% of estimated losses. That amount represents an
 estimated average recovery, before attorneys’ fees and expenses, of approximately $54 for each
 $1,000 of damaged VLF Interests purchased or acquired during the Class Period. That amount,
 however, is only an estimate. Distributions of settlement relief to eligible Class Members will be
 made based on the Plan of Allocation set forth below (see ¶¶ 45-61) or such other plan of
 allocation as the Court might order.
          4.   Estimated Amount of Potential Recovery: Plaintiffs and Defendants (the
 “Parties”) do not agree on the estimated amount that would be recoverable if Plaintiffs were to
 prevail in the Action. Among other things, Defendants do not agree with the claim that they
 violated the Texas securities laws or that any Class Members suffered any damages as a result of
 Defendants’ alleged conduct.
          5.   Attorneys’ Fees and Expenses Sought: Plaintiffs’ Counsel, which have been
 prosecuting the Action on a wholly contingent basis, have not received any payment of
 attorneys’ fees for their representation of the Class and have advanced the funds to pay expenses
 necessarily incurred to prosecute this Action. Plaintiffs’ Counsel will apply to the Court for an
 award of attorneys’ fees in an amount not to exceed 30% of the Settlement Amount, as well as
 for payment of expenses paid or incurred in connection with the institution, prosecution, and
 resolution of the Action in an amount not to exceed $50,000. Plaintiffs will apply for an
 Incentive Award, which will take into account the time they spent in pursuing the action as well
 as the reasonable costs and expenses they incurred directly related to their representation of the
 Class. The requested Incentive Award will not exceed $30,000 ($10,000 per Plaintiff). The
 proposed attorneys’ fees and expenses represent approximately $19 for each $1,000 of damaged
 VLF Interests purchased or acquired during the Class Period. Any fees and expenses that the
 Court awards to Plaintiffs’ Counsel and Plaintiffs will be paid from the Settlement Fund. Class
 Members are not personally liable for any such fees or expenses.



                                                 2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 118 of 174 PageID #: 248




         6.   Identification of Attorneys’ Representatives: Plaintiffs and the Class are
 represented by Class Counsel: Alan L. Rosca of Rosca Scarlato, LLC, 23250 Chagrin Blvd.,
 Suite 100, Beachwood, Ohio 44122, (216) 946-7070, arosca@rscounsel.law; and Paul Scarlato
 of Rosca Scarlato, 161 Washington Street, Suite 1025, Conshohocken, Pennsylvania 19428,
 (216) 946-7070, pscarlato@rscounsel.law.
          7.    Reasons for the Settlement: Plaintiffs’ main reasons for entering into the
 Settlement include the substantial and certain recovery for the Class without the risk or delays
 inherent in further litigation. The substantial recovery under the Settlement must be considered
 against the significant risk that a smaller recovery—or no recovery at all—might be achieved
 after contested motions, a trial, and the likely appeals that would follow. That process could last
 several years. Moreover, even if Plaintiffs could succeed in establishing liability, they would
 need to prove damages. VLF’s performance since the Action was filed has substantially reduced
 Plaintiffs’ original expectations about potential damages. Defendants, who deny all allegations
 of wrongdoing, are entering into the Settlement solely to eliminate the uncertainty, burden, and
 expense of further litigation.

             YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
 SUBMIT A CLAIM FORM                This is the only way to be eligible to receive a payment from
 POSTMARKED NO LATER                the Settlement. If you are a Class Member and you remain in
 THAN _____________, 2022.          the Class, you will be bound by the Settlement as approved
                                    by the Court, and you will give up any Released Class Claims
                                    (defined in ¶ 31 below) against Defendants and the other
                                    Releasees (defined in ¶ 32 below), so it is in your interest to
                                    submit a Claim Form.
  EXCLUDE YOURSELF                  If you exclude yourself from the Class, you will not be
  FROM THE CLASS BY                 eligible to receive any payment from the Settlement. This is
  SUBMITTING A WRITTEN              the only option that allows you ever to be part of any other
  REQUEST FOR                       lawsuit against any of the Defendants or the other Releasees
  EXCLUSION THAT IS                 concerning the Released Class Claims.
  RECEIVED NO LATER
  THAN _____________, 2022.
  OBJECT TO THE                     If you do not like the proposed Settlement, the proposed Plan
  SETTLEMENT BY                     of Allocation, the request for attorneys’ fees and expenses, or
  SUBMITTING A WRITTEN              the proposed Incentive Award to Plaintiffs, you may write to
  OBJECTION THAT IS                 the Court and explain why you do not like them. You cannot
  RECEIVED NO LATER                 object to any of those matters unless you are a Class Member
  THAN _____________, 2022.         and do not exclude yourself from the Class.




                                                 3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 119 of 174 PageID #: 249




  GO TO A HEARING ON              If you file a written objection and notice of intention to appear
  _____________, 2022 AT          by _____________, 2022, you may speak in Court, at the
  __:__ __.M. (ET), AND FILE      Court’s discretion, about the fairness of the proposed
  A NOTICE OF INTENTION           Settlement, the Plan of Allocation, and/or the request for
  TO APPEAR THAT IS               attorneys’ fees and expenses or the Incentive Award to
  RECEIVED NO LATER               Plaintiffs. If you submit a written objection, you may (but do
  THAN _____________, 2022.       not have to) attend the hearing and, at the Court’s discretion,
                                  speak about your objection. The Court may change the date
                                  of the Fairness Hearing and may also order that the Hearing
                                  be held by telephone or videoconference, in which case
                                  instructions about date, time, and how to participate will be
                                  posted on www.strategicclaims.net/VLF.
  DO NOTHING.                     If you are a member of the Class and you do not submit a
                                  valid Claim Form, you will not be eligible to receive any
                                  payment from the Settlement. You will, however, remain a
                                  member of the Class, which means that you give up your
                                  right to sue about the claims that are resolved by the
                                  Settlement, and you will be bound by any orders or judgment
                                  entered by the Court in the Action.



                            WHAT THIS NOTICE CONTAINS

 Why Did I Get This Notice?                                                           Page [__]
 What Is This Case About?                                                             Page [__]
 How Do I Know If I Am Affected By The Settlement?
    Who Is Included In Class?                                                         Page [__]
 What Are Plaintiffs’ Reasons For Settling?                                           Page [__]
 What Might Happen Without A Settlement?                                              Page [__]
 How Are Class Members Affected By The Action And The Settlement?                     Page [__]
 How Do I Participate In The Settlement? What Do I Need To Do?                        Page [__]
 How Much Will My Payment Be?                                                         Page [__]
 What Payment Are The Attorneys For The Class Seeking?
    How Will The Lawyers Be Paid?                                                     Page [__]
 What If I Do Not Want To Be A Member Of The Class?
    How Do I Exclude Myself?                                                          Page [__]
 When And Where Will The Court Decide Whether To Approve The
    Settlement? Do I Have To Participate In The Hearing? May I Speak At
    The Hearing If I Don’t Like The Settlement?                                       Page [__]
 What If I Bought Limited Partnership Interests On Someone Else’s Behalf?             Page [__]
 Can I See The Court File? Whom Should I Contact If I Have
    Questions?                                                                        Page [__]




                                               4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 120 of 174 PageID #: 250




                               WHY DID I GET THIS NOTICE?

           8. The Court directed that you be notified of the proposed Settlement because you or
 someone in your family or an investment account for which you serve as a custodian might have
 purchased or otherwise acquired VLF Interests (limited partnership interests in VLF, purchased
 either directly, or indirectly through Life Assets Trust S.A. Compartments VII and VIII, pursuant
 to an offering of those limited partnership interests) during the Class Period (January 1, 2017
 through March 19, 2021, inclusive). You therefore might be a Class Member in this Action, so
 you have a right to know about your options before the Court rules on the Settlement. You also
 are entitled to understand how this class action might generally affect your legal rights.
           9. This Notice is to inform you of the existence of this case, that it is a class action,
 how you might be affected by it, and how to exclude yourself from the Class if you wish to do
 so. The Notice is also to inform you of the terms of the proposed Settlement, of your right to
 object to it, and of a court hearing to consider the fairness, reasonableness, and adequacy of the
 Settlement, the proposed Plan of Allocation, Plaintiffs’ Counsel’s motion for attorneys’ fees and
 litigation expenses, and Plaintiffs’ application for an Incentive Award (the “Fairness Hearing”).
 See ¶¶ 68-71 below for details about the Fairness Hearing.
          10. This Notice is not an expression of any opinion by the Court concerning the merits
 of any claim in the Action, and the Court still has to decide whether to approve the Settlement.
 If the Court approves the Settlement and a Plan of Allocation, payments to Authorized Claimants
 will be made after any appeals are resolved and after the completion of all claims processing.
 Please be patient, as this process can take some time to complete.

                                WHAT IS THIS CASE ABOUT?

          11. VLF is a limited partnership that invests in life-settlement assets. Plaintiffs allege
 that, during the Class Period, VLF’s offering materials made false or misleading statements and
 omissions that inflated the price or value of VLF Interests. Defendants deny those allegations.
          12. On March 19, 2021, Plaintiffs filed a class-action complaint in the Court asserting
 claims under the Texas Securities Act against VLF, its general partner, the general partner’s
 control person, and other persons and entities affiliated with them. The Complaint charges that
 VLF’s performance began to deteriorate in 2018 and that VLF attributed that performance to
 certain one-time or extrinsic events, but failed to disclose that its losses had resulted from
 weaknesses in VLF’s internal processes and procedures for evaluating and pricing the fund’s
 investments. VLF also allegedly failed to disclose supposed conflicts of interest involving its
 founder.
         13. Pursuant to the Parties’ and the Court’s agreement, Defendants did not respond to
 the Complaint. Instead, the Parties decided to explore whether they could resolve the case
 without expensive, time-consuming, and burdensome litigation.
         14. The Parties participated in a full-day mediation on October 14, 2021 with Jed D.
 Melnick, Esq., of JAMS (the “Mediator”), but did not reach an agreement. After further
 discussions over the next several months, the Parties signed an agreement in principle on
 January 5, 2022 to settle the Action for $1,400,000, subject to certain terms and conditions,

                                                 5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 121 of 174 PageID #: 251




 including execution of a formal settlement agreement, Plaintiffs’ conducting Due-Diligence
 Discovery, and approval by the Court.
        15. On July 8, 2022, the Parties entered into the Settlement Agreement, which contains
 the complete terms and conditions of the Settlement. The Settlement Agreement is available at
 www.strategicclaims.net/VLF. You should read it if you want a full understanding of its terms.
          16. The Settlement Agreement was subject to Plaintiffs’ completion of Due-Diligence
 Discovery to confirm the fairness of the Settlement. Pursuant to the Settlement Agreement,
 Plaintiffs could withdraw from and terminate the Settlement if information produced during Due-
 Diligence Discovery caused them reasonably and in good faith to conclude that the proposed
 Settlement was not fair, reasonable, and adequate. After conducting that discovery, Plaintiffs
 chose to proceed with the Settlement.
         17. On _____________, 2022, the Court preliminarily approved the Settlement,
 authorized notice to be disseminated to potential Class Members, and scheduled the Fairness
 Hearing to consider whether to grant final approval of the Settlement.

            HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                      WHO IS INCLUDED IN THE CLASS?

         18. If you are a member of the Class, you are subject to the Settlement unless you
 timely and validly request to be excluded from it. The Class consists of:
    all persons and entities who, during the period from January 1, 2017 through
    March 19, 2021, inclusive (the “Class Period”), purchased or otherwise acquired VLF
    limited partnership interests, either directly, or indirectly through Life Assets Trust
    S.A. Compartments VII and/or VIII, pursuant to an offering of those partnership
    interests.

 Excluded from the Class are:

    a. such persons or entities who submit valid and timely requests for exclusion from the
       Class (for information on how to request exclusion, see “What If I Do Not Want To
       Be A Member Of The Class? How Do I Exclude Myself?” on page __ below);
    b. such persons or entities who, while represented by counsel, settled an actual or
       threatened lawsuit or other proceeding against one or more of the Releasees (defined
       below in ¶ 32) arising out of or related to the Released Class Claims (defined below
       in ¶ 31); and
    c. Defendants; the agents or employees of Defendants; any person, firm, trust,
       corporation, or other entity related to or affiliated with any of the Defendants during
       the Class Period (provided, however, that the term “affiliate” or “affiliated with” does
       not include Life Assets Trust S.A. Compartments VII and VIII); and any judge or
       judicial officer who may hear any aspect of this case, and his or her law clerks.
 PLEASE NOTE: Receipt of this Notice does not mean that you are a Class Member or
 that you will be entitled to a payment from the Settlement.



                                                 6
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 122 of 174 PageID #: 252




 If you are a Class Member and you wish to be eligible to receive a payment from the
 Settlement, you must submit the Claim Form that is available with this Notice, as well as
 the required supporting documentation described in the Claim Form, postmarked no later
 than _____________, 2022.

                  WHAT ARE PLAINTIFFS’ REASONS FOR SETTLING?

          19. Plaintiffs and Plaintiffs’ Counsel believe that the claims asserted against
 Defendants have merit. They recognize, however, the difficulties, expense, and length of
 continued proceedings necessary to pursue their claims through motion practice, trial, and
 appeal, as well as the risks they would face in establishing liability and damages.
          20. Without a settlement, Defendants would move to dismiss the Complaint, and
 Plaintiffs would face significant hurdles in defeating that motion. But even if Plaintiffs were to
 succeed in doing so, they would face additional challenges in developing facts to survive
 summary judgment or to prove Defendants’ liability at trial. Plaintiffs would face challenges
 showing that Defendants’ statements about VLF’s valuations and valuation processes were
 materially false or misleading. Defendants likely would contend that, because VLF’s life-
 settlement assets do not have objectively ascertainable market values, valuations of those assets
 are inherently subjective, and Defendants did not misrepresent their opinions or beliefs about
 those assets. Defendants also would likely contend that they adhered to and did not misrepresent
 the valuation processes and methodologies described in VLF’s offering materials, that they used
 reputable and independent valuation agents and auditors, and that the alleged relationships
 between VLF and its founder were sufficiently disclosed.
          21. Moreover, even if Plaintiffs could succeed in establishing liability, they would
 need to prove damages. VLF’s performance since the Action was filed has substantially reduced
 Plaintiffs’ original expectations about potential damages.
          22. In light of these risks, the amount of the Settlement, the immediacy of recovery to
 the Class, and the Due-Diligence Discovery that Plaintiffs conducted, Plaintiffs and Plaintiffs’
 Counsel believe that the proposed Settlement is fair, reasonable, and adequate, and in the best
 interests of the Class. They believe that the Settlement provides a substantial benefit to the
 Class, namely $1,400,000 in cash (less the various deductions described in this Notice), as
 compared to the risk that the claims in the Action could produce a smaller recovery, or no
 recovery, after motion practice, potential trial, and appeal, possibly years in the future.
         23. Defendants deny the claims asserted against them and deny that the Class was
 harmed by or suffered any damages from the conduct alleged in the Action. Defendants have
 agreed to the Settlement solely to eliminate the burden and expense of continued litigation.
 Accordingly, the Settlement may not be construed as an admission of any wrongdoing by
 Defendants.

                  WHAT MIGHT HAPPEN WITHOUT A SETTLEMENT?

   24.         If there were no Settlement, and if Plaintiffs failed to establish any essential legal
 or factual element of their claims, neither Plaintiffs nor the other members of the Class would
 recover anything from Defendants. Also, if Defendants were successful on a motion to dismiss

                                                  7
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 123 of 174 PageID #: 253




 or in proving any of their defenses at summary judgment, at trial, or on appeal, the Class could
 recover substantially less than the amount provided in the Settlement, or nothing at all.

                         HOW ARE CLASS MEMBERS AFFECTED
                        BY THE ACTION AND THE SETTLEMENT?

          25. As a Class Member, you are represented by Plaintiffs and Class Counsel, unless
 you enter an appearance through counsel of your own choice at your own expense. You do not
 need to retain your own counsel, but, if you choose to do so, he or she must file a notice of
 appearance on your behalf and must serve copies of that notice on the attorneys listed in the
 section titled “When And Where Will The Court Decide Whether To Approve The Settlement?,”
 below.
          26. If you are a Class Member and wish to remain in the Class, you may file a claim
 for money from the Settlement Fund by following the instructions in the section titled “How Do I
 Participate In The Settlement? What Do I Need To Do?,” below.
        27. If you are a potential Class Member and do not wish to remain in the Class, you
 may exclude yourself from the Class by following the instructions in the section titled “What If I
 Do Not Want To Be A Member Of The Class? How Do I Exclude Myself?,” below.
          28. If you are a Class Member and wish to object to the Settlement, the Plan of
 Allocation, Plaintiffs’ Counsel’s application for attorneys’ fees and expenses, or Plaintiffs’
 application for an Incentive Award, and if you do not exclude yourself from the Class, you may
 present your objections by following the instructions in the section titled “When And Where Will
 The Court Decide Whether To Approve The Settlement?,” below.
          29. If you are a Class Member and do not exclude yourself from the Class, you will be
 bound by any orders issued by the Court even if you have pending or later file any claim or
 lawsuit against the Releasees (as defined in ¶ 32 below) relating to the Released Class Claims (as
 defined in ¶ 31 below). If the Settlement is approved, the Court will enter a final approval order
 (the “Approval Order”) and a judgment (the “Judgment”). The Approval Order and Judgment
 will dismiss with prejudice the claims against Defendants and will provide that, upon the Final
 Settlement Date, Plaintiffs and all other Class Members, on behalf of themselves and their
 respective heirs, executors, administrators, predecessors, successors, and assigns, in their
 capacities as such (the “Releasors”), or any person purporting to assert a Released Class Claim
 on behalf of, for the benefit of, or derivatively for any such Releasors, for good and sufficient
 consideration, the receipt and adequacy of which are hereby acknowledged, shall be deemed to
 have, and by operation of law and of the Approval Order and Judgment shall have, fully, finally,
 and forever released, relinquished, settled, and discharged:
   a.   all Released Class Claims (as defined in ¶ 31 below) against each and every one of the
        Releasees (as defined in ¶ 32 below);

   b.   all Claims, damages, and liabilities as to each and every one of the Releasees to the extent
        that any such Claims, damages, or liabilities relate in any way to any or all acts,
        omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written
        statements or representations in connection with, or directly or indirectly relating to,
        (i) the prosecution, defense, or settlement of the Action, (ii) the Settlement Agreement or

                                                 8
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 124 of 174 PageID #: 254




        its implementation, (iii) the Settlement terms and their implementation, (iv) the provision
        of notice in connection with the proposed Settlement, and/or (v) the resolution of any
        Claim Forms submitted in connection with the Settlement; and

   c.   all Claims against any of the Releasees for attorneys’ fees, costs, or disbursements
        incurred by Plaintiffs’ Counsel or any other counsel representing Plaintiffs (including,
        without limitation, Labaton Sucharow LLP) or any other Class Member in connection
        with or related in any manner to the Action, the settlement of the Action, or the
        administration of the Action and/or its Settlement, except to the extent otherwise
        specified in the Settlement Agreement.

         30. In addition, the Judgment and Approval Order will provide that:
   a.   all Class Members (and their attorneys, accountants, agents, advisors, heirs, executors,
        administrators, trustees, predecessors, successors, Affiliates, representatives, and assigns)
        who have not validly and timely requested exclusion from the Class – and anyone else
        purporting to act on behalf of, for the benefit of, or derivatively for any of such persons
        or entities – are permanently enjoined from filing, commencing, prosecuting, intervening
        in, participating in (as class members or otherwise), or receiving any benefit or other
        relief from any other lawsuit, arbitration, or administrative, regulatory, or other
        proceeding (as well as a motion or complaint in intervention in the Action if the person or
        entity filing such motion or complaint in intervention purports to be acting as, on behalf
        of, for the benefit of, or derivatively for any of the above persons or entities) or order, in
        any jurisdiction or forum, as to the Releasees based on or relating to the Released Class
        Claims; and
   b.   all persons and entities are permanently enjoined from filing, commencing, or
        prosecuting any other lawsuit as a class action (including by seeking to amend a pending
        complaint to include class allegations or by seeking class certification in a pending action
        in any jurisdiction) or other proceeding on behalf of any Class Members as to the
        Releasees, if such other lawsuit is based on or related to the Released Class Claims.

          31. “Released Class Claims” means each and every Claim that existed as of, on, or
 before the Execution Date and that Plaintiffs or any other Class Member (i) asserted against any
 of the Releasees in the Action (including all Claims alleged in the Complaint) or (ii) could have
 asserted or could assert against any of the Releasees arising out of or relating to any of the
 Operative Facts (as defined in the Stipulation of Settlement) or any alleged statements about,
 mischaracterizations of, or omissions concerning them, whether arising under any federal, state,
 or other statutory or common-law rule or under any foreign law, in any court, tribunal, agency, or
 other forum, if such Claim also arises out of or relates to the purchase or other acquisition of
 VLF Interests, or to any other Investment Decision, during the Class Period; provided, however,
 that the term “Released Class Claims” does not include (i) any Suitability Claim, (ii) any claims
 asserted in any shareholder derivative action on behalf of VLF, or (iii) any claims to enforce the
 Settlement Agreement

         32. “Releasees” means VLF; the other Defendants; Defendants’ Affiliates; each of
 Defendant’s current and former officers, directors, employees, agents, representatives, counsel,
 advisors, administrators, accountants, accounting advisors, auditors, consultants, assigns,

                                                  9
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 125 of 174 PageID #: 255




 assignees, beneficiaries, representatives, partners, successors-in-interest, insurance carriers,
 reinsurers, parents, affiliates, subsidiaries, successors, predecessors, fiduciaries, service
 providers, and investment bankers; and other certain persons and entities affiliated with or
 related to them. The full definition of Releasees is set forth in the Settlement Agreement,
 available at www.strategicclaims.net/VLF.
          33. The Judgment and Approval Order will also provide that, upon the Final
 Settlement Date, all Releasees, and anyone purporting to act on behalf of, for the benefit of, or
 derivatively for any of them, are permanently enjoined from commencing, prosecuting,
 intervening in, or participating in any claims or causes of action relating to Released Releasees’
 Claims.
          34. “Released Releasees Claims” means each and every Claim that has been, could
 have been, or could be asserted in the Action or in any other proceeding by any Releasee
 (including Defendants and their successors and assigns), or his, her, or its respective estates,
 heirs, executors, agents, attorneys (including in-house counsel, outside counsel, and Defendants’
 Counsel), beneficiaries, accountants, professional advisors, trusts, trustees, administrators, and
 assigns, against Plaintiffs, any other Class Members, or any of their respective attorneys
 (including, without limitation, Plaintiffs’ Counsel), and that arises out of or relates in any way to
 the initiation, prosecution, or settlement of the Action or the implementation of the Settlement
 Agreement; provided, however, that Released Releasees’ Claim shall not include any Claim to
 enforce the Settlement Agreement.

    HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?

          35. To be eligible for a payment from the Settlement, you must be a member of the
 Class and must timely complete and return the Claim Form with adequate supporting
 documentation postmarked no later than __________, 2022. A Claim Form is available with
 this Notice, or you may obtain one from the website maintained by the Claims Administrator for
 the Settlement, www.strategicclaims.net/VLF. You may also request that a Claim Form be
 mailed to you by calling the Claims Administrator toll-free at 1-866-274-4004 or by emailing the
 Claims Administrator at info@strategicclaims.net. Please retain all records of your ownership of
 and transactions in VLF Interests, as they will be needed to document your Claim. The Parties
 and the Claims Administrator might not have information about your transactions in VLF
 Interests.
        36. If you request exclusion from the Class or do not submit a timely and valid Claim
 Form, you will not be eligible to share in the Net Settlement Amount. You should not submit a
 Claim Form if you request exclusion from the Class.
          37. Unless the Court otherwise orders, any Class Member who fails to submit a Claim
 Form postmarked on or before _____________, 2022 will be fully and forever barred from
 receiving payments pursuant to the Settlement, but will in all other respects remain a member of
 the Class and be bound by the provisions of the Settlement Agreement, including the terms of
 any Judgment entered and the releases given. This means that each Class Member releases the
 Released Class Claims (as defined in ¶ 31 above) against the Releasees (as defined in ¶ 32
 above) and will be barred and enjoined from prosecuting any of the Released Class Claims
 against any of the Releasees whether or not such Class Member submits a Claim Form.

                                                  10
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 126 of 174 PageID #: 256




         38. The Court has reserved jurisdiction to allow, disallow, or adjust on equitable
 grounds the Claim of any Class Member.
           39. Each Claimant shall be deemed to have submitted to the jurisdiction of the Court
 as to his, her, or its Claim Form.

                            HOW MUCH WILL MY PAYMENT BE?

       40. At this time, it is not possible to determine to how much any individual Class
 Member might receive from the Settlement.
          41. Pursuant to the Settlement, Defendants have agreed to pay or cause to be paid a
 total of $1,400,000 in cash (the “Settlement Amount”). The Settlement Amount will be
 deposited into an escrow account. The Settlement Amount plus any interest earned on it is called
 the “Settlement Fund.” If the Settlement is approved by the Court, and if the Final Settlement
 Date occurs, the “Net Settlement Amount” (that is, the Settlement Fund less (i) any Tax
 Expenses, (ii) any Notice and Administrative Expenses, and (iii) any attorneys’ fees and
 expenses awarded to Plaintiffs’ Counsel and any Incentive Award to Plaintiffs) will be
 distributed to Class Members who submit valid Claim Forms, in accordance with the proposed
 Plan of Allocation or such other plan of allocation as the Court might approve.
          42. The Net Settlement Amount will not be distributed unless and until the Court has
 approved the Settlement and a Plan of Allocation, and the time for any petition for rehearing,
 appeal, or review, whether by certiorari or otherwise, has expired.
         43. Defendants are not entitled to get back any portion of the Settlement Fund once the
 Court’s order or judgment approving the Settlement becomes Final. Defendants shall not have
 any liability, obligation, or responsibility for the administration of the Settlement, the
 disbursement of the Net Settlement Amount, or the Plan of Allocation.
        44. Approval of the Settlement is independent from approval of a Plan of Allocation.
 Any determination about a Plan of Allocation will not affect the Settlement, if approved.
                              PROPOSED PLAN OF ALLOCATION
         45. The Plan of Allocation seeks to distribute the Net Settlement Amount fairly to
 those Class Members who filed timely, valid Claim Forms and suffered economic loss as a result
 of the alleged violations of the Texas securities laws. Calculations made under the Plan of
 Allocation are not intended to be estimates of, or indicative of, the amounts that Class Members
 might have been able to recover after a trial. Nor are those calculations intended to be estimates
 of the amounts that will be paid to Authorized Claimants under the Settlement. Computations
 under the Plan of Allocation are only a method to weigh the claims of Claimants against one
 another for the purposes of making pro rata allocations of the Net Settlement Amount.
          46. For losses to be compensable damages under the Texas securities laws, the
 disclosure of the allegedly misrepresented information must have been the cause of the decline in
 the price or value of the VLF Interests. In this case, Plaintiffs allege that Defendants made false
 statements and omitted material facts that had the effect of artificially inflating the price or value
 of VLF Interests.



                                                  11
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 127 of 174 PageID #: 257




         47. In developing the Plan of Allocation, Plaintiffs’ damages expert calculated the
 estimated total out-of-pocket losses allegedly suffered by Class Members.
          48. Recognized Loss Amounts for transactions in VLF Interests are calculated under
 the Plan of Allocation as explained in ¶ 50 below.
                   CALCULATION OF RECOGNIZED LOSS AMOUNTS
           49. Based on the formula stated below, a “Recognized Loss Amount” will be
 calculated for each purchase of VLF Interests during the Class Period that is listed on the Claim
 Form and for which adequate documentation is provided. If a Recognized Loss Amount
 calculates to a negative number or zero under the formula below, the Recognized Loss Amount
 for that transaction will be zero.
         50. Each Authorized Claimant will be allocated a pro rata share of the Net Settlement
 Amount based on his, her, or its Recognized Loss Amount as compared to the total Recognized
 Loss Amounts of all Authorized Claimants. Recognized Loss Amounts will be calculated as
 follows for VLF Interests purchased or acquired (including free receipts) during the Class
 Period:
              For VLF Interests sold, redeemed, or otherwise disposed of before ___________
               (the end of the quarter preceding the initially scheduled date for the Fairness
               Hearing), the Recognized Loss Amount is the dollar amount invested in those
               specific VLF Interests during the Class Period less the dollar value received from
               the sale, redemption, or other disposition of those VLF Interests.
              For VLF Interests still held as of _______________ (the end of the quarter
               preceding the initially scheduled date for the Fairness Hearing), the Recognized
               Loss Amount is the dollar amount invested in VLF Interests during the Class
               Period less the dollar value of those VLF Interests still held as of the last day of
               the quarter preceding the initially scheduled date for the Fairness Hearing, as
               reflected on your quarterly statement.
                                 ADDITIONAL PROVISIONS

        51. The Net Settlement Amount will be allocated among all Authorized Claimants
 whose Distribution Amount (defined in ¶ 57 below) is $10.00 or greater.
         52. Calculation of Claimant’s “Recognized Claim”: A Claimant’s “Recognized
 Claim” will be the sum of his, her, or its Recognized Loss Amounts as calculated above for all
 purchases of VLF Interests during the Class Period.
          53. FIFO Matching: If a Class Member made more than one purchase/acquisition or
 sale/redemption of VLF Interests during the Class Period, all purchases/acquisitions and
 sales/redemptions will be matched on a First In, First Out (“FIFO”) basis. Class Period
 sales/redemptions will be matched first against any holdings of VLF Interests at the beginning of
 the Class Period, and then against purchases/acquisitions in chronological order, beginning with
 the earliest purchase/acquisition made during the Class Period.
         54. “Purchase/Sale” Dates: Purchases of VLF Interests will be deemed to have
 occurred on the date when a limited partner was admitted to VLF, as opposed to the payment
 date. Redemptions of VLF Interests will be deemed to have occurred on the applicable

                                                 12
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 128 of 174 PageID #: 258




 redemption date, and sales of VLF Interests will be deemed to have occurred on the date when
 the transferee was admitted to VLF. “Purchases” eligible under the Settlement and this Plan of
 Allocation include all purchases or other acquisitions of VLF Interests in exchange for value, as
 long as the purchase is adequately documented. However, the receipt or grant of VLF Interests
 by gift, inheritance, or operation of law during the Class Period shall not be deemed a purchase
 or sale/redemption for the calculation of a Claimant’s Recognized Loss Amount; nor shall the
 receipt or grant be deemed an assignment of any claim relating to the purchase/sale of the VLF
 Interests unless (i) the donor or decedent purchased the VLF Interests during the Class Period;
 (ii) the instrument of gift or assignment specifically provides that it is intended to transfer such
 rights; and (iii) no Claim was submitted by or on behalf of the donor, the decedent, or anyone
 else as to those VLF Interests.
          55. Total Gains and Losses: The Claims Administrator will determine whether the
 Claimant had a “Total Gain” or a “Total Loss” on his, her, or its overall transactions in VLF
 Interests during the Class Period based on the calculation of Recognized Loss Amounts as
 defined in ¶ 50 above.
          56. If a Claimant had a Total Gain from his, her, or its overall transactions in VLF
 Interests, the value of the Claimant’s Recognized Claim will be zero, and the Claimant will not
 be eligible to receive a payment in the Settlement, but will nonetheless be bound by the
 Settlement. If a Claimant suffered an overall Total Loss from his, her, or its overall transactions
 in VLF Interests, but that Total Loss was less than the Claimant’s Recognized Claim, then the
 Claimant’s Recognized Claim will be limited to the amount of the Total Loss.
          57. Determination of Distribution Amount: The Net Settlement Amount will be
 distributed to Authorized Claimants on a pro rata basis based on the relative size of their
 Recognized Claims. A “Distribution Amount” will be calculated for each Authorized Claimant.
 That Distribution Amount shall be the Authorized Claimant’s Recognized Claim divided by the
 total Recognized Claims of all Authorized Claimants, multiplied by the total amount in the Net
 Settlement Amount.
         58. If an Authorized Claimant’s Distribution Amount calculates to less than $10.00, it
 will not be included in the calculation, and no distribution will be made to that Authorized
 Claimant.
          59. After the initial distribution of the Net Settlement Amount, the Claims
 Administrator will make reasonable and diligent efforts to have Authorized Claimants cash their
 distribution checks. If any monies remain after the initial distribution, and if Class Counsel, in
 consultation with the Claims Administrator, determine that an additional distribution would be
 cost-effective, the Claims Administrator, no less than seven (7) months after the initial
 distribution, will redistribute the funds remaining after payment of any unpaid fees and expenses
 incurred in administering the Settlement, including for such redistribution, to Authorized
 Claimants who cashed their initial distributions and would receive at least $10.00 from such
 redistribution. Additional redistributions to Authorized Claimants who cashed their prior checks
 and would receive at least $10.00 in such additional redistributions may occur thereafter if Class
 Counsel, in consultation with the Claims Administrator, determine that additional redistributions,
 after the deduction of any additional fees and expenses incurred in administering the Settlement
 (including for such redistributions), would be cost-effective. At such time as it is determined
 that the redistribution of any remaining funds would not be cost-effective, Class Counsel will

                                                 13
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 129 of 174 PageID #: 259




 distribute the remaining amount to one or more nonprofit organizations to be agreed upon by the
 Settling Parties and approved by the Court.
          60. Payment pursuant to the proposed Plan of Allocation, or such other plan of
 allocation as the Court may approve, will be conclusive against all Claimants. No person or
 entity shall have any claim against the Settling Parties, their respective counsel, any other
 Releasees, the Claims Administrator, or any other agent designated by Class Counsel arising
 from distributions made substantially in accordance with the Settlement Agreement, the Plan of
 Allocation approved by the Court, or any order of the Court. The Settling Parties, their
 respective counsel, and all other Releasees shall have no liability whatsoever for the investment
 or distribution of the Settlement Fund or the Net Settlement Amount, any Plan of Allocation, or
 the determination, administration, calculation, or payment of any claim or nonperformance of the
 Claims Administrator, the payment or withholding of taxes (including interest and penalties)
 owed by the Settlement Fund, or any losses incurred in connection therewith.
         61. The Plan of Allocation set forth herein is the plan that Plaintiffs, after consultation
 with their damages expert, are proposing to the Court for approval. The Court may approve this
 plan as proposed, or it may modify the Plan of Allocation without further notice to the Class.
 Any Orders regarding any modification of the Plan of Allocation will be posted on the case
 website, www.strategicclaims.net/VLF.

        WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?
                   HOW WILL THE LAWYERS BE PAID?

           62. Plaintiffs’ Counsel have not received any payment for their services in pursuing
 claims against Defendants on behalf of the Class; nor have Plaintiffs’ Counsel been paid for their
 litigation expenses. Before final approval of the Settlement, Plaintiffs’ Counsel will apply to the
 Court for an award of attorneys’ fees in an amount not to exceed 30% of the Settlement Amount.
 Plaintiffs’ Counsel have a retention agreement with Plaintiffs that provides for a contingency fee
 to be awarded to Plaintiffs’ Counsel after approval by the Court. When they file a motion for
 attorneys’ fees, Plaintiffs’ Counsel will also apply for payment of litigation expenses paid or
 incurred by Plaintiffs’ Counsel in an amount not to exceed $50,000, and for an Incentive Award
 to Plaintiffs directly related to their representation of the Class, in an amount not to exceed
 $30,0000 ($10,000 per Plaintiff). The Court will determine the amount of any award of
 attorneys’ fees and expenses to Plaintiffs’ Counsel or any Incentive Award to Plaintiffs.
 Whatever amounts the Court might approve will be paid from the Settlement Fund. Class
 Members will not be personally liable for any such fees or expenses.

            WHAT IF I DO NOT WANT TO BE A MEMBER OF THE CLASS?
                         HOW DO I EXCLUDE MYSELF?

          63. Each Class Member will be bound by all determinations and judgments in this
 lawsuit, whether favorable or unfavorable, unless such person or entity mails or delivers a
 written Request for Exclusion from the Class, addressed to VLF Securities Litigation,
 EXCLUSIONS, c/o Strategic Claims Services, P.O. Box 230, 600 N. Jackson Street, Suite 205,
 Media, PA 19063. The Request for Exclusion must be received no later than _____________,
 2022. You will not be able to exclude yourself from the Class after that date.

                                                 14
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 130 of 174 PageID #: 260




          64. A potential Class Member’s request for exclusion must include the following
 information: (i) name, (ii) address, (iii) telephone number, (iv) email address, if available, (v) a
 statement that the potential Class Member wishes to request exclusion from the Class in O’Hern
 v. Vida Longevity Fund, LP, No. 1:21-cv-00402-SRF (D. Del.), (vi) the dollars subscribed to
 VLF Interests held as of the beginning of the day on January 1, 2017, (vii) the dollars subscribed
 to VLF Interests purchased or otherwise acquired between January 1, 2017 through the end of
 the day on March 19, 2021, (viii) the dollar value of VLF Interests sold or redeemed between
 January 1, 2017 and ___________ (the end of the quarter preceding the initially scheduled date
 for the Fairness Hearing), (ix) the date of each such transaction involving each such VLF
 Interest, (x) account statements verifying all such transactions, and (xi) the signature of the
 person or entity requesting exclusion or of an authorized representative. A Request for
 Exclusion shall not be valid and effective unless it provides all the information called for in this
 paragraph and is received within the time stated above, or is otherwise accepted by the Court.
          65. If you do not want to be part of the Class, you must follow these instructions for
 exclusion even if you have pending, or later file, another lawsuit, arbitration, or other proceeding
 relating to any Released Class Claim against any of the Releasees.
        66. If you ask to be excluded from the Class, you will not be eligible to receive any
 payment from the Net Settlement Amount.
         67. Defendants have the right to terminate the Settlement if valid requests for
 exclusion are received from persons and entities entitled to be members of the Class in an
 amount that exceeds an amount agreed to by the Settling Parties.

  WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
SETTLEMENT? DO I HAVE TO PARTICIPATE IN THE HEARING? MAY I SPEAK AT
           THE HEARING IF I DON’T LIKE THE SETTLEMENT?

          68. The Fairness Hearing will be held on _____________, 2022 at __:__ _.m. (ET),
 before Magistrate Judge Sherry R. Fallon, either in-person at the United States District Court for
 the District of Delaware, J. Caleb Boggs Federal Building, 844 North King Street, Wilmington,
 Delaware 19801-3555, Courtroom __, or by telephone or video, to determine, among other
 things, (i) whether the proposed Settlement as provided for in the Settlement Agreement is fair,
 reasonable, and adequate to the Class and should be finally approved; (ii) whether, for purposes
 of the Settlement only, the Action should be certified as a class action on behalf of the Class,
 Plaintiffs should be certified as representatives for the Class, and Class Counsel should be
 appointed as counsel for the Class; (iii) whether the Action should be dismissed with prejudice
 against Defendants and whether the Releases specified in the Settlement Agreement (and in this
 Notice) should be granted; (iv) whether the proposed Plan of Allocation should be approved as
 fair and reasonable; (v) whether Plaintiffs’ Counsel’s motion for attorneys’ fees and expenses
 and Plaintiffs’ motion for an Incentive Award should be approved; and (vi) any other matters that
 may properly be brought before the Court in connection with the Settlement. The Court reserves
 the right to certify the Class; approve the Settlement, the Plan of Allocation, Plaintiffs’ Counsel’s
 motion for attorneys’ fees and expenses, and Plaintiffs’ application for an Incentive Award;
 and/or consider any other matter related to the Settlement at or after the Fairness Hearing without
 further notice to the members of the Class.


                                                  15
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 131 of 174 PageID #: 261




          69. Please Note: The date and time of the Fairness Hearing may change without
 further written notice to the Class. In addition, the Court might decide to conduct the Fairness
 Hearing by telephonic or video conference, or otherwise allow counsel for the Parties and for
 Class Members to appear at the hearing by phone or video, without further written notice to the
 Class. To determine whether the date and time of the Fairness Hearing have changed, or
 whether Class Members must or may participate by phone or video, you should monitor
 the Court’s docket and the Settlement website, www.strategicclaims.net/VLF, before
 making plans to attend the Fairness Hearing in person. Any updates about the Fairness
 Hearing, including any changes to the date or time of the hearing or updates about in-person,
 telephonic, or video appearances at the hearing, will be posted to the Settlement website,
 www.strategicclaims.net/VLF. Also, if the Court requires or allows Class Members to
 participate in the Fairness Hearing by telephone or video, the information for accessing the
 hearing will be posted to the website.
         70. Class Members do not need to participate in the Fairness Hearing. The Court will
 consider any submission made in accordance with the provisions below even if a Class Member
 does not speak at or otherwise observe the hearing. You can participate in the Settlement
 without attending the Fairness Hearing. You do not need to appear at the Fairness Hearing or
 take any other action to show your approval of the Settlement.
          71. Any Class Member who does not request exclusion from the Class may object to
 the Settlement, the proposed Plan of Allocation, Plaintiffs’ Counsel’s motion for attorneys’ fees
 and expenses, or Plaintiffs’ application for an Incentive Award. Objections must be in writing.
 You must file any written objection, together with copies of all other papers and briefs
 supporting the objection, with the Clerk’s Office at the United States District Court for the
 District of Delaware at the address set forth below on or before _____________, 2022. You
 must also serve the papers on Class Counsel and Defendants’ Counsel at the addresses set forth
 below so that the papers are received on or before _____________, 2022.

      Clerk’s Office                   Class Counsel                   Defendants’ Counsel

   Clerk of Court                  Alan L. Rosca, Esq.               Joshua M. Newville, Esq.
   United States District Court    Rosca Scarlato, LLC               Proskauer Rose LLP
    for the District of Delaware   23250 Chagrin Blvd., Suite 100    11 Times Square
   J. Caleb Boggs Federal          Beachwood, OH 44122               New York, NY 10036-
    Building                                                         8299
   844 North King Street
   Wilmington, DE 19801-3555

 You must also email the objection and any supporting papers on or before ________, 2022 to
 arosca@rscounsel.law and jnewville@proskauer.com.
         72. Any objection must state the specific reason(s), if any, for each objection,
 including any legal support the Class Member wishes to bring to the Court’s attention and any
 evidence the Class Member wishes to introduce in support of such objection, and shall state
 whether the objection applies only to the objector, to a specific subset of the Class, or to the
 entire Class. In addition to the reason(s) for the objection, an objection must also include the
 name and docket number of this case (O’Hern v. Vida Longevity Fund, LP, No. 1:21-cv-00402-

                                                16
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 132 of 174 PageID #: 262




 SRF (D. Del.)) and the following information about the Class Member: (i) name, (ii) address,
 (iii) telephone number, (iv) email address, if available, (v) the dollars subscribed to VLF Interests
 held as of the beginning of the day on January 1, 2017, (vi) the dollars subscribed to VLF
 Interests purchased or otherwise acquired between January 1, 2017 through the end of the day on
 March 19, 2021, (vii) the dollar value of VLF Interests sold or redeemed between January 1,
 2017 and ____________ (the end of the quarter preceding the initially scheduled date for the
 Fairness Hearing), (viii) the date of each such transaction involving each such VLF Interest, and
 (ix) account statements verifying all such transactions. You may not object to any aspect of the
 Settlement if you exclude yourself from the Class or are not a member of the Class.
          73. You may file a written objection without having to speak at the Fairness Hearing.
 You may not, however, speak at the Fairness Hearing to present your objection unless you first
 file and serve a written objection in accordance with the procedures described above, unless the
 Court orders otherwise.
          74. If you wish to be heard orally at the hearing in opposition to the approval of the
 Settlement, the proposed Plan of Allocation, Plaintiffs’ Counsel’s motion for an award of
 attorneys’ fees and expenses, or Plaintiffs’ application for an Incentive Award, and if you have
 timely filed and served a written objection as described above, you must also file a notice of
 appearance with the Clerk’s Office and serve it on Class Counsel and Defendants’ Counsel at the
 addresses set forth in ¶ 71 above so that it is received on or before ___________, 2022. Persons
 who intend to object and present evidence at the Fairness Hearing must include in their written
 objection or notice of appearance the identity of any witnesses they might call to testify and any
 exhibits they intend to introduce into evidence at the hearing. Such persons may be heard orally
 at the Court’s discretion.
         75. You are not required to hire an attorney to represent you in making written
 objections or in appearing at the Fairness Hearing. However, if you decide to hire an attorney,
 you may do so at your own expense, and that attorney must file a notice of appearance with the
 Court and serve it on Class Counsel and Defendants’ Counsel at the addresses set forth in ¶ 71
 above so that the notice is received on or before ___________, 2022.
          76. Unless the Court orders otherwise, any Class Member who does not object as
 described above will be deemed to have waived any objection and shall be forever
 foreclosed from making any objection to the proposed Settlement, the Plan of Allocation,
 Plaintiffs’ Counsel’s motion for an award of attorneys’ fees and expenses, and Plaintiffs’
 application for an Incentive Award.

        WHAT IF I BOUGHT VLF INTERESTS ON SOMEONE ELSE’S BEHALF?

          77. Class Counsel and the Claims Administrator intend to send Postcard Notices to
 potential Class Members listed as VLF subscribers during the Class Period based on records
 maintained by VLF’s administrator. If you purchased or otherwise acquired VLF Interests
 during the period from January 1, 2017 through March 19, 2021, inclusive, for the beneficial
 interest of persons or organizations other than yourself, you must, within fourteen (14) calendar
 days after receipt of the Postcard Notice or this Notice (whichever is earlier), provide a list of the
 names, addresses, and email addresses (if available) of all such beneficial owners to VLF
 Securities Litigation, c/o Strategic Claims Services, P.O. Box 230, 600 N. Jackson Street,

                                                  17
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 133 of 174 PageID #: 263




 Suite 205, Media, PA 19063, or info@strategicclaims.net. The Claims Administrator will then
 send the Postcard Notices to the beneficial owners. Copies of the Postcard Notice, this Notice,
 and the Claim Form may also be obtained from the Settlement website,
 www.strategicclaims.net/VLF, by calling the Claims Administrator toll-free at 1-866-274-4004,
 or by emailing the Claims Administrator at info@strategicclaims.net.

                         CAN I SEE THE COURT FILE?
                 WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

         78. This Notice contains only a summary of the terms of the proposed Settlement. For
 more detailed information, you should review the papers on file in the Action, including the
 Settlement Agreement, which may be inspected during regular office hours at the Office of the
 Clerk, United States District Court for the District of Delaware, J. Caleb Boggs Federal Building,
 844 North King Street, Wilmington, Delaware 19801, or through the court’s online docket.
 Copies of the Settlement Agreement and any related orders entered by the Court are also posted
 on the Settlement website, www.strategicclaims.net/VLF.
         All inquiries concerning this Notice and the Claim Form should be directed to:
          VLF Securities Litigation            and/or             Alan L. Rosca, Esq.
        c/o Strategic Claims Services                             Rosca Scarlato, LLC
                P.O. Box 230                                 23250 Chagrin Blvd., Suite 100
        600 N. Jackson St., Suite 205                           Beachwood, OH 44122
              Media, PA 19063                                       (216) 946-7070
             Tel: 866-274-4004                                   arosca@rscounsel.law
             Fax: 610-565-7985
          info@strategicclaims.net
        www.strategicclaims.net/VLF

 DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE CLERK OF
 COURT, DEFENDANTS, OR THEIR COUNSEL ABOUT THIS NOTICE.

 Dated: _______________, 2022                                By Order of the Court
                                                             United States District Court
                                                             District of Delaware




                                                18

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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 134 of 174 PageID #: 264




                          EXHIBIT F
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 135 of 174 PageID
                                                                    EXHIBIT#: 265
                                                                              F



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE


 TIMOTHY O’HERN, et al., Individually and on
 Behalf of All Others Similarly Situated,                      No. 1:21-cv-00402-SRF

                                          Plaintiffs,

         v.

 VIDA LONGEVITY FUND, LP, et al.,


                                          Defendants.


          SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION AND
        PROPOSED SETTLEMENT; (II) SETTLEMENT FAIRNESS HEARING;
      AND (III) MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES

 TO: All persons and entities who, during the period from January 1, 2017 through March 19,
     2021, inclusive (the “Class Period”), purchased or otherwise acquired limited partnership
     interests in Vida Longevity Fund, LP (“VLF), either directly, or indirectly through Life
     Assets Trust S.A. Compartments VII and/or VIII.1
 PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS WILL BE AFFECTED
 BY A CLASS-ACTION LAWSUIT PENDING IN THIS COURT.

        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil
 Procedure and an Order of the United States District Court for the District of Delaware (the
 “Court”), that the above-captioned securities class action (the “Action”) is pending in the Court.
         YOU ARE ALSO NOTIFIED that the Plaintiffs have reached a proposed settlement of
 the Action for $1,400,000 in cash (the “Settlement”), which, if approved, will resolve all claims
 in the Action.
        A hearing will be held on _____________, 2022, at __:__ _.m. (ET), before Magistrate
 Judge Sherry R. Fallon, either in-person at the United States District Court for the District of
 Delaware, J. Caleb Boggs Federal Building, 844 North King Street, Wilmington, Delaware
 19801-3555, Courtroom __, or by telephone or videoconference, to determine (i) whether the
 proposed Settlement should be approved as fair, reasonable, and adequate; (ii) whether, solely
 for purposes of the Settlement, the Action should be certified as a class action on behalf of the
 Class, Plaintiffs should be certified as representatives for the Class, and Plaintiffs’ counsel
 should be appointed as counsel for the Class; (iii) whether the Action should be dismissed with

 1
         Certain persons and entities are excluded from the Class definition, as set forth in the full Notice
 of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Fairness Hearing; and
 (III) Motion for Attorneys’ Fees and Litigation Expenses (the “Notice”), available at
 www.strategicclaims.net/VLF.



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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 136 of 174 PageID #: 266




 prejudice against Defendants and whether the releases specified in the Settlement Agreement
 dated July 8, 2022 (and in the Notice) should be granted; (iv) whether the proposed Plan of
 Allocation should be approved as fair and reasonable; and (v) whether Plaintiffs’ Counsel’s
 motion for an award of attorneys’ fees and expenses and Plaintiffs’ application for an Incentive
 Award should be approved. If the hearing is held by telephone or videoconference, information
 on how to participate will be posted at www.strategicclaims.net/VLF.
         If you are a Class Member, your rights will be affected by the pending Action and
 the Settlement, and you might be entitled to a payment from the Settlement. If you have not
 yet received the Notice and Claim Form, you may get copies of them by contacting the Claims
 Administrator, VLF Securities Litigation, c/o Strategic Claims Services, P.O. Box 230,
 600 N. Jackson Street, Suite 205, Media, PA 19063; telephone 1-866-274-4004; or
 info@strategicclaims.net. You also can file claims online or download copies of the Notice and
 Claim Form from the Settlement website, www.strategicclaims.net/VLF.

         If you are a Class Member, you must file a claim online or submit a Claim Form no later
 than _____________, 2022 to be eligible to receive a payment from the Settlement. If you are a
 Class Member and do not submit a proper Claim Form, you will not be eligible for a payment,
 but you will nevertheless be bound by any judgments or orders entered by the Court in the
 Action.
         If you are a Class Member and wish to exclude yourself from the Class, you must submit
 a request for exclusion that is received no later than _____________, 2022, in accordance with
 the instructions in the Notice. If you properly exclude yourself from the Class, you will not be
 bound by any judgments or orders entered by the Court in the Action, and you will not be
 eligible to receive a payment from the Settlement. Excluding yourself is the only option that
 might allow you to be part of any other current or future lawsuit against Defendants or any of the
 other released parties concerning the claims being resolved by the Settlement, even if you have
 pending or later file another lawsuit or other proceeding against the Releasees related to the
 claims covered by the Settlement.
        Any objections to the proposed Settlement, the proposed Plan of Allocation, Plaintiffs’
 Counsel’s motion for attorneys’ fees and litigation expenses, and Plaintiffs’ application for an
 Incentive Award must be filed with the Court and delivered to Plaintiffs’ counsel and
 Defendants’ Counsel such that they are received no later than _____________, 2022, in
 accordance with the instructions in the Notice.
 All questions about this notice, the Settlement, or your eligibility to participate in it should
 be directed to the Claims Administrator or Plaintiffs’ counsel. Please do not contact the
 Court, the Clerk’s office, Defendants, or their lawyers about this notice.




                                                 2

 2737/71801-007 CURRENT/128386054v4                                        07/08/2022 9:39 AM
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 137 of 174 PageID #: 267




        Requests for the Notice and Claim Form should be made to:
                                    VLF Securities Litigation
                                  c/o Strategic Claims Services
                                          P.O. Box 230
                                 600 N. Jackson Street, Suite 205
                                        Media, PA 19063
                                       Tel.: 866-274-4004
                                       Fax: 610-565-7985
                                 Email: info@strategicclaims.net
                                  www.strategicclaims.net/VLF

         Inquiries other than requests for the Notice and Claim Form should be made to counsel
 for the Class:
                                   ROSCA SCARLATO, LLC
                                       Alan L. Rosca, Esq.
                                  23250 Chagrin Blvd., Suite 100
                                     Beachwood, OH 44122
                                         (216) 946-7070
                                      arosca@rscounsel.law


                                                                        By Order of the Court




                                                3

 2737/71801-007 CURRENT/128386054v4                                    07/08/2022 9:39 AM
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 138 of 174 PageID #: 268




                         EXHIBIT G
    Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 139 of 174 PageID #: 269

                                                                                                  EXHIBIT G


                                        VLF Securities Litigation
                                      c/o Strategic Claims Services
                                              P.O. Box 230
                                    600 N. Jackson Street, Suite 205
                                            Media, PA 19063
                                   Toll-Free Number: 1-866-274-4004
                                           Fax: 610-565-7985
                                    Email: info@strategicclaims.net
                                  Website: www.strategicclaims.net/VLF

                   PROOF OF CLAIM AND RELEASE FORM
           IT IS HIGHLY RECOMMENDED TO COMPLETE YOUR CLAIM ONLINE AT
                              www.strategicclaims.net/VLF
To be eligible to receive a share of the Net Settlement Amount in connection with the Settlement of this Action,
you must file your claim online or complete this Proof of Claim and Release Form (“Claim Form”). If you file
your claim online, you must do so by _____________, 2022. If you fill out this Claim Form, you must mail it
by first-class mail to the address above, with supporting documentation, postmarked or emailed no later than
____________, 2022.
If you do not complete your claim online or submit your Claim Form by the date specified, your claim might be
rejected, and you might be precluded from being eligible to receive a payment from the Settlement.

Complete your claim online at www.strategicclaims.net/VLF, or submit your Claim Form to the Claims
Administrator at the address given above or by email to info@strategicclaims.net/VLF. Do not mail or deliver
your Claim Form to the Court, Plaintiffs’ Counsel, Defendants’ Counsel, or any of the Parties to the Action.

     TABLE OF CONTENTS                                                                              PAGE #

     PART I – CLAIMANT INFORMATION                                                                      __

     PART II – GENERAL INSTRUCTIONS                                                                     __

     PART III – SCHEDULE OF TRANSACTIONS IN VLF INTERESTS                                               __

     PART IV – RELEASE OF CLAIMS AND SIGNATURE                                                          __
        Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 140 of 174 PageID #: 270




                                               PART I – CLAIMANT INFORMATION

The Claims Administrator will use this information for all communications about this Claim Form. If this
information changes, you MUST notify the Claims Administrator in writing at the address above. Complete
names of all persons and entities must be provided.
Beneficial Owner’s Name
First Name                                                        Last Name



Joint Beneficial Owner’s Name (if applicable)
First Name                                                        Last Name



If this claim is submitted for an IRA, and if you would like any check that you might be eligible to receive to be made payable to the IRA, please
include “IRA” in the “Last Name” box above (e.g., Jones IRA).

Entity Name (if the Beneficial Owner is not an individual)



Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.), if different from Beneficial Owner



Last 4 digits of Social Security Number or Taxpayer Identification Number



Street Address



City                                                                                     State/Province    Zip Code



Foreign Postal Code (if applicable)                          Foreign Country (if applicable)



Telephone Number (Day)                                                   Telephone Number (Evening)



Email Address (email address is not required, but, if you provide it, you authorize the Claims Administrator to use it in providing you with
information relevant to this claim)



Type of Beneficial Owner:
Specify one of the following:

       Individual(s)                  Corporation                UGMA Custodian                IRA


       Partnership                    Estate                     Trust                         Other (describe: _______________________)




                                                                         Page 2
     Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 141 of 174 PageID #: 271




                                   PART II – GENERAL INSTRUCTIONS

        1.     You should completely read and understand the Notice of (I) Pendency of Class Action and
Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for Attorneys’ Fees and Litigation
Expenses (the “Notice”) provided with this Claim Form, including the Plan of Allocation of the Net Settlement
Amount set forth in the Notice. The Notice describes the proposed Settlement, how Class Members are affected
by it, and the manner in which the Net Settlement Amount will be distributed if the Court approves the
Settlement and Plan of Allocation. The Notice also contains the definitions of many of the defined terms
(which are indicated by initial capital letters) used in this Claim Form. By signing and submitting this Claim
Form, you will be certifying that you have read and understand the Notice, including the terms of the releases
provided for in this Claim Form.
       2.      By submitting this Claim Form, you will be making a request to receive a payment from the
Settlement described in the Notice. IF YOU ARE NOT A CLASS MEMBER (see the definition of the Class on
page [__] of the Notice, which explains who is included in and who is excluded from the Class), OR IF YOU,
OR SOMEONE ACTING ON YOUR BEHALF, SUBMITTED A REQUEST FOR EXCLUSION FROM THE
CLASS, DO NOT SUBMIT A CLAIM FORM. YOU MAY NOT, DIRECTLY OR INDIRECTLY,
PARTICIPATE IN THE SETTLEMENT IF YOU ARE NOT A CLASS MEMBER. If you are excluded
from the Class, any Claim Form that you submit, or that is submitted on your behalf, will not be accepted.
        3.       Submission of this Claim Form does not guarantee that you will be eligible to receive a payment
from the Settlement. The distribution of the Net Settlement Amount will be governed by the Plan of Allocation
set forth in the Notice, if it is approved by the Court, or by such other plan of allocation as the Court approves.
       4.      Use the Schedule of Transactions in Part III of this Claim Form to supply all required details of
your transaction(s) in, and holdings of, limited partnership interests in Vida Longevity Fund, LP (“VLF”)
during the relevant period. On this schedule, provide all of the requested information about your holdings,
purchases, acquisitions, and sales/redemption of VLF Interests (including free transfers and deliveries), whether
such transactions resulted in a profit or a loss. Failure to report all transaction and holding information
during the requested time period could result in the rejection of your claim.
         5.     Please note: The Settlement applies only to VLF Interests purchased during the Class Period
(i.e., from January 1, 2017 through March 19, 2021, inclusive). VLF Interests are limited partnership interests
in VLF, whether purchased directly, or indirectly through Life Assets Trust S.A. Compartments VII and/or VIII.
       6.      You must submit genuine and sufficient documentation for all of your transactions in and
holdings of VLF Interests as set forth in the Schedule of Transactions in Part III of this Claim Form.
Documentation may consist of copies of subscription agreements, statements from your broker or investment
adviser containing the transactional and holding information found in a broker confirmation slip or account
statement, or other documents containing transaction information relating to VLF Interests (purchase/sale date,
amount price, etc.). The Parties and the Claims Administrator might not independently have information about
your investments in VLF Interests. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE
OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS FROM YOUR FINANCIAL
ADVISER OR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION MIGHT RESULT IN THE
REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL DOCUMENTS. Please keep a copy of all
documents that you send to the Claims Administrator. Also, do not highlight any portion of the Claim
Form or any supporting documents.
      7.      Use Part I of this Claim Form titled “CLAIMANT INFORMATION” to identify the beneficial
owner(s) of the VLF Interests. The complete name(s) of the beneficial owner(s) must be entered. If you held


                                                      Page 3
     Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 142 of 174 PageID #: 272




the VLF Interests in your own name, you were the beneficial owner as well as the record owner. If there were
joint beneficial owners, each one must sign this Claim Form, and their names must appear as “Claimants” in
Part I.
        8.      One Claim should be submitted for each separate legal entity. Separate Claim Forms should
be submitted for each separate legal entity (e.g., a claim from joint owners should not include separate
transactions of just one of the joint owners, and an individual should not combine his or her IRA transactions or
transactions in the name of a trust with transactions made solely in the individual’s name). Conversely, a single
Claim Form should be submitted on behalf of one legal entity including all transactions made by that entity, no
matter how many separate accounts that entity has.
      9.      Agents, executors, administrators, guardians, and trustees must complete and sign the Claim
Form on behalf of persons represented by them, and they must:
               (a)    expressly state the capacity in which they are acting;
               (b)    identify the name, account number, last four digits of the Social Security Number (or
                      taxpayer identification number), address, and telephone number of the beneficial owner
                      of (or other person or entity on whose behalf they are acting with respect to) the VLF
                      Interests; and
               (c)    furnish evidence of their authority to bind to the Claim Form the person or entity on
                      whose behalf they are acting. (Authority to complete and sign a Claim Form cannot be
                      established by stockbrokers’ demonstrating only that they have discretionary authority to
                      trade securities in another person’s accounts.)
       10.     By submitting a signed Claim Form, you will be swearing that you:
               (a)    own(ed) the VLF Interests you have listed in the Claim Form; or
               (b)    are expressly authorized to act on behalf of the owner of those VLF Interests.
       11.     By submitting a signed Claim Form, you will be swearing to the truth of the statements it
contains and the genuineness of the documents attached to it, subject to penalties of perjury under the laws of
the United States of America. The making of false statements, or the submission of forged or fraudulent
documentation, will result in the rejection of your claim and might subject you to civil liability or criminal
prosecution.
       12.     If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant to the
Plan of Allocation (or such other plan of allocation as the Court approves) will be made after any appeals are
resolved, and after the completion of all claims processing. The claims process will take substantial time to
complete fully and fairly. Please be patient.
        13.     PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive
his, her, or its pro rata share of the Net Settlement Amount. If the prorated payment to any Authorized
Claimant calculates to less than $10.00, it will not be included in the calculation, and no distribution will be
made to that Authorized Claimant.
       14.     If you have questions concerning the Claim Form, or need additional copies of the Claim Form
or the Notice, you may contact the Claims Administrator, Strategic Claims Services, at the above address, by
email at info@strategicclaims.net, or by toll-free phone at 1-866-274-4004, or you can visit the Settlement
website, www.strategicclaims.net/VLF, where you can file your claim online or download copies of the Claim
Form and Notice.


                                                     Page 4
   Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 143 of 174 PageID #: 273




                             IMPORTANT: PLEASE NOTE
YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT
POSTCARD. THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR
CLAIM FORM WITHIN 60 DAYS AFTER YOUR SUBMISSION. IF YOU DO NOT RECEIVE AN
ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS, PLEASE CONTACT THE CLAIMS
ADMINISTRATOR TOLL-FREE AT 1-866-274-4004.




                                        Page 5
        Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 144 of 174 PageID #: 274




                       PART III – SCHEDULE OF TRANSACTIONS IN VLF INTERESTS
  Use this section to provide information on your holdings and transactions in VLF Interests during the requested
  time periods. Please state if the interest in VLF was acquired indirectly through offshore entity Life Assets
  Trust S.A. Compartments VII and/or VIII (“Comp. VII or VIII”). Please include proper documentation with
  your Claim Form as described in detail in Part II – General Instructions, ¶ 6 above.
1. HOLDINGS AS OF DECEMBER 31, 2016– State the total number or value of VLF Interests                       Confirm Proof of
held as of the end of the day on December 31, 2016. (Must be documented.) If none, write “zero” or          Position Enclosed
“0.” ____________________                                                                                          ○
2. PURCHASES/ACQUISITIONS FROM JANUARY 1, 2017 THROUGH MARCH 19, 2021, INCLUSIVE –
Separately list each and every purchase or acquisition (including free receipts) of VLF Interests on January 1, 2017 through and
including March 19, 2021. (Must be documented.)
   Date of Purchase/       Dollars Subscribed to VLF      Type of VLF            If Offshore, Identify        Confirm Proof of
      Acquisition                   Interests                Interest        Whether Life Assets Trust       Purchase Enclosed
(List Chronologically)                                     (Class A, B         S.A. Comp. VII or VIII
  (Month/Day/Year)                                            or C)
       /     /
                                                                                                                    ○
       /     /
                                                                                                                    ○
       /     /
                                                                                                                    ○
       /     /
                                                                                                                    ○
3. SALES/REDEMPTIONS FROM JANUARY 1, 2017 THROUGH ___________ (end of                                     IF NONE, CHECK
quarter preceding 28 days before initially scheduled Fairness Hearing) – Separately list each and              HERE
every sale, redemption, or other disposition of VLF Interests from January 1, 2017 through                          ○
___________ (the end of the quarter preceding the initially scheduled date for the Fairness Hearing).
(Must be documented.)
        Date of               Dollar Value of VLF             Identify if Redemption or Private Sale         Confirm Proof
   Sale/Redemption          Interests Sold/Redeemed                                                         of Sale Enclosed
(List Chronologically)
  (Month/Day/Year)
        /    /
                                                                                                                   ○
        /    /
                                                                                                                   ○
        /    /
                                                                                                                   ○
        /    /
                                                                                                                   ○
4. HOLDINGS AS OF ______________ (end of quarter preceding 28 days before initially                         Confirm Proof of
scheduled Fairness Hearing) – State the total number or value of VLF Interests held as of                   Position Enclosed
__________ (the end of the quarter preceding the initially scheduled date for the Fairness Hearing).
(Must be documented.) If none, write “zero” or “0.” ________________
                                                                                                                    ○
IF YOU NEED ADDITIONAL SPACE FOR THE SCHEDULE ABOVE, ATTACH EXTRA SCHEDULES
IN THE SAME FORMAT. PRINT THE BENEFICIAL OWNER’S FULL NAME AND LAST FOUR
DIGITS OF SOCIAL SECURITY/TAXPAYER IDENTIFICATION NUMBER ON EACH ADDITIONAL
PAGE. IF YOU DO ATTACH EXTRA SCHEDULES, CHECK THIS BOX.




                                                            Page 6
      Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 145 of 174 PageID #: 275




                            PART IV - RELEASE OF CLAIMS AND SIGNATURE

                YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW
                         AND SIGN ON PAGE __ OF THIS CLAIM FORM.

1.   I (we) hereby acknowledge that, pursuant to the terms set forth in the Settlement Agreement, without further
     action by anyone, upon the Final Settlement Date, I (we), on behalf of myself (ourselves) and my (our) (the
     claimant(s)’) heirs, executors, administrators, predecessors, successors, and assigns, in their capacities as
     such (“Releasors”), or any person purporting to assert a Released Class Claim on behalf of, for the benefit
     of, or derivatively for any such Releasors, for good and sufficient consideration, the receipt and adequacy of
     which are hereby acknowledged, shall be deemed to have, and by operation of law and of the Approval
     Order and Judgment shall have, fully, finally, and forever released, relinquished, settled, and discharged:

     a. all Released Class Claims (as defined in the Notice) against each and every one of the Releasees (as
        defined in the Notice);

     b. all Claims, damages, and liabilities as to each and every one of the Releasees to the extent that any such
        Claims, damages, or liabilities relate in any way to any or all acts, omissions, nondisclosures, facts,
        matters, transactions, occurrences, or oral or written statements or representations in connection with, or
        directly or indirectly relating to, (i) the prosecution, defense, or settlement of the Action, (ii) the
        Settlement Agreement or its implementation, (iii) the Settlement terms and their implementation, (iv) the
        provision of notice in connection with the proposed Settlement, and/or (v) the resolution of any Claim
        Forms submitted in connection with the Settlement; and

     c. all Claims against any of the Releasees for attorneys’ fees, costs, or disbursements incurred by
        Plaintiffs’ Counsel or any other counsel representing Plaintiffs (including, without limitation, Labaton
        Sucharow LLP) or any other Class Member in connection with or related in any manner to the Action,
        the settlement of the Action, or the administration of the Action and/or its Settlement, except to the
        extent otherwise specified in the Settlement Agreement.

2.   In addition, the Judgment and Approval Order will provide that:

     a. all Class Members (and their attorneys, accountants, agents, advisors, heirs, executors, administrators,
        trustees, predecessors, successors, Affiliates, representatives, and assigns) who have not validly and
        timely requested exclusion from the Class – and anyone else purporting to act on behalf of, for the
        benefit of, or derivatively for any of such persons or entities – are permanently enjoined from filing,
        commencing, prosecuting, intervening in, participating in (as class members or otherwise), or receiving
        any benefit or other relief from any other lawsuit, arbitration, or administrative, regulatory, or other
        proceeding (as well as a motion or complaint in intervention in the Action if the person or entity filing
        such motion or complaint in intervention purports to be acting as, on behalf of, for the benefit of, or
        derivatively for any of the above persons or entities) or order, in any jurisdiction or forum, as to the
        Releasees based on or relating to the Released Class Claims; and

     b. all persons and entities are permanently enjoined from filing, commencing, or prosecuting any other
        lawsuit as a class action (including by seeking to amend a pending complaint to include class allegations
        or by seeking class certification in a pending action in any jurisdiction) or other proceeding on behalf of


                                                      Page 7
     Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 146 of 174 PageID #: 276




       any Class Members as to the Releasees, if such other lawsuit is based on or related to the Released Class
       Claims.

CERTIFICATION

By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s)
agree(s) to the release above and certifies (certify) that:
        1.     I (we) have read and understand the contents of the Notice and this Claim Form, including the
releases provided for in the Settlement and the terms of the Plan of Allocation;
       2.       The claimant(s) is a (are) Class Member(s), as defined in the Notice, and is (are) not excluded
by definition from the Class as set forth in the Notice;
       3.      The claimant(s) did not submit a request for exclusion from the Class;
        4.     I (we) own(ed) the VLF Interests identified in the Claim Form and have not assigned the claim
against any of the Defendants or their Releasees to another, or that, in signing and submitting this Claim Form,
I (we) have the authority to act on behalf of the owner(s) thereof;
        5.     The claimant(s) has (have) not submitted any other claim covering the same purchases of VLF
Interests and knows (know) of no other person’s having done so on the claimant’s (claimants’) behalf;
       6.      The claimant(s) submit(s) to the jurisdiction of the Court with respect to claimant’s (claimants’)
claim and for purposes of enforcing the releases set forth herein;
       7.    I (we) agree to furnish such additional information about this Claim Form as Class Counsel, the
Claims Administrator, or the Court may require;
        8.    The claimant(s) waive(s) the right to trial by jury, to the extent it exists, and agree(s) to the
determination by the Court of the validity or amount of this claim, and waives any right of appeal or review as
to such determination;
      9.      I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any
judgment(s) that may be entered in the Action; and
        10.    The claimant(s) is (are) NOT subject to backup withholding under the provisions of
Section 3406(a)(1)(C) of the Internal Revenue Code because (i) the claimant(s) is (are) exempt from backup
withholding or (ii) the claimant(s) has (have) not been notified by the IRS that he, she, or it is subject to
backup withholding as a result of a failure to report all interest or dividends or (iii) the IRS has notified the
claimant(s) that he, she, or it is no longer subject to backup withholding. If the IRS has notified the
claimant(s) that he, she, it, or they is (are) subject to backup withholding, please cross out the language
in the preceding sentence stating that the claim is not subject to backup withholding.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT ALL OF THE INFORMATION PROVIDED BY ME (US) ON THIS CLAIM FORM IS
TRUE, CORRECT, AND COMPLETE, AND THAT THE DOCUMENTS SUBMITTED HEREWITH ARE
TRUE AND CORRECT COPIES OF WHAT THEY PURPORT TO BE.


Signature of claimant                                                                              Date



                                                     Page 8
     Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 147 of 174 PageID #: 277




Print claimant name here


Signature of joint claimant, if any                                                               Date


Print joint claimant name here

If the claimant is other than an individual, or is not the person completing this form, the following also must
be provided:



Signature of person signing on behalf of claimant                                                 Date


Print name of person signing on behalf of claimant here


Capacity of person signing on behalf of claimant, if other than an individual, e.g., executor, president, trustee,
custodian, etc. (Must provide evidence of authority to act on behalf of claimant – see ¶ 9 on page [__] of this
Claim Form.)




                                                     Page 9
     Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 148 of 174 PageID #: 278




                                    REMINDER CHECKLIST
1. Sign the above release and certification. If this Claim Form is being made on behalf of joint claimants, then
   both must sign.
2. Attach only copies of acceptable supporting documentation, as these documents will not be returned to you.
   Keep the original documents.
3. Do not highlight any portion of the Claim Form or any supporting documents.
4. Keep copies of the completed Claim Form and documentation for your own records.
5. The Claims Administrator will acknowledge receipt of your Claim Form by mail, within 60 days after your
   submission. Your claim is not deemed filed until you receive an acknowledgement postcard. If you do not
   receive an acknowledgement postcard within 60 days, please call the Claims Administrator toll-free at
   1-866-274-4004.
6. If your address changes in the future, or if this Claim Form was sent to an old or incorrect address, you must
   send the Claims Administrator written notification of your new address. If you change your name, inform
   the Claims Administrator.
7. If you have any questions or concerns about your claim, contact the Claims Administrator at the address
   below, by email at info@strategicclaims.net, or by toll-free phone at 1-866-274-4004, or you may visit
   www.strategicclaims.net/VLF. DO NOT call VLF or its counsel with questions regarding your claim.

THIS CLAIM FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR BY FIRST-CLASS MAIL,
POSTMARKED NO LATER THAN ______________, 2022, ADDRESSED AS FOLLOWS (UNLESS YOU
HAVE FILED YOUR CLAIM ONLINE):

                                         VLF Securities Litigation
                                       c/o Strategic Claims Services
                                               P.O. Box 230
                                      600 N. Jackson Street, Suite 205
                                             Media, PA 19063
                                            Tel.: 866-274-4004
                                            Fax: 610-565-7985
                                      Email: info@strategicclaims.net
                                       www.strategicclaims.net/VLF

       A Claim Form received by the Claims Administrator shall be deemed to have been submitted when
posted, if a postmark date on or before ____________, 2022 is shown on the envelope and it is mailed First
Class, and addressed in accordance with the above instructions. In all other cases, a Claim Form shall be
deemed to have been submitted when actually received by the Claims Administrator.

      You should be aware that it will take a significant amount of time to fully process all of the Claim
Forms. Please be patient and notify the Claims Administrator of any change of address.




                                                    Page 10
130371028v5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 149 of 174 PageID #: 279




                         EXHIBIT H
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page150
                                                              1 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 84280
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page151
                                                              2 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 85281
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page152
                                                              3 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 86282
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page153
                                                              4 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 87283
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page154
                                                              5 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 88284
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
                           Document
                                 30-125 Filed
                                         Filed10/19/22
                                               07/12/22 Page
                                                         Page155
                                                              6 ofof13
                                                                     174
                                                                       PageID
                                                                         PageID
                                                                              #: #:
                                                                                 89285
Case
   Case
     1:21-cv-00402-SRF
        1:21-cv-00402-SRF
                        Document
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                                 30-125 Filed
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Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 163 of 174 PageID #: 293




                          EXHIBIT 3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 164 of 174 PageID #: 294




                                  ROSCA SCARLATO LLC
                              CLEVELAND, OH/CONSHOHOCKEN, PA

        ROSCA SCARLATO LLC (“Rosca Scarlato” or the “Firm”) prosecutes securities fraud,

 ERISA, and consumer fraud class actions, as well as corporate governance derivative cases and

 investor arbitration claims nationwide on behalf of investors. Through their prior firms, including

 most recently Goldman Scarlato & Penny, P.C., Rosca Scarlato founding partners Alan Rosca and

 Paul Scarlato have represented the interests of victims of securities fraud, violations of ERISA,

 corporate misconduct, anticompetitive conduct, deceptive consumer practices, and unscrupulous

 financial advisors. Messrs. Rosca and Scarlato formed Rosca Scarlato on January 1, 2022, to

 continue the representation of their new and existing clients in those practice areas. The Firm’s

 lawyers have helped recover hundreds of millions of dollars on behalf of their clients and helped

 to institute meaningful changes in business practices that seek to ensure robust competition in

 commercial markets, honest and fair disclosures in financial markets, and truthful advertising in

 retail markets.

        ALAN L. ROSCA. Mr. Rosca focuses his legal practice on complex financial and

 commercial matters, particularly in the areas of securities litigation, investment fraud, ERISA, and

 international investment disputes. He often represents investors in disputes with financial industry

 members arising out of investment fraud or misconduct. He prosecutes claims on behalf of

 investors through class actions in state or federal courts, and FINRA arbitrations. He also practices

 in the areas of wage-and-hour and other labor-related disputes, whistleblower matters, and antitrust

 cases, with a focus on market manipulation.

        Alan was a lecturer and adjunct professor of Securities Regulation at Cleveland-Marshall

 College of Law, Cleveland State University, starting in 2012. Alan has served as co-lead counsel,
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 165 of 174 PageID #: 295




 or is currently involved in a leading role, in class actions on behalf of investors who lost money as

 a result of alleged investment fraud or Ponzi schemes, as well as in other class action matters

 arising out of wage-and-hour or business disputes, including Florio v. Goldman Sachs Group Inc.

 et al. (S.D.N.Y.) (class action under the PSLRA); Paulson v. Two Rivers Water and Farming Co.,

 et. al (D. Co.) (class action under the Colorado Securities Act); Yao Yi Liu v. Wilmington Trust

 Company (W.D.N.Y.) (representing victims of a Ponzi scheme); Gregory v. Zions Bancorporation

 (D. Utah) (representing victims of a Ponzi scheme); Chang v. Wells Fargo bank, N.A. (N.D. Ca.)

 (representing victims of a Ponzi scheme); Elliott v. Bank of Oklahoma (D.N.J.) (representing

 victims of a Ponzi scheme); Miller v. Anderson (First Energy Derivative Litigation), (N.D. Oh);

 and O’Hearn v. Vida Longevity Fund, LP, et al. (D. De) (class action under the Texas Securities

 Act); Hanson v. Berthel Fisher & Company Financial Services, Inc., et al. (N.D. Iowa)

 (representing investors in an allegedly fraudulent real estate investment program); Carol Prock v.

 Thompson National Properties, LLC, et al. (C.D. Ca.) (representing investors in an allegedly

 fraudulent real estate investment program); Spaude v. Mysyk (N.D. Oh) (representing investors in

 anallegedly fraudulent oil-and-gas investment scheme); Jennifer Roth v. Life Time Fitness, Inc.

 (D. Minn.) (representing fitness instructors seeking unpaid wages for work that was required by

 defendants); Aleem v. Pearce & Durick (D.N.D.) (representing investors in a fraudulent investment

 scheme); Hay v. United Development Funding IV et al. (N.D. Texas) (representing investors in an

 allegedly fraudulent real estate investment scheme); Fastrich v. Continental General Insurance

 Company (D. Neb.) (representing         insurance agents seeking payment of certain fees and

 commissions allegedly owed to such agents).

        Alan received his Juris Doctor degree summa cum laude from Cleveland-Marshall College

 of Law in May 2008. While in law school he served as a Managing Editor of the Cleveland State


                                                  2
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 166 of 174 PageID #: 296




 Law Review, received the Dean’s (full) scholarship for the entire Juris Doctor program, was on

 the Dean's List, and won the "Best Oralist" award in the Jessup Moot Court competition, Pacific

 Region. He passed the Ohio Bar exam in top 1%, with the highest grade in the state to the multi-

 state (federal law) section.

         He is admitted to practice law in Ohio, District of Columbia, United States Supreme Court,

 and several other federal courts federal courts nationwide. He is a member of the Public Investors

 Arbitration Bar Association, the Cleveland Metropolitan Bar Association, where he served as the

 Chair of the Unlicensed Practice of Law Committee, and the Cleveland Diplomatic Corps. He also

 holds a Master of Business Administration degree from Baldwin-Wallace College, Ohio. He is a

 speaker on Ponzi schemes, investment fraud, cryptocurrencies, and attorney professionalism.

         PAUL J. SCARLATO. Paul Scarlato has concentrated his practice on the litigation of complex

 class actions since 1989. He has litigated numerous cases under the federal and state securities laws,

 ERISA, consumer, antitrust and common law involving companies in a broad range of industries, and

 has litigated many cases involving financial and accounting fraud.

         In securities fraud cases, Mr. Scarlato was one of three lead attorneys for the class in Kaufman

 v. Motorola, Inc., (N.D. Il.), a securities fraud class action that settled weeks before trial. Mr. Scarlato

 served as lead counsel in Seidman v. American Mobile Systems, Inc., (E.D. Pa.), a securities class

 action that resulted in a settlement for the plaintiff class, again on the eve of trail, and served as co-

 lead counsel in In re: Corel Corporation Securities Litigation (E.D. Pa.) (securities fraud class action).

         Mr. Scarlato has played a key role in numerous other securities fraud class actions over the

 course of his career, including as a member of the plaintiffs’ teams that prosecuted In re Broadcom

 Securities Litigation, which resulted in a settlement of $150 million for the class, and AOL Time

 Warner Securities Litigation, which resulted in a settlement of over $2.5 billion for investors, In


                                                      3
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 167 of 174 PageID #: 297




 re Monster Worldwide, Inc. Securities Litigation ($47.5 million settlement in case arising out of

 options backdating), In re Mercury Interactive Securities Litigation ($117.5 million settlement,

 options backdating), In re SafeNet, Inc. Securities Litigation ($25 million settlement, options

 backdating), and In re Semtech Securities Litigation ($20 million settlement, options backdating).

 Mr. Scarlato was one of the lead lawyers in Leibovic v. United Shore Financial Services (E.D.

 Mich.) (data breach class action), and Afzal v. BMW of North America, LLC, (D.N.J.) (product

 defect class action), and served on the plaintiffs’ Executive Committee in Vikram Bhatia, D.D.S.

 v. 3M Company, Case No. 16-cv-01304 (D. Minn.) (product defect class action), and is counsel in

 In re Platinum and Palladium Antitrust Litigation, Case No. 14-cv-09391 (S.D.N.Y), and In re

 Treasury Securities Auction Antitrust Litigation, Case No. 15-md-02673 (S.D.N.Y.).

        Mr. Scarlato, along with Mr. Rosca, currently serves as one of the lead counsel in Florio

 v. Goldman Sachs Group Inc. et al. (S.D.N.Y.) (class action under the PSLRA); Paulson v. Two

 Rivers Water and Farming Co., et. al (D. Co.) (class action under the Colorado Securities Act);

 Yao Yi Liu v. Wilmington Trust Company (W.D.N.Y.) (representing victims of a Ponzi scheme);

 Gregory v. Zions Bancorporation (D. Utah) (representing victims of a Ponzi scheme); Chang v.

 Wells Fargo bank, N.A. (N.D. Ca.) (representing victims of a Ponzi scheme); Elliott v. Bank of

 Oklahoma (D.N.J.) (representing victims of a Ponzi scheme); Miller v. Anderson (First Energy

 Derivative Litigation), (N.D. Oh); and O’Hearn v. Vida Longevity Fund, LP, et al. (D. De) (class

 action under the Texas Securities Act).

        Mr. Scarlato graduated from Moravian College in 1983 with a degree in accounting, and

 received his Juris Doctor degree from the Widener University School of Law in 1986. Mr. Scarlato

 served as law clerk to the Honorable Nelson Diaz, of the Court of Common Pleas of Philadelphia

 County, and thereafter to the Honorable James T. McDermott of the Pennsylvania Supreme Court.


                                                 4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 168 of 174 PageID #: 298




 After his clerkships, and prior to becoming a litigator, Mr. Scarlato was a member of the tax

 department of “big four” accounting firm where he provided a broad range of accounting services to

 large business clients in a variety of industries.

         Mr. Scarlato is a member of the bars of the Commonwealth of Pennsylvania and the State of

 New Jersey, and those of various federal district and circuit courts.




                                                      5
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 169 of 174 PageID #: 299




                          EXHIBIT 4
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 170 of 174 PageID #: 300
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 171 of 174 PageID #: 301
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 172 of 174 PageID #: 302
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 173 of 174 PageID #: 303
Case 1:21-cv-00402-SRF Document 30-1 Filed 10/19/22 Page 174 of 174 PageID #: 304
